                                                                                                                 Case 22-17842-PDR                                                      Doc 1859                         Filed 08/29/23                                    Page 1 of 16
                                                                                                                                                                                          Claims Register as of 8/29/2023
                                                                                                                                                                                                        Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                General                                              Administrative
  No.                            Name                                              Attention                                    Address 1                                Address 2                    Address 3                 City          State     Zip      Country    Date Filed   Amount Class(es)         Total Amount       Unsecured            Secured         Priority           Priority
   1   XPO Logistics Freight, Inc.                           Attn: Bankruptcy Dept                               9151 Boulevard 26                          Bldg A                                                      North Richland Hills TX     76180                    10/13/2022 General Unsecured               $14,879.18        $14,879.18
       Varni Brothers Corporation [VBC Bottling Dba Seven-Up
   2   Bottling Company]                                     Attn: Ray Morales                                   215 Hosmer Ave                                                                                         Modesto                CA   95351                    10/17/2022 General Unsecured             $873,125.12          $873,125.12
   3   Canon Financial Services, Inc.                                                                            158 Gaither Dr                                                                                         Mount Laurel           NJ   08054                    10/18/2022 General Unsecured             $177,737.75          $177,737.75
                                                                                                                                                                                                                                                                                        General Unsecured
    4    Iowa Department of Revenue                              Office of the Attorney General of Iowa          Attn: Bankruptcy Unit                      1305 E Walnut                                               Des Moines             IA   50319                    10/18/2022 Priority                         $832.69                $17.58                           $815.11
    6    XPO Logistics Freight, Inc.                             Attn: Bankruptcy Dept                           9151 Boulevard 26                          Bldg A                                                      North Richland Hills   TX   76180                    10/18/2022 General Unsecured              $14,879.18           $14,879.18
    7    MMR Strategy Group                                      Attn: Cheryl Jaffe                              16501 Ventura Blvd                         Suite 601                                                   Encino                 CA   91367                    10/20/2022 General Unsecured              $17,500.00           $17,500.00
    8    Steven Douglas Associates LLC                           Attn: Shari Gottlieb                            13450 W Sunrise Blvd                       Ste 200                                                     Sunrise                FL   33323-2915               10/20/2022 General Unsecured             $472,907.68          $472,907.68
    9    Werner Enterprises Inc                                                                                  39365 Treasury Crt                                                                                     Chicago                IL   60694                    10/20/2022 General Unsecured              $46,002.00           $46,002.00
                                                                                                                                                                                                                                                                                        General Unsecured
   10    Orange Bang, Inc.                                       Attn: Richard Stein                             13115 Telfair Ave                                                                                      Sylmar                 CA   91342                    10/25/2022 Administrative Priority    $87,500,000.00       $87,500,000.00                                        Undetermined
   12    Zurich American Insurance                                                                               PO Box 68549                                                                                           Schaumburg             IL   60196                    10/24/2022 General Unsecured                   $1.00                $1.00
                                                                                                                                                                                                                                                                                        General Unsecured
   13    Scotlynn USA Division Inc.                              Attn: Nicole Tracey                             9597 Gulf Research Ln                                                                                  Fort Myers             FL   33912-4552               10/24/2022 Administrative Priority       $185,206.00           $92,603.00                                          $92,603.00
   14    Atlas Copco Compressors LLC                                                                             48430 Milmont Drive                                                                                    Fremont                CA   94538                    10/24/2022 General Unsecured               $7,081.53            $7,081.53
   15    The Hamilton Group (Delaware), Inc.                     c/o Ullman & Ullman PA                          Attn: Michael W. Ullman & Jared A. Ullman 2500 N Military Trail         Suite 100                      Boca Raton             FL   33431                    10/24/2022 General Unsecured             $189,784.35          $189,784.35
         Mitsubishi HC Capital America, Inc. [Hitachi Capital
   17    America Corp.]                                          c/o Kye Law Group, P.C.                         201 Old Country Road                       Suite 120                                                   Melville               NY   11747                    10/25/2022 Secured                      $2,410,772.40                        $2,410,772.40
   18    Skip Shapiro Enterprises, LLC                           Attn: Skip Shapiro                              318 Hawthorn Street                                                                                    New Bedford            MA   02740                    10/25/2022 General Unsecured             $193,450.40          $193,450.40
                                                                                                                                                                                                                                                                                        General Unsecured
   19    WA Department of Revenue                                Attn: Andrew Garrett                            2101 4th Ave Suite 1400                                                                                Seattle                WA   98121                    10/25/2022 Priority                      $286,995.77         $102,579.05                       $184,416.72
   20    Peter Kent Consulting, LLC                              Attn: Peter Kent                                404 Locust St                                                                                          Denver                 CO   80220                    10/25/2022 General Unsecured               $48,939.00          $48,939.00
   21    Averell Luedecker                                                                                       22 Allison Park                                                                                        Brewer                 ME   04412                    10/25/2022 General Unsecured            $2,314,688.21       $2,314,688.21
   22    Presence From Innovation, LLC                           Attn: Jennifer McArtor                          4847 Park 370 Blvd                                                                                     Hazelwood              MO   63042                    10/26/2022 General Unsecured               $79,127.22          $79,127.22
   23    Mike Meserve                                                                                            116 Wallace Ave                                                                                        South Portland         ME   04106                    10/26/2022 General Unsecured               $15,795.00          $15,795.00
   24    AMMS, Inc.                                              Attn: Amy McLaughlin                            16043 Agincourt Dr                                                                                     Huntersville           NC   28078                    10/26/2022 General Unsecured               $22,440.00          $22,440.00
   25    Stephen Miller                                          Attn: David Moritz                              15431 SW 14th St                                                                                       Davie                  FL   33326                    10/26/2022 General Unsecured               $50,927.39          $50,927.39
   26    American International Foods, Inc.                      Attn: Scott Goldberg                            8066 Fulton St E                                                                                       Ada                    MI   49301                    10/26/2022 General Unsecured             $134,989.69         $134,989.69
   27    Barrington Nutritionals                                 Attn: Cathy Annattone                           500 Mamaroneck Ave                                                                                     Harrison               NY   10528                    10/26/2022 General Unsecured                  $974.55            $974.55
                                                                                                                                                                                                                                                                                        General Unsecured
   29    Monster Energy Company                                  Attn: Aaron Sonnhalter                          1 Monster Way                                                                                          Corona                 CA   92879                    10/26/2022 Administrative Priority   $389,739,257.35      $389,739,257.35                                        Undetermined
   30    The American Bottling Company                           Attn: Russ Falconer                             2001 Ross Ave                              Suite 2100                                                  Dallas                 TX   75201                    10/26/2022 General Unsecured         $225,100,000.00    225100000 plus ICF
   37    Veritext, LLC [Veritext Legal Solutions]                Attn: Judith Kunreuther                         290 W Mt. Pleasant Ave                     Suite 3200                                                  Livingston             NJ   07039                    10/27/2022 General Unsecured              $23,620.66           $23,620.66
   38    Pepsi-Cola Bottling Co. of Luverne, Inc.                Attn: Andrew Smith                              PO Box 226                                                                                             Luverne                AL   36049                    10/27/2022 General Unsecured               $5,952.00            $5,952.00
   39    Shanghai Freemen Americas LLC                                                                           200 Metroplex Dr                           Ste 402                                                     Edison                 NJ   08817-2600               10/28/2022 General Unsecured            $609,924.00           $609,924.00
   40    American Express National Bank                          c/o Becket and Lee LLP                          PO Box 3001                                                                                            Malvern                PA   19355-0701               10/28/2022 General Unsecured                  $84.99               $84.99
   41    The Hamilton Group (Delaware), Inc.                     c/o Ullman & Ullman, P.A                        Attn: Michael Ullman                       2500 North Military Trail    Suite 100                      Boca Raton             FL   33431                    10/28/2022 General Unsecured            $189,784.35           $189,784.35
   42    A to Z Scales and Calibration LLC                       Attn: Tom Stelzer                               3515 North 34th Place                                                                                  Phoenix                AZ   85018                    10/30/2022 Priority                        $6,206.49                                              $6,206.49
         TRC Master Fund LLC [as Assignee of Twin City
   43    Security]                                               Attn: Terrel Ross                               PO Box 633                                                                                             Woodmere               NY   11598                    10/31/2022 General Unsecured               $44,866.23          $44,866.23
   44    Environmental Marketing Services                        Attn: Coral Shively                             107 Wall Street, Suite 1                                                                               Clemson                SC   29631                    11/01/2022 General Unsecured                 $414.00             $414.00
   45    Fintech [STX Business Solutions]                        Attn: David Sewell                              3109 W Dr Martin Luther King Jr Blvd       Suite 200                                                   Tampa                  FL   33607-6260               11/01/2022 General Unsecured              $114,000.00        $114,000.00
   46    Assemblers Inc.                                         Attn: Scott Clary                               2850 W. Columbus Ave                                                                                   Chiago                 IL   60652                    11/01/2022 General Unsecured             $228,035.84         $228,035.84
   47    Aesus Packaging Systems Inc.                            Attn: Nicola Virgilio and Samantha Lewis        188 Oneida                                                                                             Pointe-Claire          QC   H9R 1A8    Canada        11/01/2022 General Unsecured               $31,514.75          $31,514.75
   48    Cascade Columbia Distribution Company                   Attn: Kyle Code                                 6900 Fox Ave South                                                                                     Seattle                WA   98108                    11/01/2022 General Unsecured               $14,394.19          $14,394.19
   49    Instrumentation and Controls                                                                            6829 W Frye Rd                                                                                         Chandler               AZ   85226-3307               10/31/2022 General Unsecured                $2,988.79           $2,988.79
   50    The Hamilton Group (Delaware) Inc.                      c/o Ullman & Ullman PA                          Attn: Michael W. Ullman                    2500 N. Military Trail       Suite 100                      Boca Raton             FL   33431                    10/31/2022 General Unsecured             $189,784.35         $189,784.35
   51    Resource Label Group, LLC                               Accounting                                      13260 Moore Street                                                                                     Cerritos               CA   90703                    10/31/2022 General Unsecured             $145,337.23         $145,337.23
   52    Green Wave Ingredients, Inc.                                                                            13875 Cerritos Corporate Drive             Suite A                                                     Cerritos               CA   90703                    11/01/2022 General Unsecured            $1,358,520.12       $1,358,520.12
   53    Casey's General Stores                                  Attn: Legal Department                          1 SE Convenience Blvd.                                                                                 Ankeny                 IA   50021                    11/02/2022 General Unsecured               $77,107.46          $77,107.46
   55    Knight Transportation Services, Inc.                    Attn: Trisha Lucci                              20002 N 19th Ave                                                                                       Phoenix                AZ   85027-4250               11/03/2022 General Unsecured               $99,972.00          $99,972.00
   58    Milk Specialties                                        c/o Coface North America Insurance Company      Attn: Amy Schmidt                          650 College Road E           Suite 2005                     Princeton              NJ   08540                    11/03/2022 General Unsecured              $102,765.00        $102,765.00
   59    KJ Can (Singapore) Pte. Ltd.                            c/o Squire Patton Boggs (US) LLP                Attn: Kelly Singer                         2325 E. Camelback Rd         Suite 700                      Phoenix                AZ   85016                    11/03/2022 General Unsecured            $2,598,161.51       $2,598,161.51
   60    Datasite LLC [Merrill Communications LLC]               Attn: Leif Simpson                              The Baker Center                           733 Marquette Ave            Suite 600                      Minneapolis            MN   55402                    11/03/2022 General Unsecured                 $686.87             $686.87
   61    Diversified Label Images, Inc. [DLI]                    Attn: Gregory Boggis                            PO Box 101269                                                                                          Irondale               AL   35210                    11/03/2022 General Unsecured               $14,491.93          $14,491.93
         CRG Financial LLC [as Assignee of 365 Mechanical,
   62    LLC]                                                                                                    84 Herbert Ave. Building B                 Suite 202                                                   Closter                NJ   07624                    11/03/2022 General Unsecured              $17,471.72           $17,471.72
   63    Rosenberg Consulting Services, Inc. [RCS]               c/o Kohner, Mann & Kailas, S.C.                 Attn: Samuel C. Wisotzkey                  4650 N Port Washington Rd                                   Milwaukee              WI   53212                    11/04/2022 General Unsecured             $622,017.74          $622,017.74
   64    American Express National Bank                          c/o Becket and Lee LLP                          PO Box 3001                                                                                            Malvern                PA   19355-0701               11/04/2022 General Unsecured              $68,387.80           $68,387.80
   66    State of Minnesota, Department of Revenue                                                               PO Box 64447 - BKY                                                                                     St Paul                MN   55164-0447               11/07/2022 Priority                        $1,746.00                                              $1,746.00

   67    Organic Bottle Decorating Company DBA Zion Packaging Attn: Gary Martin                                  1695 California Ave                                                                                    Corona                 CA   92881-3375               11/07/2022 General Unsecured               $30,198.96          $30,198.96
   68    AMEX TRS Co., Inc.                                   c/o Becket and Lee LLP                             PO Box 3001                                                                                            Malvern                PA   19355-0701               11/08/2022 General Unsecured             $122,439.17         $122,439.17
   69    AMEX TRS Co., Inc.                                   c/o Becket and Lee LLP                             PO Box 3001                                                                                            Malvern                PA   19355-0701               11/08/2022 General Unsecured               $17,246.14          $17,246.14
   70    Kuckelman Torline Kirkland, Inc. [KTK]               Attn: Michael T Crabb                              10740 Nall Ave.                            Suite 250                                                   Overland Park          KS   66211                    11/08/2022 General Unsecured             $129,188.45         $129,188.45
   71    Moore Rabinowitz Law, P.A.                           Attn: Adam Rabinowitz, Esquire                     1776 N. Pine Island Rd                     Suite 102                                                   Plantation             FL   33322                    11/08/2022 General Unsecured               $19,815.50          $19,815.50
   72    White & Amundson, APC                                Attn: Daniel M. White                              402 W. Broadway                            Suite 1140                                                  San Diego              CA   92101                    11/08/2022 General Unsecured               $51,430.95          $51,430.95
   73    White & Amundson, APC                                Attn: Daniel Macy White                            402 W Broadway, Suite 1140                                                                             San Diego              CA   92101                    11/08/2022 General Unsecured                $5,507.62           $5,507.62
   74    White & Amundson, APC                                Attn: Daniel Macy White                            402 W Broadway, Suite 1140                                                                             San Diego              CA   92101                    11/08/2022 General Unsecured                $9,966.28           $9,966.28
   75    Green Wave Ingredients, Inc.                                                                            13875 Cerritos Corporate Drive             Suite A                                                     Cerritos               CA   90703                    10/18/2022 General Unsecured            $1,358,520.12       $1,358,520.12
                                                                                                                                                                                                                                                                                        General Unsecured
   76    Staples, Inc                                            Attn: Tom Riggleman                             7 Technology Cir                                                                                       Columbia               SC   29203                    10/18/2022 Administrative Priority        $13,395.28           $13,080.75                                             $314.53
                                                                                                                                                                                                                                                                                        General Unsecured
   77    Uline                                                                                                   12575 Uline Dr                                                                                         Pleasant Prairie       WI   53158                    10/25/2022 Administrative Priority        $31,164.24           $26,700.91                                           $4,463.33
                                                                                                                                                                                                                                                                                        General Unsecured
                                                                                                                                                                                                                                                                                        Secured
   78    W.W. Grainger, Inc                                                                                      401 S Wright Rd                                                                                        Janesville             WI   53546                    10/25/2022 Administrative Priority        $54,611.18           $23,929.91      $20,533.30                          $10,147.97
   79    Total Compliance Network, Inc. TCN                         Attn: Morgan T Silver                        5646 West Atlantic Blvd                                                                                Margate                FL   33063                    11/08/2022 General Unsecured                $300.00              $300.00
   80    Marriott Riverside at the Convention Center                Attn: Alvaro Fraile                          Azul Hospitality Group                     800 W Ivy St                                                San Diego              CA   92101                    11/08/2022 General Unsecured            $190,355.33          $190,355.33
   81    AMEX TRS Co., Inc.                                         c/o Becket and Lee LLP                       PO Box 3001                                                                                            Malvern                PA   19355-0701               11/09/2022 General Unsecured              $45,876.78           $45,876.78
   82    Doehler USA Inc.                                           c/o Coface North America Insurance Company   Attn: Amy Schmidt                          650 College Road E           Suite 2005                     Princeton              NJ   08540                    11/09/2022 General Unsecured          $13,357,532.27       $13,357,532.27
   83    North Star Marketing, Inc                                  Attn: Sam Zerilli                            PO Box 516                                                                                             Eagle River            WI   54521-0516               11/09/2022 General Unsecured              $18,508.54           $18,508.54
   84    IBT West, LLC dba Magnum Industrial Distributors           Attn: John Kelly                             4203 W Adams Street                                                                                    Phoenix                AZ   85009                    11/09/2022 General Unsecured              $28,143.53           $28,143.53
   85    Extreme Process Solutions, LLC                             Attn: Chris Mills                            5030 SW 29th Ave                                                                                       Fort Lauderdale        FL   33312                    11/09/2022 General Unsecured               $2,278.00            $2,278.00
         Peter Fischer, individually, and on behalf of a nationwide
   86    class of similarly-situated consumers                      c/o Harvath Law Group, LLC                   Attn: Daniel Harvath, Esq.                 75 W. Lockwood               Suite # 1                      Webster Groves         MO   63119                    11/09/2022 General Unsecured         $401,000,000.00      $401,000,000.00
         Brendan Abbott, individually and on behalf of a
   87    nationwide class of similarly-situated consumers           c/o Harvath Law Group, LLC                   Attn: Daniel Harvath                       75 W. Lockwood               Suite #1                       Webster Groves         MO   63119                    11/09/2022 General Unsecured         $173,000,000.00      $173,000,000.00
   88    Broward County [Broward County Tax Collector]              c/o Records, Taxes & Treasury                Attn: Bankruptcy Section                   115 S. Andrews Ave. A-100                                   Ft. Lauderdale         FL   33301                    11/10/2022 Secured                             $0.00                            Withdrawn
   89    Broward County [Broward County Tax Collector]              c/o Records, Taxes & Treasury                Attn: Bankruptcy Section                   115 S. Andrews Ave. A-100                                   Ft. Lauderdale         FL   33301                    11/10/2022 Secured                             $0.00                            Withdrawn
   90    Broward County [Broward County Tax Collector]              c/o Records, Taxes & Treasury                Attn: Bankruptcy Section                   115 S. Andrews Ave. A-100                                   Ft. Lauderdale         FL   33301                    11/10/2022 Secured                             $0.00                            Withdrawn
   91    CSPC Innovation USA Inc                                    Attn: Vicki Chen                             1500 S Archibald Ave                                                                                   Ontario                CA   91761                    11/10/2022 General Unsecured            $281,600.00           $281,600.00
         Naumann Hobbs Material Handling Corp II Inc
   92    [Southwest Battery]                                        Attn: David M. Michlich                      4335 E Wood St                                                                                         Phoenix                AZ   85040                    11/10/2022 General Unsecured                   $0.00                 Blank
   93    SOUTHWEST BATTERY COMPANY                                  ATTN: DAVE MICHLICH                          4335 E WOOD ST                                                                                         PHOENIX                AZ   85040                    11/10/2022 General Unsecured              $37,045.57           $37,045.57
   94    NAUMANN HOBBS MATERIAL HANDLING CORP II INC ATTN: DAVE MICHLICH                                         4335 E WOOD ST                                                                                         PHOENIX                AZ   85040                    11/10/2022 General Unsecured              $19,579.84           $19,579.84
                                                                                                                                                                                                                                                                                        General Unsecured
   95    State of Alabama, Department of Revenue              Attn: Legal Division                               PO Box 320001                                                                                          Montgomery             AL   36132-0001               11/10/2022 Priority                       $45,634.90            $4,078.52                        $41,556.38
         Spectrum [Charter Communications, Time Warner Cable,
   96    Brighthouse Networks]                                Attn: Siobhan K McEneany                           1600 Dublin Road                                                                                       Columbus               OH   43215                    11/10/2022 General Unsecured                 $317.74              $317.74
         CARROLLTON-FARMERS BRANCH INDEPENDENT
   97    SCHOOL DISTRICT                                      C/O PERDUE BRANDON FIELDER ET AL                   ATTN: LINDA D REECE                        1919 S. SHILOH ROAD          SUITE 640, LB 40               GARLAND                TX   75042                    11/11/2022 Secured                        $14,507.60                           $14,507.60
   98    U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance                                                       Attn: Jeffrey J Lothert                    1310 Madrid Street                                          Marshall               MN   56258                    11/11/2022 General Unsecured              $41,688.94           $41,688.94
   99    Vitacoat Corporation                                 Rajendra Desai                                     50 Romanelli Ave                                                                                       South Hackensack       NJ   07606                    11/11/2022 General Unsecured              $12,308.40           $12,308.40
  100    American International Chemical, LLC                 Attn: Todd P Morris                                2000 W Park Dr. Suite 300                                                                              Westborough            MA   01581                    11/14/2022 General Unsecured              $19,887.50           $19,887.50
  101    Mix3 Sound Inc.                                      Attn: Maria Ferlito                                16405 NW 8th Ave                                                                                       Miami Gardens          FL   33169                    11/11/2022 General Unsecured               $1,000.00            $1,000.00
  102    CW Carriers Dedicated Inc.                                                                              3632 Queen Palm Dr                         Suite 175                                                   Tampa                  FL   33619                    11/14/2022 General Unsecured             $552,388.01          $552,388.01




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                          Page 1 of 8
                                                                                                                    Case 22-17842-PDR                                                          Doc 1859                         Filed 08/29/23                                     Page 2 of 16
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                                                                                                                                                                                                               Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                        General                                           Administrative
  No.                               Name                                                      Attention                               Address 1                                Address 2                     Address 3                   City       State       Zip      Country     Date Filed     Amount Class(es)       Total Amount      Unsecured          Secured        Priority           Priority
         Industrial Physics Beverage & Canning, Inc. [CMC
  103    Kuhnke, Inc.]                                                Attn: Heather Crawford, Accounts Receivable   40 McCullough Dr                                                                                           New Castle           DE      19720                     11/14/2022 General Unsecured              $20,944.50         $20,944.50
  104    AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                        PO Box 3001                                                                                                Malvern              PA      19355-0701                11/14/2022 General Unsecured              $92,831.74         $92,831.74
  105    BW Flexible Systems, LLC                                                                                   225 Spartangreen Blvd.                                                                                     Duncan               SC      29334                     11/11/2022 General Unsecured               $6,308.54          $6,308.54
  106    DSD Partners, LLC                                            Attn: Brigid Prescott-Frank                   10800 Midlothian Tnpk                          Suite 300                                                   North Chesterfield   VA      23235                     11/15/2022 General Unsecured                $721.87            $721.87
  107    AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                        PO Box 3001                                                                                                Malvern              PA      19355-0701                11/15/2022 General Unsecured              $53,040.80         $53,040.80
  108    EastGroup Properties, L.P.                                   c/o Thomas L. Abrams, Esq.                    633 S Andrews Ave                              Suite 500                                                   Fort Lauderdale      FL      33301                     11/15/2022 General Unsecured           $1,982,451.70      $1,982,451.70
  110    Portland Bottling Company                                                                                  16800 SE Evelyn St                             Ste 120                                                     Clackamas            OR      97015                     11/16/2022 General Unsecured               $2,052.00          $2,052.00
  111    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                         $8,038.97                         $8,038.97
  112    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                         $8,657.05                         $8,657.05
  113    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                        $24,741.38                        $24,741.38
  114    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                        $24,785.27                        $24,785.27
  115    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                        $30,044.66                        $30,044.66
  116    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                        $30,044.06                        $30,044.06
  117    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                         $8,657.05                         $8,657.05
  118    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                         $8,638.19                         $8,638.19
  119    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/16/2022 Secured                         $8,015.24                         $8,015.24
  120    Vortex Industries                                            Attn: Shannon Kane                            20 Odyssey                                                                                                 Irvine               CA      92618                     11/17/2022 General Unsecured                $386.00            $386.00
         Euler Hermes N. A. Insurance Co. as Agent for THE
         HAMILTON GROUP DELAWARE INC Factor for Virun
  122    Inc.                                                                                                       800 Red Brook Blvd, #400C                                                                                  Owings Mills         MD      21117                     11/17/2022 General Unsecured             $189,784.35       $189,784.35
  123    Kerry, Inc.                                                                                                3400 Millington Road                                                                                       Beloit               WI      53511                     11/18/2022 General Unsecured              $21,562.36        $21,562.36
  124    Vermont Information Processing [VIP]                                                                       402 Water Tower Cir                                                                                        Colchester           VT      05446                     11/18/2022 General Unsecured              $14,949.53        $14,949.53
  125    Kim & Chang                                                                                                Jeongdong Building                             17F 21-15 Jeongdong-gil      Jung-Gu                        Seoul                        04518      South Korea    11/21/2022 General Unsecured              $34,017.34        $34,017.34
  126    Inovar Packaging Florida                                     Attn: Jarvis Garcia                           4061 SW 47th Ave                                                                                           Davie                FL      33314-4023                11/18/2022 General Unsecured             $789,402.00       $789,402.00
  127    Francis Massabki                                                                                           7330 Ocean Ter 1101                                                                                        Miami Beach          FL      33141                     11/19/2022 Priority                        $1,831.85                                          $1,831.85
         Euler Hermes agent for TRINITY LOGISTICS, INC.
  128    (CLUS006128)                                                 Attn: Halima Qayoom                           800 Red Brook Blvd.                            400 C                                                       Owings Mills         MD      21117                     11/21/2022 General Unsecured           $5,744,571.33      $5,744,571.33
  129    LAURITS R CHRISTENSEN ASSOCIATES INC                         ATTN: EDEE ZUKOWSKI                           800 UNIVERSITY BAY DRIVE STE 400                                                                           MADISON              WI      53705-2299                11/21/2022 General Unsecured               $3,171.00          $3,171.00
  130    Cyber Marketing Network, Inc [Steel-Toe-Shoes.com]                                                         800 Wisconsin St                               Unit 15                                                     Eau Claire           WI      54703-3560                11/21/2022 General Unsecured               $2,625.48          $2,625.48
  132    Karly V. Grillo                                                                                            170 Amsterdam Ave                              Apt 7E                                                      New York             NY      10023                     11/21/2022 Priority                        $5,000.00                                          $5,000.00
  133    LMR Auto Transport Brokerage Inc.                                                                          4395 Amsterdam St                                                                                          N Charleston         SC      29418-5921                11/21/2022 General Unsecured              $54,400.00        $54,400.00
         Southeast Cold Fill, LLC [Carolina Canners, Inc, NoSo
  134    Holdings, LLC]                                               c/o Kelley Fulton Kaplan & Eller PL           Attn: Craig I. Kelley, Esq.                    1665 Palm Beach Lakes Blvd   The Forum, Suite 1000          West Palm Beach      FL      33401                     11/21/2022 General Unsecured         $309,652,418.47    $309,652,418.47
  135    Aqua House Inc. [Aqua House Beverage]                                                                      4999 South Lulu Ave                                                                                        Wichita              KS      67216                     11/21/2022 General Unsecured              $19,874.14         $19,874.14
  136    R+L Truckload Services, LLC                                  Attn: T Moncada                               315 NE 14th St                                                                                             Ocala                FL      34470                     11/04/2022 General Unsecured              $22,201.33         $22,201.33
  137    State of Minnesota, Department of Revenue                                                                  PO Box 64447 - BKY                                                                                         St Paul              MN      55164-0447                11/08/2022 Priority                        $1,746.00                                          $1,746.00
  138    Sigma,Aldrich, Inc [MilliporeSigma]                          Attn: Toni Turner                             3050 Spruce St                                                                                             St Louis             MO      63103                     11/08/2022 General Unsecured               $5,530.18         $5,530.18
  139    Joshua Griffin                                                                                             189 Cr 428                                                                                                 Lorena               TX      76655                     11/22/2022 General Unsecured              $42,250.00        $42,250.00
  140    Atlas Sales Inc.                                                                                           2955 Columbia Ave W                                                                                        Battle Creek         MI      49015-8640                11/22/2022 General Unsecured               $1,957.38         $1,957.38
                                                                                                                                                                                                                                                                                                 General Unsecured
  141    Steven Kunz                                                                                                1466 East Glacier Place                                                                                    Chandler             AZ      85249                     11/22/2022 Priority                       $22,182.07         $1,182.07                       $21,000.00
  142    Econ One Research                                            Attn: Trent Revic                             550 South Hope St                              Suite 800                                                   Los Angeles          CA      90017                     11/22/2022 General Unsecured             $192,939.37       $192,939.37
  143    TricorBraun Inc                                                                                            6 Cityplace Drive                              Suite 1000                                                  St. Louis            MO      63141                     11/22/2022 General Unsecured              $73,450.33        $73,450.33
         Yellowstone Landscape Southeast, LLC [Yellowstone
  144    Landscape]                                                                                                 PO Box 849                                                                                                 Bunnell              FL      32110                     11/23/2022 General Unsecured              $37,676.60        $37,676.60
  145    TOMCO2 Systems Company                                       Attn: Deborah L Nelson                        1609 W County Road 42                          Suite 393                                                   Burnsville           MN      55306                     11/23/2022 General Unsecured             $451,514.42       $451,514.42
  146    GreatAmerica Financial Services Corporation                  Attn: Peggy Upton                             PO Box 609                                                                                                 Cedar Rapids         IA      52406                     11/23/2022 General Unsecured              $70,475.30        $70,475.30
  147    Peak Activity, LLC                                           Attn: Justin Bennett and Andy Boyland         1880 N. Congress Ave.                          Suite 210                                                   Boynton Beach        FL      33426                     11/25/2022 General Unsecured             $670,177.00       $670,177.00
  148    Grosel Specialty Products                                    Attn: Robert Zajec                            330 Glasgow Drive                                                                                          Highland Heights     OH      44143                     11/26/2022 General Unsecured               $6,781.40         $6,781.40
  149    Anayansi Ramirez                                                                                           1421 W. Ocotillo Rd.                                                                                       Phoenix              AZ      85013                     11/28/2022 Priority                       $20,017.00                                         $20,017.00
  150    C.K.S. Packaging, Inc.                                       c/o Jackson Walker LLP                        Attn: Bruce J. Ruzinsky                        1401 McKinney St             Suite 1900                     Houston              TX      77010                     11/28/2022 Secured                        $27,533.78                        $27,533.78
  151    Atmos Energy Corporation                                     Attn: Bnkrpt Group                            PO Box 650205                                                                                              Dallas               TX      75265-0205                11/28/2022 General Unsecured                $371.48            $371.48
                                                                                                                                                                                                                                                                                                 General Unsecured
  152    Khalsa Transportation Inc                                                                                  13371 South Fowler Ave                                                                                     Selma                CA      93662                     11/28/2022 Priority                      $521,714.98       $506,564.98                       $15,150.00
                                                                                                                                                                                                                                                                                                 General Unsecured
  153    Ohio Department of Taxation                                  Attn: Bankruptcy Division                     PO Box 530                                                                                                 Columbus             OH      43216                     11/29/2022 Priority                       $69,562.12        $21,617.67                       $47,944.45
  154    Massimo Zanetti Beverage USA                                 c/o Greenspoon Marder, LLP                    Attn: Michael R. Bakst, Esq.                   525 Okeechobee Blvd          Ste 900                        West Palm Beach      FL      33401                     11/29/2022 General Unsecured             $100,000.00       $100,000.00
  155    Driscoll, LLLP                                               c/o Seese, P.A.                               Attn: Michael D. Seese, Esq.                   101 N.E. 3rd Avenue          Suite 1270                     Fort Lauderdale      FL      33301                     11/29/2022 General Unsecured             $249,313.24       $249,313.24
  156    Idaho State Tax Commission                                   Attn: Kellie Mingo                            PO Box 36                                                                                                  Boise                ID      83722                     11/30/2022 Priority                          $221.21                                            $221.21
  157    Public Service Company d/b/a Xcel Energy                     c/o Bankruptcy Department                     Attn: Katie A. Miller                          PO Box 9477                                                 Minneapolis          MN      55484                     11/30/2022 General Unsecured                $630.80           $630.80
  158    Statco Engineering & Fabricators, Inc                                                                      7595 Reynolds Circle                                                                                       Huntington Beach     CA      92647                     11/30/2022 General Unsecured              $51,505.28        $51,505.28
  159    Transportation Management Solutions, Inc [TMS]               Attn: Phil Magill                             18450 Pines Blvd                               Suite 203                                                   Pembroke Pines       FL      33029                     11/30/2022 General Unsecured              $54,907.00        $54,907.00
  160    Ally Bank                                                    c/o AIS Portfolio Services, LLC               Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     11/30/2022 Secured                        $39,427.01                        $39,427.01
                                                                                                                                                                                                                                                                                                 General Unsecured
  161    Internal Revenue Service                                                                                   P.O. BOX 7346                                                                                              Philadelphia         PA      19101-7346                12/01/2022 Priority                      $112,352.50        $15,087.93                       $97,264.57
  162    Crown Equipment Corporation [Crown Lift Trucks]              c/o Sebaly Shillito + Dyer                    Attn: James A. Dyer                            40 N. Main St., Ste. 1900                                   Dayton               OH      45423                     12/01/2022 General Unsecured               $1,249.32         $1,249.32
         Crown Equipment Corporation dba Crown Credit                                                                                                                                                                                                                                            General Unsecured
  163    Company                                                      c/o Sebaly Shillito + Dyer                    Attn: James A. Dyer                            40 N. Main St., Ste. 1900                                   Dayton               OH      45423                     12/01/2022 Secured                       $130,150.65         $3,005.65     $127,145.00
  164    Nordson Corporation                                                                                        300 Nordson Dr                                                                                             Amherst              OH      44001                     12/01/2022 General Unsecured              $15,359.13        $15,359.13

  165    Refreshment Services, Inc [Refreshment Services Pepsi] Attn: Joey Szerletich                               3400 Solar Avenue                                                                                          Springfield          IL      62707                     12/01/2022 General Unsecured               $1,689.02          $1,689.02
  166    Ankus Consulting, Inc.                                 Attn: Joseph E. Ankus, Esq.                         12555 Orange Drive Suite 4207                                                                              Davie                FL      33330                     12/02/2022 General Unsecured              $21,334.00         $21,334.00
  167    Marc J. Kesten                                                                                             9220 NW 72nd Street                                                                                        Parkland             FL      33067                     12/02/2022 General Unsecured          $25,000,000.00     $25,000,000.00
  168    Matt Tomlinson                                                                                             3003 Eastern Ave                                                                                           Baltimore            MD      21224                     12/02/2022 General Unsecured              $15,000.00         $15,000.00
  169    FORVIS LLP [BKD LLP]                                                                                       910 E St Louis Street                          Suite 400                                                   Springfield          MO      65806-2570                12/05/2022 General Unsecured            $122,039.00        $122,039.00
  170    Professional Store Services                            Attn: Philip Harrington                             PO Box 96                                                                                                  New Waverly          TX      77358                     12/02/2022 General Unsecured               $2,113.00          $2,113.00
  171    Andersen Material Handling                             Attn: Kevin J. Godin                                30575 Anderson Ct                                                                                          Wixom                MI      48393                     12/02/2022 General Unsecured              $60,156.00         $60,156.00
  172    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $24,785.27                        $24,785.27
  173    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,044.66                        $30,044.66
  174    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,048.67                        $30,048.67
  175    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,044.66                        $30,044.66
         Carolina Canners, Inc. [Southeast Cold Fill, LLC, NoSo                                                     Attn: Craig I. Kelley, Esq., C. Craig Eller,
  176    Holdings, LLC]                                         c/o Kelley Fulton Kaplan & Eller PL                 Esq.                                           1665 Palm Beach Lakes Blvd   The Forum, Suite 1000          West Palm Beach      FL      33401                     12/02/2022 General Unsecured         $309,652,418.47    $309,652,418.47
  177    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,049.21                        $30,049.21
  178    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $24,741.38                        $24,741.38
  179    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $24,790.14                        $24,790.14
  180    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,049.21                        $30,049.21
  181    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,049.21                        $30,049.21
  182    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $30,049.21                        $30,049.21
  183    Ally Bank                                              c/o AIS Portfolio Services, LLC                     Attn: Dept APS                                 4515 N Santa Fe Ave                                         Oklahoma City        OK      73118                     12/02/2022 Secured                        $24,785.27                        $24,785.27
  184    Takasago International Corp (USA)                      Attn: Joseph Mortara                                4 Volvo Dr                                                                                                 Rockleigh            NJ      07647                     12/05/2022 General Unsecured            $116,592.04        $116,592.04
                                                                                                                                                                                                                                                                                                 General Unsecured
  186    Florida Department of Revenue, Bankruptcy Unit               Attn: Frederick F Rudzik, Esq                 PO Box 6668                                                                                                Tallahassee          FL      32314-6668                12/05/2022 Priority                       $81,672.65           $837.80                       $80,834.85
  187    Molly Maid of Colorado Springs                                                                             1925 Dominion Way Suite 104                                                                                Colorado Springs     CO      80918                     11/22/2022 General Unsecured               $2,504.00          $2,504.00
  188    think4D [Friesens Corporation]                                                                             Box 556                                                                                                    Pembina              ND      58271                     12/05/2022 General Unsecured               $5,000.00          $5,000.00
  189    Santander Consumer USA                                                                                     P.O. Box 961275                                                                                            Fort Worth           TX      76161-1245                12/06/2022 Secured                        $12,158.95                        $12,158.95
  190    Cumberland Farms, Inc. [EG Retail America LLC]               Pamela Sinnett, Paralegal                     165 Flanders Road                                                                                          Westborough          MA      01581                     12/06/2022 General Unsecured             $212,627.15       $212,627.15
         Santander Consumer USA Inc [Santander Consumer
  191    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                                 PO Box 961275                                                                                              Fort Worth           TX      76161                     12/06/2022 Secured                        $11,694.91                        $11,694.91
                                                                                                                                                                                                                                                                                                 General Unsecured
  192    Byline Financial Group [BFG Corporation]                     Attn: Robert Condon                           2801 Lakeside Drive                            Suite 212                                                   Bannockburn          IL      60015                     12/06/2022 Secured                        $77,462.25          $7,462.25     $70,000.00
         Santander Consumer USA Inc. [Santander Consumer
  193    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                                 PO Box 961275                                                                                              Fort Worth           TX      76161                     12/06/2022 Secured                        $10,546.54                        $10,546.54
                                                                                                                                                                                                                                                                                                 General Unsecured
  194    Mississippi Department of Revenue                            Attn: Bankruptcy Section                      PO Box 22808                                                                                               Jackson              MS      39225-2808                12/06/2022 Priority                         $656.00            $131.00                          $525.00
                                                                                                                                                                                                                                                                                                 General Unsecured
  195    Cintas Corporation [VPX/Redline]                             Attn: Ann Dean, Litigation Paralegal          6800 Cintas Boulevard                                                                                      Mason                OH      45040                     12/06/2022 Administrative Priority         $6,847.98         $2,575.22                                          $4,272.76
  196    Closure Systems International [CSI, CSI Closures]            c/o Ice Miller LLP                            Attn: Jeffrey A. Hokanson                      One American Square          Suite 2900                     Indianapolis         IN      46282-0200                12/06/2022 General Unsecured              $53,602.40        $53,602.40




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                               Page 2 of 8
                                                                                                                     Case 22-17842-PDR                                                      Doc 1859                             Filed 08/29/23                                  Page 3 of 16
                                                                                                                                                                                                   Claims Register as of 8/29/2023
                                                                                                                                                                                                                Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                      General                                             Administrative
  No.                            Name                                                       Attention                                 Address 1                              Address 2                        Address 3                 City         State     Zip     Country    Date Filed    Amount Class(es)        Total Amount       Unsecured           Secured         Priority           Priority
  197 Advanced Laboratories Inc.                                  Attn: Rich Chludzinski                             8969 Cleveland Road                                                                                        Clayton             NC     27520                   12/06/2022 General Unsecured                 $729.00             $729.00
  199 Amanda Morgan (DBA- A mom with a mop)                                                                          12531 Stonebriar Ridge Dr                                                                                  Davidson            NC     28036                   12/06/2022 Priority                         $2,625.00                                            $2,625.00
  200 Marc J. Kesten v. VPX & Owoc                                 Attn Marc J. Kesten, Esq.                         9220 NW 72nd Street                                                                                        Parkland            FL     33067                   12/06/2022 General Unsecured          $25,000,000.00      $25,000,000.00
  202 Evoqua Water Technologies LLC                               Attn: Matthew Morin                                558 Clark Rd                                                                                               Tewksbury           MA     01876                   12/07/2022 General Unsecured               $13,536.35         $13,536.35
  203 Taro Patch Holdings LLC                                     c/o Aronoff Law Group                              Attn: Robert C. Aronoff                      9100 Wilshire Blvd              710 East Tower                Beverly Hills       CA     90212                   12/07/2022 General Unsecured                $8,303.47          $8,303.47
  204 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  205 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,499.91                          $9,499.91
  206 Ketone Labs, LLC                                            Attn: Michael Perry                                901 Sam Rayburn Hwy                                                                                        Melissa             TX     75454                   12/07/2022 General Unsecured               $34,400.00         $34,400.00
  207 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  208 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,786.73                         $24,786.73
  209 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,499.91                          $9,499.91
  210 Miner, LTD                                                  c/o Miner Corporation                              Attn: Ricardo Garcia                         11827 Tech Com Rd # 115                                       San Antonio         TX     78233                   12/07/2022 General Unsecured               $18,575.25         $18,575.25
  211 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  212 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $8,643.83                          $8,643.83
  213 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  214 Apex Refrigeration & Boiler Co.                             Attn: Erik Rasmussen                               2801 W. Willetta St.                                                                                       Phoenix             AZ     85009                   12/07/2022 General Unsecured               $38,973.52         $38,973.52
  215 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $7,877.19                          $7,877.19
  216 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  217 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  218 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $56,370.79                         $56,370.79
  219 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,741.38                         $24,741.38
  220 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  221 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  222 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  223 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,741.38                         $24,741.38
  224 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,785.27                         $24,785.27
  225 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  226 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  227 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  228 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  229 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,193.81                          $9,193.81
  230 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,049.21                         $30,049.21
  231 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,515.79                          $9,515.79
  232 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,741.38                         $24,741.38
  233 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,741.38                         $24,741.38
  234 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  235 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,499.91                          $9,499.91
  236 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $8,783.35                          $8,783.35
  237 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,499.91                          $9,499.91
  238 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,497.12                          $9,497.12
  239 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $8,643.83                          $8,643.83
  240 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,566.40                          $9,566.40
  241 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,785.27                         $24,785.27
  242 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,049.21                         $30,049.21
  243 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  244 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                          $9,499.91                          $9,499.91
  245 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  246 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,342.59                         $30,342.59
  247 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $30,044.66                         $30,044.66
  248 Ally Bank                                                   c/o AIS Portfolio Services, LLC                    Attn: Dept APS                               4515 N Santa Fe Ave                                           Oklahoma City       OK     73118                   12/06/2022 Secured                         $24,743.73                         $24,743.73
       Verizon Business Global LLC, on behalf of its affiliates
       and subsidiaries [Cellco Partnership d/b/a Verizon
  249 Wireless]                                                   Attn: William M Vermette                           22001 Loudoun County PKWY                                                                                  Ashburn             VA    20147                    12/08/2022 General Unsecured              $27,625.60          $27,625.60
                                                                                                                                                                                                                                                                                              General Unsecured
  250    Internal Revenue Service                                 Attn: Daisy Montanez                               City View Plaza II                           48 CARR 165 SUITE 2000                                        Guaynabo            PR    00968-8000               12/08/2022 Priority                      $112,352.50          $15,087.93                        $97,264.57
         Santander Consumer USA [Santander Consumer USA
  251    Inc., an Illinois corporation d/b/a Chrysler Capital]                                                       PO Box 961275                                                                                              Fort Worth          TX    76161-1245               12/08/2022 Secured                        $12,158.95                          $12,158.95
         Santander Consumer USA [Santander Consumer USA
  252    Inc., an Illinois corporation d/b/a Chrysler Capital]                                                       PO Box 961275                                                                                              Fort Worth          TX    76161-1245               12/08/2022 Secured                        $11,897.24                          $11,897.24
         Chrysler Capital [Santander Consumer USA Inc., an
  253    Illinois corporation d/b/a Chrysler Capital]             Attn: Abel Marin                                   PO Box 961275                                                                                              Fort Worth          TX    76161                    12/08/2022 Secured                        $12,158.95                          $12,158.95
                                                                                                                                                                                                                                                                                              General Unsecured
  254    KP Properties of Ohio, LLC                               Attn: Susan Knust                                  11300 Longwater Chase Ct.                                                                                  Fort Myers          FL    33908                    12/08/2022 Priority                        $5,987.95           $2,637.95                         $3,350.00
  255    Matthiesen, Wickert & Lehrer S. C.                       Attn: Meghan Henthorne and Matthew T. Fricker      1111 East Sumner St.                                                                                       Hartford            WI    53027                    12/08/2022 Administrative Priority        $30,714.30                                                              $30,714.30
  256    Matthew Lotterman                                                                                           18 6th Ave                                   Apt 4315                                                      Brooklyn            NY    11217-5079               12/08/2022 Priority                       $15,000.00                                            $15,000.00
  257    Nevada Power d/b/a NV Energy                             Attn: Candace R. Harriman                          PO Box 10100                                                                                               Reno                NV    89520                    12/08/2022 General Unsecured                $592.14             $592.14
  258    EmpHire Staffing, Inc.                                   c/o Fox Rothschild LLP                             Attn: Heather L. Ries                        777 South Flagler Drive         Suite 1700 West Tower         West Palm Beach     FL    33401                    12/09/2022 General Unsecured              $23,169.18          $23,169.18
  259    Jason Schnaible                                                                                             3529 Meadowbrook Drive                                                                                     Napa                CA    94558                    12/09/2022 Priority                       $48,500.00                                            $48,500.00
  260    Johnson Controls Fire Protection LP [Simplex Grinnell]                                                      10405 Crosspoint Blvd                                                                                      Indianapolis        IN    46256                    12/09/2022 General Unsecured                 $964.30             $964.30
  261    Jonathan Mckey Milling                                   c/o Milling Law Firm, LLC                          2910 Devine Street                                                                                         Columbia            SC    29205                    12/09/2022 General Unsecured               $6,015.00           $6,015.00
  262    Scott Laboratories, Inc.                                 Attn: Christy Bongardt                             1480 Cader Lane                                                                                            Petaluma            CA    94954-5644               12/09/2022 General Unsecured              $57,087.57          $57,087.57
                                                                                                                                                                                                                                                                                              General Unsecured
  263    James D. Fuzi                                                                                               7177 West Bajada Road                                                                                      Peoria              AZ    85383                    12/09/2022 Priority                       $39,120.00          $23,620.00                        $15,500.00
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                      General Unsecured
  264    Connect Logistix Inc. (clus006214)                       c/o Euler Hermes North America Insurance Company   800 Red Brook Blvd.                                                                                        Owings Mills        MD    21117                    12/09/2022 Administrative Priority       $724,497.00         $590,470.36                                         $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                                 General Unsecured
  265    Logistics, Inc (clus006447)                              c/o Euler Hermes North America Insurance Company   800 Red Brook Blvd                                                                                         Owing Mills         MD    21117                    12/09/2022 Administrative Priority       $195,828.41          $28,914.02                                         $166,914.39
         Alto Systems, Inc [Alto Xpress, Inc; Alto Freight
  267    Management, Inc]                                         Attn: David White                                  2867 Surveyor St.                                                                                          Pomona              CA    91768                    12/09/2022 General Unsecured             $218,526.75         $218,526.75
         Santander Consumer USA Inc., an Illinois corporation
  268    d/b/a Chrysler Capital.                                                                                     PO Box 961275                                                                                              Fort Worth          TX    76161-1245               12/12/2022 Secured                        $11,694.91                          $11,694.91
         Santander Consumer USA Inc., an Illinois corporation
  269    d/b/a Chrysler Capital.                                                                                     PO Box 961275                                                                                              Fort Worth          TX    76161-1245               12/12/2022 Secured                        $10,546.54                          $10,546.54
  270    Christopher Lee Weatherford                              Attn: Chris Weatherford                            1213 Warbler Dr                                                                                            Forney              TX    75126-7755               12/12/2022 Priority                       $55,200.00                                            $55,200.00
                                                                                                                                                                                                                                                                                              General Unsecured
  271    Crown Cork & Seal USA, Inc.                              c/o Dilworth Paxson LLP                            Attn: Anne Aaronson, Esq.                    1500 Market St                  Suite 3500E                   Philadelphia        PA    19102                    12/12/2022 Secured                    $13,762,585.26      $12,903,596.00     $858,989.26
  273    Fabco Metal Products, LLC                                Attn: Shane King                                   1490 Frances Drive                                                                                         Daytona Beach       FL    32124                    12/12/2022 Secured                     $2,160,783.76                        $2,160,783.76
                                                                                                                                                                                                                                                                                              General Unsecured
  274    Matthew B. Wolov                                                                                            4710 Pin Oaks Cir                                                                                          Rockwall            TX    75032                    12/12/2022 Priority                       $55,200.00          $40,050.00                        $15,150.00
  275    Franchise Tax Board                                      c/o Bankruptcy Section MS A340                     PO Box 2952                                                                                                Sacramento          CA    95812-2952               12/12/2022 General Unsecured                   $0.00     To be determined
  276    "Jake" John Fossey Morrow                                                                                   6141 Sherman Cir                                                                                           Minneapolis         MN    55436                    12/13/2022 General Unsecured              $48,960.05          $48,960.05
  277    Giant Eagle, Inc.                                        Attn: Jeremy Darling                               101 Kappa Drive                              RIDC Park                                                     Pittsburgh          PA    15238                    12/13/2022 General Unsecured                  $58.92              $58.92
                                                                                                                                                                                                                                                                                              General Unsecured
  278    State of Nevada Department of Taxation                                                                      700 E Warm Springs Rd                          Ste 200                                                     Las Vegas           NV    89119                    12/13/2022 Priority                       $19,136.82           $1,495.24                        $17,641.58
                                                                                                                     Attn: Office of the Arizona Attorney General -                                                                                                                           General Unsecured
  279    ARIZONA DEPARTMENT OF REVENUE                            c/o Tax, Bankruptcy and Collection Sct             BCE                                            2005 N Central Ave            Ste 100                       Phoenix             AZ    85004                    12/13/2022 Priority                      $324,615.22           $7,600.53                      $317,014.69
  280    J Robbin Law PLLC                                        Attn: Jonathan Robbin                              200 Business Park Drive                        Suite 103                                                   Armonk              NY    10504                    12/13/2022 General Unsecured              $10,440.00          $10,440.00
  282    Berkeley Research Group LLC [BRG]                        c/o Accounts Receivable                            2200 Powell Street                             Suite 1200                                                  Emeryville          CA    94608                    12/13/2022 General Unsecured               $7,562.98           $7,562.98
  283    MSC Industrial Supply Company                                                                               515 Broadhollow Rd                             Ste 1000                                                    Melville            NY    11747                    12/12/2022 General Unsecured                $881.87             $881.87
  284    Donald Conte                                                                                                39915 E River Ct                                                                                           Clinton Township    MI    48038                    12/14/2022 General Unsecured              $22,400.00          $22,400.00
                                                                                                                                                                                                                                                                                              General Unsecured
  285    Krier Foods, LLC                                         c/o Frost Brown Todd LLP                           Attn: Kim Martin Lewis                       3300 Great American Tower                                     Cincinnati          OH    45202                    12/13/2022 Administrative Priority       $588,197.28         $577,005.78                                          $11,191.50
  286    Fabco Metal Products, LLC                                Attn: Shane King                                   1490 Frances Drive                                                                                         Daytona Beach       FL    32124                    12/14/2022 Secured                      $2,160,783.76                       $2,160,783.76
  287    Todd W Herrett                                                                                              21514 CARIBBEAN LN                                                                                         Panama City Beach   FL    32413                    12/13/2022 General Unsecured               $24,960.00         $24,960.00
  288    12M Commercial Properties, LLC                           c/o Friday, Eldredge & Clark, LLP                  Attn: L. Raines                              3350 S Pinnacle Hills Parkway   Suite 301                     Rogers              AR    72758                    12/13/2022 General Unsecured             $136,725.53         $136,725.53
  289    Ameris Bank d/b/a Balboa Capital                         c/o McGlinchey Stafford, PLLC                      Attn: Ralph Confreda, Jr.                    101 NE 3rd Ave                  Ste 1810                      Ft Lauderdale       FL    33301-1279               12/13/2022 General Unsecured             $443,949.40         $443,949.40
  291    Waste Management [WM Corporate Services INC]             Attn: Bankruptcy                                   PO Box 42930                                                                                               Phoenix             AZ    85080                    12/14/2022 General Unsecured                $4,793.42          $4,793.42
                                                                                                                                                                                                                                                                                              General Unsecured
  292    Stephanie Suddarth                                                                                          2026 Artemis Ct.                                                                                           Allen               TX    75013                    12/14/2022 Priority                       $24,000.00           $8,850.00                        $15,150.00




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                               Page 3 of 8
                                                                                                              Case 22-17842-PDR                                                   Doc 1859                           Filed 08/29/23                                 Page 4 of 16
                                                                                                                                                                                    Claims Register as of 8/29/2023
                                                                                                                                                                                                    Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                         General                                            Administrative
  No.                           Name                                                        Attention                          Address 1                         Address 2                      Address 3                   City     State     Zip        Country    Date Filed    Amount Class(es)        Total Amount       Unsecured          Secured        Priority            Priority
  293 Centimark Corporation [Questmark]                                                                       12 Grandview Circle                                                                                   Canonsburg       PA    15317                      12/14/2022 General Unsecured                $4,000.00          $4,000.00
  294 Updike Distribution Logistics                                c/o Finance Department                     Attn: Steven C. Updike & Megan Pocock   435 S 59th Ave, Suite 100                                     Phoenix          AZ    85043                      12/14/2022 General Unsecured               $83,492.16        $83,492.16
  296 Erik McKee                                                                                              2824 E Fox Chase Circle                                                                               Doylestown       PA    18902                      12/14/2022 Priority                        $36,000.00                                         $36,000.00
  297 The Cansultants, LLC                                         Attn: John E Adams                         6895 Counselors Way                                                                                   Alpharetta       GA    30005                      12/14/2022 General Unsecured               $92,064.00         $92,064.00
  298 Target Corporation                                                                                      7000 Target Parkway                     NCF-0403                                                      Brooklyn Park    MN    55445                      12/14/2022 General Unsecured              $433,662.68        $433,662.68
                                                                                                                                                                                                                                                                                 General Unsecured
  299    84.51 LLC                                                 c/o Frost Brown Todd LLP                   Attn: A.J. Webb                         3300 Great American Tower    301 E. 4th St.                   Cincinnati       OH    45202                      12/14/2022 Administrative Priority        $34,444.06          $32,788.89                                           $1,655.17
                                                                                                                                                                                                                                                                                 General Unsecured
  300    The Kroger Co.                                            c/o Frost Brown Todd LLP                   Attn: A.J. Webb                         3300 Great American Tower    301 E. 4th St                    Cincinnati       OH    45202                      12/14/2022 Administrative Priority       $686,223.45         $631,962.99                                          $54,260.46
  301    Action Electric Co, Inc                                   Attn: Denyse Beery                         2600 Collins Springs Drive SE                                                                         Atlanta          GA    30339                      12/14/2022 General Unsecured              $26,296.04          $26,296.04
  302    CK Waitt Industrial, LLC                                  c/o Parker, Poe, Adams & Bernstein LLP     Attn: Chip Ford                         620 S. Tryon Street          Suite 800                        Charlotte        NC    28202                      12/15/2022 General Unsecured              $38,901.05          $38,901.05
  303    Maldonado Leal Serviços de Apoio Empresarial Ltda.        Attn: Gisela Cesar Maldonado               Avenida Paulista, 1765 CJ 121                                                                         Sao Paulo        SP    01311-930    Brazil        12/14/2022 General Unsecured               $8,700.00           $8,700.00
  304    All Brands Distribution, LLC                              c/o LSS Law                                Attn: Zach B. Shelomith, Esq.           2699 Stirling Rd             Suite C401                       Ft. Lauderdale   FL    33312                      12/14/2022 General Unsecured             $762,330.91         $762,330.91
  306    WM Recycle America, LLC                                   Attn: Jacquolyn Hatfield-Mills             800 Capital Street                      Ste 3000                                                      Houston          TX    77002                      12/14/2022 General Unsecured             $182,748.90         $182,748.90
  307    Herc Rentals Inc                                          Attn: Bankruptcy                           27500 Riverview Center Blvd                                                                           Bonita Springs   FL    34134                      12/14/2022 General Unsecured               $7,033.90           $7,033.90
                                                                                                                                                                                                                                                                                 General Unsecured
  308    Total Quality Logistics, LLC [TQL]                        Attn: Joseph B. Wells, Corporate Counsel   4289 Ivy Pointe Blvd                                                                                  Cincinnati       OH    45245                      12/14/2022 Secured                       $898,861.80         $883,873.93     $14,987.87
  310    Emory & Co., LLC                                          John Emory Jr                              250 E Wisconsin Ave                     Ste 910                                                       Milwaukee        WI    53202                      12/14/2022 General Unsecured              $29,360.00          $29,360.00
         CI421 4747 W. Buckeye LLC, ALDA 4747 W. Buckeye
  311    LLC and MFP 4747 W. Buckeye LLC                           c/o Raines Feldman LLP                     Attn: Hamid R. Rafatjoo                 1800 Avenue of the Stars     12th Floor                       Los Angeles      CA    90067                      12/14/2022 General Unsecured          $23,455,389.00      $23,455,389.00
  312    Fusion Logistics Services, LLC                            Attn: E Luis Campano                       PO Box 33080                                                                                          Lakeland         FL    33807                      12/15/2022 General Unsecured            $431,602.00         $431,602.00
         State of New Jersey Division of Taxation Bankruptcy
  313    Section                                                                                              PO Box 245                                                                                            Trenton          NJ    08695-0245                 12/14/2022 Priority                        $33,355.86                                         $33,355.86
  314    YRC Inc. (dba YRC Freight) [Yellow Corporation]           c/o Frantz Ward LLP                        Attn: John Kostelnik                    200 Public Square            Suite 3000                       Cleveland        OH    44114                      12/14/2022 General Unsecured               $64,803.66         $64,803.66
  316    YRC Inc. (dba YRC Freight) [Yellow Corporation]           c/o Frantz Ward LLP                        Attn: John Kostelnik                    200 Public Square            Suite 3000                       Cleveland        OH    44114                      12/14/2022 General Unsecured              $246,228.40       $246,228.40
  318    RXO Capacity Solutions, LLC [f/k/a XPO Logistics, LLC]    c/o Holland & Knight LLP                   Attn: Edward Fitzgerald Esq             200 S Orange Ave             Ste 2600                         Orlando          FL    32801                      12/14/2022 General Unsecured            $1,940,016.10      $1,940,016.10
  319    Archer Daniels Midland Company [Wild Flavors, Inc.]       Attn: Mark H Speiser                       4666 Fairies Parkway                                                                                  Decatur          IL    62526                      12/14/2022 General Unsecured            $1,117,812.02      $1,117,812.02
  320    EFL Global LLC                                            c/o Gibbons PC                             Attn: Brett S. Theisen                  One Penn Plaza               37th Fl                          New York         NY    10119-3701                 12/15/2022 General Unsecured            $2,164,149.33      $2,164,149.33
  321    EFL Container Lines LLC                                   c/o Gibbons P.C.                           Attn: Brett S. Theisen                  One Penn Plaza               37th Fl                          New York         NY    10119-3701                 12/15/2022 General Unsecured             $372,677.15        $372,677.15
  322    Federal Insurance Company                                 c/o Duane Morris LLP                       Attn: Wendy M. Simkulak                 30 S. 17th St                                                 Philadelphia     PA    19103-4196                 12/14/2022 Administrative Priority       $565,300.00                                           565300 plus additional amounts
  324    Vigilant Insurance Company                                c/o Duane Morris LLP                       Attn: Wendy M. Simkulak                 30 S. 17th Street                                             Philadelphia     PA    19103-4196                 12/15/2022 Administrative Priority       $565,300.00                                           565300 plus additional amounts
  327    AIG Property Casualty, Inc.                               Attn: Kevin J. Larner, Esq.                28 Liberty Street, Floor 22                                                                           New York         NY    10005                      12/15/2022 Administrative Priority              $0.00                                                             Unliquidated
  331    Chubb Custom Insurance Company                            c/o Duane Morris LLP                       Attn: Wendy M. Simkulak                 30 S. 17th Street                                             Philadelphia     PA    19103-4196                 12/15/2022 Administrative Priority       $565,300.00                                                             $565,300.00
  342    Great Northern Insurance Company                          c/o Duane Morris LLP                       Attn: Wendy M. Simkulak                 30 S. 17th Street                                             Philadelphia     PA    19103-4196                 12/14/2022 Administrative Priority       $565,300.00                                           565300 plus additional amounts
  347    EFL Global Logistics Canada Ltd                           c/o Gibbons PC                             Attn: Brett S. Theisen, Esq             One Gateway Ctr                                               Newark           NJ    07102-5310                 12/15/2022 General Unsecured                  $328.83            $328.83
  348    MEI Rigging & Crating, LLC dba Dunkel Bros                Christina Uitz                             PO Box 1630                                                                                           Albany           OR    97321                      12/15/2022 Secured                         $69,443.65                        $69,443.65
  349    Centimark Corporation [Questmark]                                                                    12 Grandview Circle                                                                                   Canonsburg       PA    15317                      12/15/2022 General Unsecured               $35,923.30         $35,923.30
  350    Glen Raven Logistics, Inc.                                Attn: David M. Schilli                     101 N Tryon St                          Suite 1900                                                    Charlotte        NC    28246                      12/15/2022 General Unsecured             $663,912.54         $663,912.54
                                                                                                                                                                                                                                                                                 General Unsecured
  351    Patrick McMahon                                                                                      4367 55th Ave                                                                                         Bettendorf       IA    52722                      12/15/2022 Priority                       $49,940.00          $34,790.00                      $15,150.00
  353    Donna Williams [The Kleppin Law Firm]                                                                4846 NW 95th Avenue                                                                                   Sunrise          FL    33351                      12/15/2022 General Unsecured           $3,000,000.00       $3,000,000.00
  354    Dennemeyer & Associates LLC                                                                          2 North Riverside Plaza                 Suite 1500                                                    Chicago          IL    60606                      12/16/2022 General Unsecured               $6,437.60           $6,437.60
  355    Daniel Yepes                                              c/o The Frazer Firm, PA                    Attn: Kent Frazer                       601 Heritage Drive           Suite 220                        Jupiter          FL    33458                      12/16/2022 General Unsecured                   $0.00            unknown
  356    Gorilla Marketing LLC                                     c/o The Frazer Firm, PA                    Attn: Kent Frazer                       601 Heritage Drive           Suite 220                        Jupiter          FL    33458                      12/16/2022 General Unsecured                   $0.00            unknown
  357    Dairy Farmers of America, Inc.                            Attn: William J. Easley                    1200 Main Street                        Suite 3800                                                    Kansas City      MO    64105                      12/16/2022 General Unsecured          $20,683,801.49      $20,683,801.49
  358    Ardagh Metal Packaging USA Corp.                          c/o Shumaker, Loop & Kendrick, LLP         Attn: David Conaway                     101 S Tryon Street           Suite 2200                       Charlotte        NC    28280                      12/16/2022 General Unsecured          $11,394,078.77      $11,394,078.77
  360    Capitol Records, LLC                                      Attn: JoAn Cho                             222 Colorado Avenue                                                                                   Santa Monica     CA    90404                      12/16/2022 General Unsecured            $300,000.00         $300,000.00
  361    Cheryl Ohel                                               c/o Kleppin Law Firm                       Attn: Chris Kleppin, Allyson Kisiel     8751 W Broward Blvd          Suite 105                        Plantation       FL    33324                      12/16/2022 General Unsecured           $5,000,000.00       $5,000,000.00
  362    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $10,454.04                         $10,454.04
  363    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  364    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  365    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,653.83                          $6,653.83
  366    PolyGram Publishing, Inc.                                 Attn: JoAn Cho                             222 Colorado Avenue                                                                                   Santa Monica     CA    90404                      12/16/2022 General Unsecured           $2,450,000.00       $2,450,000.00
  367    Songs of Universal, Inc.                                  Attn: JoAn Cho                             222 Colorado Avenue                                                                                   Santa Monica     CA    90404                      12/16/2022 General Unsecured           $3,825,000.00       $3,825,000.00
  368    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,683.81                          $6,683.81
  369    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $40,038.94                         $40,038.94
  370    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $39,704.35                         $39,704.35
  371    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,921.63                          $6,921.63
  372    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $7,052.56                          $7,052.56
  373    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,835.13                          $6,835.13
  374    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $40,057.85                         $40,057.85
  375    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,816.28                          $6,816.28
  376    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $39,922.36                         $39,922.36
  377    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $38,366.15                         $38,366.15
  378    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $39,724.78                         $39,724.78
  379    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $41,217.81                         $41,217.81
  380    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $41,237.28                         $41,237.28
  381    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $40,057.85                         $40,057.85
  382    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $38,780.53                         $38,780.53
  383    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,146.42                         $11,146.42
  384    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $7,052.56                          $7,052.56
  385    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $40,089.92                         $40,089.92
  386    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $45,184.99                         $45,184.99
  387    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,138.82                         $11,138.82
  388    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,138.82                         $11,138.82
  389    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,138.82                         $11,138.82
  390    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,139.39                         $11,139.39
  391    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,874.50                          $6,874.50
  392    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,874.50                          $6,874.50
  393    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,138.82                         $11,138.82
  394    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $40,089.92                         $40,089.92
  395    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $39,974.31                         $39,974.31
  396    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,138.82                         $11,138.82
  397    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,835.13                          $6,835.13
  398    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                         $6,835.60                          $6,835.60
  399    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  400    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  401    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  402    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  403    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  404    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  405    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  406    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  407    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  408    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,337.51                         $16,337.51
  409    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,138.82                         $11,138.82
  410    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $17,715.67                         $17,715.67
  411    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,376.15                         $11,376.15
  412    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $13,507.65                         $13,507.65
  413    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $13,502.54                         $13,502.54
  414    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $13,508.61                         $13,508.61
  415    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $16,328.74                         $16,328.74
  416    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $13,507.65                         $13,507.65
  417    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $14,469.69                         $14,469.69
  418    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $34,393.05                         $34,393.05
  419    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $11,520.50                         $11,520.50
  420    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $13,502.54                         $13,502.54
  421    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $34,385.08                         $34,385.08
  422    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                      Attn: Christopher R Thompson            200 S Orange Ave             Suite 800                        Orlando          FL    32801                      12/15/2022 Secured                        $34,393.05                         $34,393.05




In re: Vital Pharmaceuticals, Inc.
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                                                                                                                        Case 22-17842-PDR                                                    Doc 1859                         Filed 08/29/23                               Page 5 of 16
                                                                                                                                                                                               Claims Register as of 8/29/2023
                                                                                                                                                                                                             Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                General                                       Administrative
  No.                            Name                                                     Attention                                      Address 1                               Address 2                 Address 3                 City      State     Zip     Country    Date Filed    Amount Class(es)        Total Amount       Unsecured            Secured        Priority     Priority
  423 Aquionics, Inc                                               c/o Bankruptcy Claims Administrative Services, LLC   84 Herbert Ave                               Building B               Suite 202                      Closter          NJ     07624                   12/15/2022 General Unsecured               $34,764.97        $34,764.97
  424 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL     32801                   12/15/2022 Secured                         $34,380.49                          $34,380.49
  425 All Brands Distribution, LLC                                 c/o LSS Law                                          Attn: Zach B. Shelomith, Esq.                2699 Stirling Rd         Suite C401                     Ft. Lauderdale   FL     33312                   12/15/2022 General Unsecured              $762,330.91       $762,330.91
  426 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL     32801                   12/15/2022 Secured                         $34,393.05                          $34,393.05
       Gimmel Tammuz Realty (I-70 Industrial Center Denver)
       ADA Compliant Limited Partnership, a Delaware Limited
  427 Partnership                                                  c/o Dalfen Industrial LLC                            1970 Broadway                                Suite 700                                               Oakland          CA    94612                    12/15/2022 General Unsecured             $212,588.78        $212,588.78
  428 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,389.88                           $34,389.88
  429 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $16,328.74                           $16,328.74
  430 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $24,909.44                           $24,909.44
  431 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,712.89                           $10,712.89
  432 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,393.05                           $34,393.05
  433 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,393.05                           $34,393.05
  434 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,390.31                           $34,390.31
  435 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,684.19                           $10,684.19
  436 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,390.31                           $34,390.31
  437 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  438 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,392.89                           $34,392.89
  439 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  440 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  441 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  442 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  443 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,617.07                           $10,617.07
  444 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  445 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,517.86                           $10,517.86
  446 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,242.64                           $10,242.64
  447 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,615.21                           $10,615.21
  448 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $10,550.89                           $10,550.89
  449 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  450 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
                                                                                                                        Attn: Christopher R. Thompson, Esq. & Eric
  451    ACAR Leasing Ltd., Inc. d/b/a GM Financial Leasing        c/o Burr & Forman LLP                                S. Golden, Esq.                              200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 General Unsecured               $62,214.88         $62,214.88
  452    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                          $9,436.48                           $9,436.48
  453    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $33,312.53                          $33,312.53
  454    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $16,328.74                          $16,328.74
  455    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $16,337.51                          $16,337.51
  456    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $15,108.18                          $15,108.18
  457    UMG Recordings, Inc.                                      Attn: JoAn Cho                                       222 Colorado Avenue                                                                                  Santa Monica     CA    90404                    12/16/2022 General Unsecured            $6,950,000.00      $6,950,000.00
  458    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $17,715.67                          $17,715.67
  459    Hardrock Concrete Placement Co., Inc.                                                                          4839 W Brill St                                                                                      Phoenix          AZ    85043                    12/16/2022 Secured                       $669,195.67                          $669,195.67
  461    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $34,393.05                          $34,393.05
  462    Universal Music - MGB NA LLC                              Attn: JoAn Cho                                       222 Colorado Avenue                                                                                  Santa Monica     CA    90404                    12/16/2022 General Unsecured             $150,000.00        $150,000.00
  463    Universal Music - Z Tunes LLC                             Attn: JoAn Cho                                       222 Colorado Avenue                                                                                  Santa Monica     CA    90404                    12/16/2022 General Unsecured            $1,800,000.00      $1,800,000.00
  464    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $39,723.09                          $39,723.09
  465    Universal Music Corp.                                     Attn: JoAn Cho                                       222 Colorado Avenue                                                                                  Santa Monica     CA    90404                    12/16/2022 General Unsecured            $5,975,000.00      $5,975,000.00
  466    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $39,724.78                          $39,724.78
  467    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                          $6,835.13                           $6,835.13
  468    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $41,217.81                          $41,217.81
  469    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $11,376.15                          $11,376.15
  470    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $40,059.55                          $40,059.55
  471    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $13,502.54                          $13,502.54
  472    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $34,391.50                          $34,391.50
  473    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $11,138.82                          $11,138.82
  474    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                          $6,683.81                           $6,683.81
  475    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                          $5,256.36                           $5,256.36
  476    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                          $7,441.68                           $7,441.68
  477    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                          $6,882.74                           $6,882.74
  478    Universal Musica, Inc.                                    Attn: JoAn Cho, Esq.                                 222 Colorado Avenue                                                                                  Santa Monica     CA    90404                    12/16/2022 General Unsecured             $700,000.00        $700,000.00
                                                                                                                                                                                                                                                                                        General Unsecured
  479    MDV SpartanNash LLC                                       c/o Warner Norcross + Judd LLP                       Attn: Stephen B. Grow                        150 Ottawa Ave NW        Suite 1500                     Grand Rapids     MI    49503                    12/16/2022 Administrative Priority        $41,854.46          $25,214.02                                    $16,640.44
  480    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $13,507.65                           $13,507.65
  481    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $6,835.13                            $6,835.13
  482    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $51,413.09                           $51,413.09
  483    Stellar Group Incorporated                                c/o Agentis PLLC                                     Attn: Robert P. Charbonneau                  55 Alhambra Plaza        Suite 800                      Coral Gables     FL    33134                    12/16/2022 General Unsecured          $20,215,753.63      $20,215,753.63
  484    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $14,469.69                           $14,469.69
  485    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $43,739.61                           $43,739.61
  486    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $43,692.30                           $43,692.30
  487    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $41,940.29                           $41,940.29
         The Kleppin Firm P.A. [The Kleppin Law Firm, Glasser
  488    and Kleppin, P.A.]                                        Attn: Chris Kleppin                                  8751 W Broward Blvd                          Suite 105                                               Plantation       FL    33324                    12/16/2022 General Unsecured           $2,000,000.00       $2,000,000.00
  489    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,393.05                           $34,393.05
  490    The Kleppin Law Firm P.A.                                 Attn: Chris Kleppin                                  8751 W Broward Blvd                          Suite 105                                               Plantation       FL    33324                    12/16/2022 General Unsecured           $1,200,000.00       $1,200,000.00
  491    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $34,393.05                           $34,393.05
  492    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  493    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $17,715.67                           $17,715.67
  494    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $11,917.08                           $11,917.08
  495    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $11,917.08                           $11,917.08
  496    SLBS Limited Partnership d/b/a Summit Distributing        c/o Carlton Fields                                   Attn: David L. Gay                           700 NW 1st Avenue        Suite 1200                     Miami            FL    33136                    12/16/2022 General Unsecured          $10,020,910.84      $10,020,910.84
  497    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $11,911.50                           $11,911.50
  498    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $11,917.08                           $11,917.08
  499    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $51,413.09                           $51,413.09
  507    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $51,413.09                           $51,413.09
  508    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $51,143.09                           $51,143.09
  509    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $11,376.15                           $11,376.15
  510    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $43,734.69                           $43,734.69
  511    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $43,734.71                           $43,734.71
  512    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $43,726.35                           $43,726.35
  513    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                        $43,729.39                           $43,729.39
                                                                                                                                                                                                                                                                                        General Unsecured
  514    Fiesta Warehousing & Distribution Co.                     Attn: Steven J. Solomon                              333 SE 2nd Avenue                            Suite 3200                                              Miami            FL    33131                    12/16/2022 Secured                       $390,773.07            Unknown       $390,773.07
  515    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $43,729.39                          $43,729.39
  516    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  517    Fiesta Warehousing & Distribution Co.                     Attn: Steven J. Solomon                              333 SE 2nd Avenue                            Suite 3200                                              Miami            FL    33131                    12/16/2022 General Unsecured                    $0.00       Unliquidated *
  518    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  520    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $43,734.54                          $43,734.54
  521    Sidel Blowing & Services SAS                                                                                   1201 W. Peachtree St. NW Suite 3150                                                                  Atlanta          GA    30309                    12/16/2022 General Unsecured             $704,629.90        $704,629.90
  522    Ring Container Technologies, LLC                          c/o Glankler Brown                                   Attn: Bill Bradley, Ricky L. Hutchens        6000 Poplar Avenue       Suite 400                      Memphis          TN    38002                    12/16/2022 General Unsecured             $476,470.00        $476,470.00
  523    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  524    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $43,729.39                          $43,729.39
  525    Briggs Equipment Inc                                      c/o Hicks Law Group PLLC                             Attn: Kevin S. Wiley Jr                      325 N St Paul Street     Suite 4400                     Dallas           TX    75201                    12/16/2022 General Unsecured             $679,072.01        $679,072.01
  526    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  527    Cherokee Chemical Co, Inc [CCI Chemical]                  Schell Nuelle LLP                                    269 West Bonita                                                                                      Claremont        CA    91711                    12/19/2022 General Unsecured             $147,936.80        $147,936.80
  528    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  529    Brookshire Brothers, Inc.                                                                                      1201 Ellen Trout Dr                                                                                  Lufkin           TX    75904                    12/16/2022 General Unsecured               $66,720.00        $66,720.00
  530    EFL Container Lines LLC                                   c/o Gibbons P.C.                                     Attn: Brett S. Theisen                       One Penn Plaza           37th Fl                        New York         NY    10119-3701               12/16/2022 General Unsecured             $392,598.15        $392,598.15
  531    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  532    EFL Global LLC                                            c/o Gibbons PC                                       Attn: Brett S. Theisen                       One Penn Plaza           37th Fl                        New York         NY    10119-3701               12/16/2022 General Unsecured            $2,181,995.15      $2,181,995.15
  533    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                Attn: Christopher R Thompson                 200 S Orange Ave         Suite 800                      Orlando          FL    32801                    12/15/2022 Secured                         $51,413.09                          $51,413.09
  534    FedEx                                                     c/o Bankruptcy Department                            3965 Airways Blvd                            Module G 3rd Floor                                      Memphis          TN    38116-5017               12/16/2022 General Unsecured             $633,873.21        $633,873.21




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                   Page 5 of 8
                                                                                                                              Case 22-17842-PDR                                                          Doc 1859                         Filed 08/29/23                                     Page 6 of 16
                                                                                                                                                                                                           Claims Register as of 8/29/2023
                                                                                                                                                                                                                         Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                                       General                                                Administrative
  No.                                Name                                                   Attention                                          Address 1                                Address 2                      Address 3                    City     State       Zip       Country    Date Filed     Amount Class(es)       Total Amount            Unsecured              Secured         Priority           Priority
                                                                                                                              Attn: Amanda B Chiilds, Chief Litigation &
  535    Speedway LLC                                              c/o 7-Eleven, Inc.                                         Investigation Counsel                        3200 Hackberry Road                                            Irving             TX      75063                     12/16/2022 General Unsecured             $899,030.29              $899,030.29
  537    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave               Suite 800                       Orlando            FL      32801                     12/15/2022 Secured                        $51,413.09                                  $51,413.09
                                                                   Attn: Amanda B. Childs, Chief Litigation & Investigation
  538    7-Eleven, Inc.                                            Counsel                                                    3200 Hackberry Road                                                                                         Irving             TX      75063                     12/16/2022 General Unsecured           $2,244,199.58             $2,244,199.58
  539    Gordon & Rees                                             Attn: Megan M. Adeyemo                                     2200 Ross Ave                                Ste 3700                                                       Dallas             TX      75201                     12/16/2022 General Unsecured           $3,927,445.68             $3,927,445.68
                                                                                                                                                                                                                                                                                                          General Unsecured
  540    Dogwood Propco FL, L.P.                                   Attn: Felton Parrish                                       1420 E 7th St                                                                                               Charlotte          NC      28207                     12/16/2022 Secured                        $44,504.90               $33,996.13         $10,508.77
  541    Ball Metal Beverage Container Corp.                       Attn: David Westmoreland, Esq.                             9200 W. 108th Circle                                                                                        Westminster        CO      80021                     12/18/2022 General Unsecured          $15,723,767.45           $15,723,767.45
  542    Eagle Distributing Co Inc                                 Attn: Michael Craig                                        310 Radford Place                                                                                           Knoxville          TN      37917                     12/16/2022 General Unsecured              $64,000.00               $64,000.00
  543    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave               Suite 800                       Orlando            FL      32801                     12/15/2022 Secured                        $17,715.67                                  $17,715.67
  544    Knoxville Beverage Co., Inc                               Attn: Michael Craig                                        310 Radford Place                                                                                           Knoxville          TN      37917                     12/16/2022 General Unsecured              $64,000.00               $64,000.00
  545    Donna Williams vs. VPX & Owoc (2020)                      Attn: Donna Lorie Williams                                 4846 NW 95th Ave                                                                                            Sunrise            FL      33351                     12/17/2022 General Unsecured           $3,000,000.00            $3,000,000.00
  546    Priority-1, Inc.                                          Attn: Chris Michaels, General Counsel                      1800 E Roosevelt Rd                                                                                         Little Rock        AR      72206-2516                12/16/2022 General Unsecured           $1,402,737.96            $1,402,737.96
  547    Doehler USA Inc.                                          c/o Bryan Cave Leighton Paisner LLP                        Attn: Jarret P. Hitchings, Esq.)             One Wells Fargo Center         301 S College St, Suite 2150    Charlotte          NC      28202                     12/16/2022 General Unsecured          $26,895,664.85           $26,895,664.85
  548    England Logistics, Inc.                                   Attn: Justin Olsen                                         1325 S 4700 W                                                                                               Salt Lake City     UT      84104                     12/17/2022 General Unsecured           $1,518,736.63            $1,518,736.63
                                                                                                                                                                                                                                                                                                          General Unsecured
  550    Gregg Ginalick                                            Gregg Ginalick                                             330 Willow Run                                                                                              Prosper            TX    75078                       12/16/2022 Priority                       $56,278.04                $25,750.04                          $30,528.00
  551    RM Mechanical, Inc                                        Attn: Scott Magnuson                                       5998 W Gowen Rd                                                                                             Boise              Idaho 83709                       12/16/2022 Secured                      $918,548.57                                  $918,548.57
  552    Krones, Inc.                                              c/o Foley & Lardner LLP                                    Attn: Matthew D. Lee                         150 East Gilman St             Suite 5000                      Madison            WI    53703                       12/19/2022 General Unsecured           $2,411,958.31             $2,411,958.31
  553    Refresco Benelux b.v.                                     c/o Holland & Knight LLP                                   Attn: W. Keith Fendrick                      100 N Tampa St                 Ste 4100                        Tampa              FL    33602                       12/18/2022 General Unsecured              $10,891.14                $10,891.14
  555    Arista Music                                              Attn: Wade Leak, Esq.                                      25 Madison Avenue                            22nd Floor                                                     New York           NY    10010                       12/18/2022 General Unsecured            $750,000.00               $750,000.00
  556    Direct Connect Logistix, Inc                              Attn: Marc Vreeland                                        130 S Meridian St                                                                                           Indianapolis       IN    46225-1046                  12/19/2022 General Unsecured            $722,497.36               $722,497.36
  557    LaFace Records LLC                                        Attn: Wade Leak, Esq                                       25 Madison Avenue                            22nd Floor                                                     New York           New Yo10010                       12/18/2022 General Unsecured            $300,000.00               $300,000.00
  558    Lone Star Business Association Coop                       Attn: Emily Wall                                           900 Jackson St                               Ste 570                                                        Dallas             TX    75202                       12/19/2022 Administrative Priority        $16,161.25                                                                      $16,161.25
  560    Zomba Recording LLC                                       Attn: Wade Leak, Esq.                                      25 Madison Avenue                            22nd Floor                                                     New York           NY    10010                       12/18/2022 General Unsecured           $2,300,000.00             $2,300,000.00
                                                                                                                                                                                                                                                                                                          General Unsecured
  561    Graphic Packaging International, LLC                      c/o Shumaker, Loop & Kendrick, LLP                         Attn: David Conaway                          101 S Tryon Street             Suite 2200                      Charlotte          NC    28280                       12/19/2022 Administrative Priority     $5,001,968.00            $4,935,395.00                                             $66,573.00
  562    Arista Records LLC                                        Attn: Wade Leak                                            25 Madison Avenue                            22nd Floor                                                     New York           NY    10010                       12/18/2022 General Unsecured           $1,100,000.00            $1,100,000.00
  563    Quarles & Brady LLP                                       Attn: Christopher Combest                                  300 N LaSalle St                             Ste 4000                                                       Chicago            IL    60654                       12/19/2022 General Unsecured           $1,417,934.25            $1,417,934.25
  564    Sony Music Entertainment US Latin LLC                     Attn: Wade Leak, Esq.                                      25 Madison Avenue                            22nd Floor                                                     New York           NY    10010                       12/18/2022 General Unsecured           $1,550,000.00            $1,550,000.00
  565    Records Label, LLC                                        Attn: Wade Leak                                            25 Madison Avenue                            22nd Floor                                                     New York           New Yo10010                       12/18/2022 General Unsecured            $700,000.00              $700,000.00
  566    Volcano Entertainment III LLC                             Attn: Wade Leak                                            25 Madison Avenue                            22nd Floor                                                     New York           NY    10010                       12/18/2022 General Unsecured            $200,000.00              $200,000.00
  568    Sony Music Entertainment                                  Attn: Wade Leak                                            25 Madison Avenue                            22nd Floor                                                     New York           NY    10010                       12/18/2022 General Unsecured          $31,000,000.00           $31,000,000.00
  569    Refresco Beverages US Inc [Cott Beverages Inc]            c/o Holland & Knight LLP                                   Attn: W Keith Fendrick, Esq                  100 N Tampa St                 Ste 4100                        Tampa              FL    33602                       12/19/2022 General Unsecured              $34,464.52               $34,464.52
  570    Refresco Canada Inc.                                      c/o Holland & Knight LLP                                   Attn: W. Keith Fendrick                      100 N Tampa St                 Ste 4100                        Tampa              FL    33602                       12/19/2022 General Unsecured              $58,941.47               $58,941.47
  571    Refresco Beverages US Inc. [Cott Beverages Inc.]          c/o Holland & Knight LLP                                   Attn: William Keith Fendrick                 100 N Tampa St                 Suite 4100                      Tampa              FL    33602                       12/19/2022 General Unsecured           $9,654,634.00            $9,654,634.00
  580    Securitas Security Services USA, Inc.                     c/o WOC Business Services Dept                             4330 Park Terrace Drive                                                                                     Westlake Village   CA    91361                       12/19/2022 General Unsecured               $1,732.56                $1,732.56
  583    Inventus, LLC [Legility, LLC]                             c/o Consilio LLC                                           1828 L Street NW                             Ste 1070                                                       Washington         DC    20036                       12/19/2022 General Unsecured           $1,274,116.47            $1,274,116.47
         FIRST Insurance Funding, a Division of Lake Forest
  588    Bank & Trust Company, N.A.                                Attn: Janice West                                          450 Skokie Blvd                              Suite 1000                                                     Northbrook         IL      60062                     12/19/2022 Secured                     $1,675,119.78                                $1,675,119.78
  589    Packaging Equipment Inc.                                  c/o Thompson Hine LLP                                      Attn: Sean A. Gordon                         Two Alliance Center            3560 Lenox Rd. NE, Suite 1600   Atlanta            GA      30326                     12/19/2022 General Unsecured              $14,520.00               $14,520.00
  590    Premium Beverage Company                                  c/o ArentFox Schiff LLP                                    Attn: Annie Y. Stoops                        555 West Fifth Street          48th Floor                      Los Angeles        CA      90013                     12/19/2022 General Unsecured                   $0.00              Unliquidated
  591    Jump Foods, LLC                                           c/o Cline Williams Wright Johnson & Oldfather, LLP         Attn: John F. Zimmer, V                      233 S 13 St                    Suite 1900                      Lincoln            NE      68508                     12/19/2022 General Unsecured              $25,000.00               $25,000.00
  592    Packaging Equipment, Inc.                                 c/o Thompson Hine LLP                                      Attn: Sean A. Gordon                         Two Alliance Center            3560 Lenox Rd NE, Suite 1600    Atlanta            GA      30326                     12/19/2022 General Unsecured              $14,520.00               $14,520.00
  595    PepsiCo, Inc.                                             c/o FrankGecker LLP                                        Attn: Joseph D. Frank                        1327 West Washington Blvd      Suite 5 G-H                     Chicago            IL      60607                     12/19/2022 General Unsecured         $115,000,000.00          $115,000,000.00
  597    Bottling Group, LLC                                       c/o FrankGecker LLP                                        Attn: Joseph D Frank                         1327 West Washington Blvd      Ste 5 G-H                       Chicago            IL      60607                     12/19/2022 General Unsecured            $159,686.32              $159,686.32
  598    Daisy Duke Promotions LLC                                 Roger Heinrich                                             7132 Washington St                                                                                          Kansas City        MO      64114-1343                12/19/2022 General Unsecured            $318,663.00              $318,663.00
  599    Premier Distributing Company                              Attn: Alan Markey                                          4321 Yale Blvd NE                                                                                           Albuquerque        NM      87107                     12/19/2022 General Unsecured            $832,000.00              $832,000.00
  600    Atlanta Retailers Association, LLC                        c/o Jaffer Law, P.C.                                       Attn: Mary E. Meyer, Esq.                    3538 Habersham at Northlake    Building D                      Tucker             GA      30084                     12/19/2022 General Unsecured              $69,698.87               $69,698.87
         Warner Music Group "WMG" (as defined in the attached      Brad Cohen, Senior Vice President & Head of Litigation;
  601    rider)                                                    Matt Flott, EVP & CFO Recorded Music                       1633 Broadway                                                                                               New York           NY      10019                     12/19/2022 General Unsecured          $24,650,000.00           $24,650,000.00
  602    Pettit Kohn Ingrassia Lutz & Dolin, PC                    c/o Rossway Swan Tierney Barry & Oliver, PL                Attn: Thomas W. Tierney, Esq.                2101 Indian River Blvd         Suite 200                       Vero Beach         FL      32960                     12/19/2022 General Unsecured            $273,641.54              $273,641.54
  604    Amazon Web Services, Inc.                                 c/o K&L Gates LLP                                          Attn: Brian Peterson                         925 4th Avenue, Suite 2900                                     Seattle            WA      98104                     12/19/2022 General Unsecured               $3,250.53                $3,250.53
                                                                                                                                                                                                                                                                                                          General Unsecured
                                                                                                                                                                                                                                                                                                          Secured
  605    FONA International, Inc.                                  c/o Baker Donelson, Bearman, Caldwell & Berkowitz, PC Attn: Daniel Carrigan                             901 K Street NW                Suite 900                       Washington         DC      20001                     12/19/2022 Administrative Priority       $899,203.95              $602,203.95        $297,000.00                                 TBD
  606    Colgems-EMI Music Inc.                                    Attn: David Przygoda                                  25 Madison Avenue                                 26th Floor                                                     New York           NY      10010                     12/19/2022 General Unsecured             $150,000.00              $150,000.00
  607    Suddath Global Logistics, LLC                             c/o Smith, Gambrell & Russell, LLP                    Attn: Aleksas A. Barauskas, Esq.                  50 North Laura St, Ste 2600                                    Jacksonville       FL      32202                     12/19/2022 General Unsecured             $608,476.53              $608,476.53
                                                                                                                                                                                                                                                                                                          General Unsecured
  610    Monster Energy Company                                    Attn: Aaron Sonnhalter                                     1 Monster Way                                                                                               Corona             CA      92879                     12/19/2022 Administrative Priority   $389,797,257.35 Not less than 389797257.35                                         Undetermined
  615    EMI April Music Inc.                                      Attn: David Przygoda                                       25 Madison Avenue                            26th Floor                                                     New York           NY      10010                     12/19/2022 General Unsecured           $2,225,000.00              $2,225,000.00
  616    EMI Blackwood Music Inc.                                  Attn: David Przygoda                                       25 Madison Avenue                            26th Floor                                                     New York           NY      10010-8601                12/19/2022 General Unsecured            $875,000.00                 $875,000.00
         Brendan Abbott, Peter Fischer, and Carlton Harris, Each
         Individually and on Behalf of a Nationwide Class of
  617    Similarly-Situated Consumers                              c/o Pack Law, P.A.                                         Attn: Jessey James Krehl                     51 NE 24th St                  #108                            Miami              FL    33137                       12/19/2022 General Unsecured                   $0.00        500 million; unliquid
  618    Jobete Music Co. Inc.                                     Attn: David Przygoda                                       25 Madison Avenue                            26th Floor                                                     New York           New Yo10010-8601                  12/19/2022 General Unsecured            $300,000.00               $300,000.00
  619    Sony Music Publishing (US) LLC                            Attn: David Przygoda                                       25 Madison Avenue                            26th Floor                                                     New York           NY    10010-8601                  12/19/2022 General Unsecured           $7,400,000.00            $7,400,000.00
  620    Faith Technologies Incorporated                           Attn: Ken Baumgart                                         201 Main Street                              PO Box 260                                                     Menasha            WI    54952                       12/19/2022 Secured                     $3,584,788.15                                $3,584,788.15
  621    AXS Law Group, PLLC.                                      Attn: Courtney Caprio                                      2121 NW 2nd Avenue                           Suite 201                                                      Miami              FL    33127                       12/19/2022 General Unsecured              $17,880.00               $17,880.00
  622    Stone Diamond Music Corp.                                 Attn: David Przygoda                                       25 Madison Avenue                            26th Floor                                                     New York           New Yo10010-8601                  12/19/2022 General Unsecured            $150,000.00               $150,000.00
  624    Chestnut Hill Technologies, Inc.                          Attn: Megan W. Murray                                      100 N Tampa St                               Suite 2325                                                     Tampa              FL    33602                       12/19/2022 General Unsecured             $195,770.00              $195,770.00
  625    Berlin Packaging L.L.C.                                   c/o Winston & Strawn LLP                                   Attn: Carrie V Hardman                       200 Park Avenue                                                New York           NY    10166                       12/19/2022 General Unsecured            $218,689.15                unliquidated
         Gerson Lehrman Group, Inc. [GLG, Gerson Lehrman
  626    Group]                                                    c/o Legal Department                                       60 East 42nd Street                          3rd Floor                                                      New York           NY      10165                     12/19/2022 General Unsecured             $137,720.00              $137,720.00
         Corporate Financial Group Ltd. dba Smith Economics
  628    Group Ltd.                                                Attn: Kay Herr                                             1165 N Clark Street                          Ste 600                                                        Chicago            IL      60610                     12/19/2022 General Unsecured               $7,053.75                $7,053.75
  629    Silver Eagle Beverages, LLC                               c/o Langley & Banack, Inc.                                 Attn: Natalie F. Wilson                      745 E Mulberry                 Suite 700                       San Antonio        TX      78212                     12/19/2022 General Unsecured             $642,237.00              $642,237.00
  630    Icon Owner Pool 1 LA Non-Business Parks, LLC              c/o Singer & Levick, P.C.                                  Attn: Michelle E. Shriro                     16200 Addison Road             Suite 140                       Addison            TX      75001                     12/19/2022 Secured                        $31,087.05                                  $31,087.05
  631    Silver Eagle Beverages, LLC                               c/o Langley & Banack, Inc.                                 Attn: Natalie F. Wilson                      745 E Mulberry                 Suite 700                       San Antonio        TX      78212                     12/19/2022 General Unsecured              $41,516.80                $41,516.80
         Nelson Mullins Riley & Scarborough, LLP (including
  632    through its predecessor in Florida Broad and Cassel)      Attn: Scott D. Knapp and Frank P. Terzo                    100 SE 3rd Ave                               Suite 2700                                                     Fort Lauderdale    FL      33394                     12/19/2022 General Unsecured           $1,668,106.30             $1,668,106.30
                                                                                                                                                                                                                                                                                                          General Unsecured
  633    CI Dal III-V, LLC                                         c/o Singer & Levick, P.C.                                  Attn: Michelle E. Shriro                     16200 Addison Road             Suite 140                       Addison            TX      75001                     12/19/2022 Secured                        $16,321.65                 $5,504.25        $10,817.40
  634    Litigation Services and Technologies of California LLC    Attn: Ted Kent                                             3960 Howard Hughes Pkwy                      Ste 700                                                        Las Vegas          NV      89169                     12/19/2022 General Unsecured              $18,565.03                $18,565.03
  635    Shelburne Sherr Court Reporters                           Attn: Sharon Sherr-Remy                                    PO Box 25                                                                                                   Del Mar            CA      92014                     12/19/2022 General Unsecured               $7,614.32                 $7,614.32
  636    Ultra Air Cargo Inc                                       Attn: Darren Pao                                           17256 S Main St                                                                                             Gardena            CA      90248                     12/19/2022 General Unsecured                $250.00                   $250.00
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                                  General Unsecured
  637    Connect Logistix Inc. (clus006214)                        c/o Euler Hermes North America Insurance Company           800 Red Brook Blvd.                                                                                         Owings Mills       MD      21117                     12/07/2022 Administrative Priority       $724,497.00              $590,470.36                                            $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                                             General Unsecured
  638    Logistics, Inc (clus006447)                               c/o Euler Hermes North America Insurance Company           800 Red Brook Blvd                                                                                          Owing Mills        MD      21117                     12/07/2022 Administrative Priority       $195,828.41               $28,914.02                                            $166,914.39
  639    John H. Owoc                                                                                                         1600 N Park Drive                                                                                           Weston             FL      33326                     12/19/2022 General Unsecured                   $0.00              See Attached
  641    Jason Briggs Osborne                                                                                                 3236 West Huntington Dr                                                                                     Phoenix            AZ      85041                     12/19/2022 General Unsecured             $220,000.00              $220,000.00
  642    AMA Inc [Alabama Merchants Association]                                                                              3 Riverchase Office Plaza                    Ste 208                                                        Birmingham         AL      35244                     12/19/2022 General Unsecured               $7,268.25                $7,268.25
  643    C.H. Robinson Worldwide, Inc.                                                                                        14701 Charlson Rd                                                                                           Eden Prairie       MN      55347                     12/19/2022 General Unsecured             $723,375.81              $723,375.81
  644    Barbara Ramirez Barbara Eddiesday Rodriguez                                                                          2303 SE 149th Ave                                                                                           Vancouver          WA      98683-8518                12/19/2022 Priority                        $3,500.00                                                     $3,500.00
  645    R&L Carriers, Inc.                                                                                                   600 Gilliam Rd                                                                                              Willmington        OH      45177                     12/19/2022 General Unsecured              $43,102.20               $43,102.20
  646    CSK Cole, Scott & Kissane, PA                                                                                        9150 S Dadeland Blvd                         Suite 1400                                                     Miami              FL      33156-7855                12/19/2022 General Unsecured              $51,422.13               $51,422.13
  647    Todd King                                                                                                            23009 SE 14th St                                                                                            Sammamish          WA      98075-9339                12/19/2022 General Unsecured              $18,290.25               $18,290.25
  648    Eagle Distributing of Memphis, LLC                        Attn: Michael Craig                                        310 Radford Place                                                                                           Knoxville          TN      37917                     12/19/2022 General Unsecured               $4,648.67                $4,648.67
  649    Eagle Distributing Co Inc                                 Attn: Michael Craig                                        310 Radford Place                                                                                           Knoxville          TN      37917                     12/19/2022 General Unsecured              $28,717.47               $28,717.47
  650    Seko Worldwide LLC                                        c/o Bankruptcy Claims Administrative Services, LLC         84 Herbert Ave                               Building B, Suite 202                                          Closter            NJ      07624                     12/19/2022 General Unsecured             $214,416.00              $214,416.00
  651    Baker Tilly, US, LLP                                      Attn: Daniel Lee Powell, Jr.                               Box 78975                                                                                                   Milwakee           WI      53278-8975                12/19/2022 General Unsecured              $60,911.00               $60,911.00
  652    VS Carbonics, Inc.                                        Attn: Scott D. Lehman                                      121 Alhambra Plaza                           Suite 1500                                                     Coral Gables       FL      33134                     12/19/2022 General Unsecured             $328,000.00              $328,000.00
  658    Gregg Ginalick                                                                                                       330 Willow Run                                                                                              Prosper            TX      75078                     12/20/2022 Priority                       $56,278.04                                                    $56,278.04
  659    Jump Foods, LLC                                           c/o Cline Williams Wright Johnson & Oldfather, LLP         Attn: John F. Zimmer, V                      233 S 13 St                    Suite 1900                      Lincoln            NE      68508                     12/20/2022 General Unsecured              $25,000.00               $25,000.00
  660    Sunbelt Rentals Inc                                                                                                  2015 Directors Row                                                                                          Orlando            FL      32809                     12/20/2022 General Unsecured             $115,896.60              $115,896.60
  661    Maldonado Leal Servicios De Apoio Empresaria L Lida       Attn: Gisela Maldonado                                     Av. Paulista, 1765                                                                                          Ed. Scarpa         SP      CJ 121     Brazil         12/20/2022 General Unsecured               $8,700.00                $8,700.00
  662    Inmar - YouTech LLC                                       c/o Davis & Jones, LLC                                     Attn: Patrick R. Thesing                     2521 Brown Blvd                                                Arlington          TX      76006                     12/21/2022 General Unsecured              $28,137.68               $28,137.68




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                                   Page 6 of 8
                                                                                                                   Case 22-17842-PDR                                                  Doc 1859                            Filed 08/29/23                                Page 7 of 16
                                                                                                                                                                                             Claims Register as of 8/29/2023
                                                                                                                                                                                                         Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                                  General                                                        Administrative
  No.                           Name                                                        Attention                              Address 1                              Address 2                   Address 3                   City      State     Zip     Country    Date Filed    Amount Class(es)        Total Amount           Unsecured             Secured                 Priority             Priority
  665 Navigators Insurance Company                                  c/o Hartford Fire Insurance Company            Attn: Bankruptcy Unit                    HO2-R                           Home Office                  Hartford          CT     06155                   12/21/2022 General Unsecured                    $0.00   Contingent/Unliquidated
  666 Green Mountain Energy Company                                 Bankruptcy Department                          PO Box 1046                                                                                           Houston           TX     77251                   12/21/2022 General Unsecured                $1,661.84               $1,661.84
  667 Pettit Kohn Ingrassia Lutz & Dolin, PC                        c/o Rossway Swan Tierney Barry & Oliver, PL    Attn: Thomas W. Tierney, Esq.            2101 Indian River Blvd.         Suite 200                    Vero Beach        FL     32960                   12/27/2022 General Unsecured              $280,563.64             $280,563.64
                                                                                                                                                                                                                                                                                     General Unsecured
  668    U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance                                                         Attn: Jeffrey J Lothert                  1310 Madrid Street                                           Marshall          MN    56258                    12/23/2022 Secured                        $41,688.94                $1,788.94       $39,900.00
  669    MEI Rigging & Crating, LLC dba Dunkel Bros                 Christina Uitz                                 PO Box 1630                                                                                           Albany            OR    97321                    12/27/2022 Secured                        $69,443.65                                $69,443.65
  670    Ball Metal Beverage Container Corp.                        Attn: David Westmoreland, Esq.                 9200 W. 108th Circle                                                                                  Westminster       CO    80021                    12/28/2022 General Unsecured          $15,618,036.45           $15,618,036.45
  671    CSPC Innovation Pharmaceutical Co., Ltd.                                                                                                                                                                                                                         12/28/2022 General Unsecured            $281,600.00              $281,600.00
  672    Shanghai Freeman Lifescience Co., Ltd.                                                                                                                                                                                                                           12/28/2022 General Unsecured            $609,924.00              $609,924.00

  673    TOMRA of North America, Inc [Returnable Services LLC] Attn: Eric J. Jepeal                                One Corporate Dr                         Ste 710                                                      Shelton           CT    06484                    12/28/2022 General Unsecured               $17,468.12              $17,468.12
  674    CM Builders, Inc. dba Integrated Masonry              c/o Radix Law                                       Attn: Carolyn R. Tatkin                  15205 N. Kierland Blvd          Suite 200                    Scottsdale        AZ    85254                    12/28/2022 Secured                       $145,637.00                               $145,637.00
  675    American Arbitration Association                                                                          120 Broadway                             21st Floor                                                   New York          NY    10271-2700               12/29/2022 Priority                      $100,649.28                                                        $100,649.28
  676    AMA Inc [Alabama Merchants Association]                                                                   3 Riverchase Office Plaza                Ste 208                                                      Birmingham        AL    35244                    12/19/2022 General Unsecured                $7,268.25               $7,268.25
  677    Tadasha Lenorah Hodges                                Attn: Scott J Liotta                                7335 W Sand Lake Road                    Suite 300                                                    Orlando           FL    32819                    01/03/2023 General Unsecured            $1,000,000.00           $1,000,000.00
  678    Aaronda Edna Walton                                                                                       5584 Plunkett St                                                                                      Hollywood         FL    33021                    01/03/2023 General Unsecured               $75,000.00              $75,000.00
  679    Dallas County                                         c/o Linebarger Goggan Blair & Sampson, LLP          Attn: John K. Turner                     2777 N Stemmons Frwy            Ste 1000                     Dallas            TX    75207                    01/04/2023 Secured                              $0.00                                Withdrawn
  680    Aptus Court Reporting LLC                             Attn: Jocelyn Bundang                               401 West A St, Ste 1682                                                                               San Diego         CA    92101                    01/05/2023 General Unsecured                $8,038.15               $8,038.15
  681    Erica Hayes                                           c/o JB Hunt Transport, Inc                          306 JB Hunt Corporate Drive              Commerce Center II                                           Lowell            AR    72745                    01/11/2023 General Unsecured             $498,200.90              $498,200.90
  682    Amy McAllister                                                                                            20570 Vine Dr                                                                                         Macomb            MI    48044                    01/13/2023 Priority                        $27,000.00                                                         $27,000.00
  684    Scotlynn USA Division Inc.                            Attn: Nicole Tracey                                 9597 Gulf Research Ln                                                                                 Fort Myers        FL    33912-4552               01/17/2023 General Unsecured               $92,603.00              $92,603.00
  685    Envirosure Solutions, LLC                                                                                 1018 E Guadalupe Rd                                                                                   Tempe             AZ    85283                    01/17/2023 General Unsecured                $1,760.00               $1,760.00
  686    North Carolina Department of Revenue                                                                      PO Box 1168                                                                                           Raleigh           NC    27602                    01/18/2023 Administrative Priority          $4,048.85                                                                              $4,048.85
                                                                                                                                                                                                                                                                                     General Unsecured
  687    North Carolina Department of Revenue                                                                      PO Box 1168                                                                                           Raleigh           NC    27602                    01/18/2023 Priority                      $125,151.12               $30,186.26                                 $94,964.86
  688    Communikay Graphics                                        Accounting                                     PO Box 2347                                                                                           Alvin             TX    77512                    01/19/2023 General Unsecured               $2,970.12                $2,970.12
  689    Oregon Department Of Revenue                                                                              955 Center St NE                                                                                      Salem             OR    97301-2555               01/20/2023 General Unsecured              $38,597.63               $12,259.35                                 $26,338.28
  690    Wilson Elser                                               Attn: Richard Donohue                          1133 Westchester Ave                                                                                  White Plains      NY    10604                    01/25/2023 General Unsecured              $37,996.25               $37,996.25
  691    Louisiana Workforce Commission                             Attn: Stacey Wright Johnson                    1001 N 23rd St                           First Floor                                                  Baton Rouge       LA    70802                    01/27/2023 Priority                            $0.68                                                                 $0.68
  693    Donald A. McClain                                                                                         810 W End Blvd                                                                                        Winston Salem     NC    27101                    01/30/2023 General Unsecured              $11,600.00               $11,600.00
  695    Nordson Corporation                                                                                       300 Nordson Dr                                                                                        Amherst           OH    44001                    01/30/2023 General Unsecured              $39,012.44               $39,012.44
                                                                                                                                                                                                                                                                                     General Unsecured
  696    Ohio Department of Taxation                                Attn: Bankruptcy Division                      PO Box 530                                                                                            Columbus          OH    43216                    01/31/2023 Priority                       $71,241.48               $22,550.00                                 $48,691.48
  697    GLOBAL INDUSTRIAL [GLOBAL EQUIPMENT]                       LAURA FREEMAN                                  2505 MILL CENTER PARKWAY                 SUITE 100                                                    BUFORD            GA    30518                    02/03/2023 General Unsecured              $16,199.63               $16,199.63
  698    Evan Thomas Popham                                         Regional Account Executive                     68 Orchard St                                                                                         Thornwood         NY    10594                    02/07/2023 General Unsecured              $22,000.00               $22,000.00
  699    Ecolab Inc                                                 Attn: John McDonald                            655 Lone Oak Dr                                                                                       Eagan             MN    55121                    02/07/2023 General Unsecured              $28,857.28               $28,857.28
  700    Nalco Company                                              Attn: John McDonald                            655 Lone Oak Dr                                                                                       Eagan             MN    55121                    02/07/2023 General Unsecured              $43,996.01               $43,996.01
  701    Motion Industries                                                                                         1605 Alton Road                                                                                       Irondale          AL    35210                    02/08/2023 General Unsecured               $3,500.31                $3,500.31
  702    California Department of Tax And Fee Administration        Attn: Collections Support, MIC: 55             PO Box 942879                                                                                         Sacramento        CA    94279-0055               02/13/2023 Priority                       $52,363.35                                                          $52,363.35
  703    Andersen Material Handling                                 Attn: Kevin J. Godin                           30575 Anderson Ct                                                                                     Wixom             MI    48393                    02/14/2023 Administrative Priority        $32,325.60                                                                              $32,325.60
  704    Veritext, LLC [Veritext Legal Solutions]                   Attn: Judith Kunreuther                        290 W Mt. Pleasant Ave                   Suite 3200                                                   Livingston        NJ    07039                    02/16/2023 General Unsecured              $18,454.05               $18,454.05
  705    Combi Packaging Systems LLC.                                                                              PO Box 35878                                                                                          Canton            OH    44735-5878               02/16/2023 Administrative Priority        $28,242.61                                                                              $28,242.61
  706    IBT West, LLC dba Magnum Industrial Distributors           Attn: John Kelly                               4203 W Adams Street                                                                                   Phoenix           AZ    85009                    02/21/2023 Administrative Priority         $2,712.78                                                                               $2,712.78
                                                                                                                                                                                                                                                                                     General Unsecured
  707    New York State Department of Taxation and Finance          Attn: Bankruptcy Section                       PO Box 5300                                                                                           Albany            NY    12205-0300               02/22/2023 Priority                        $9,367.09                $1,000.00                                  $8,367.09
  708    Anton Paar USA, Inc.                                                                                      10215 Timber Ridge Dr                                                                                 Ashland           VA    23005                    02/23/2023 General Unsecured               $1,116.65                $1,116.65
  709    Chad Anderson                                                                                             15 Consella Way                                                                                       Franklinton       NC    27525                    02/23/2023 General Unsecured              $36,660.00               $36,660.00
  710    Brian Michael Trevino                                                                                                                                                                                                                                            03/01/2023 General Unsecured              $15,000.00               $15,000.00
                                                                                                                                                                                                                                                                                     General Unsecured
  711    Florida Department of Revenue, Bankruptcy Unit             Attn: Frederick F Rudzik, Esq                  PO Box 6668                                                                                           Tallahassee       FL    32314-6668               03/02/2023 Priority                         $6,867.18                $837.80                                   $6,029.38
  712    Wesley Baker                                                                                              14722 Baytown Ct                                                                                      Huntersville      NC    28078                    03/03/2023 General Unsecured               $14,800.00              $14,800.00
  713    Alvarez & Marsal Valuation Services LLC                    Attn: Drew Voth                                1111 3rd Ave                             Suite 2450                                                   Seattle           WA    98101                    03/07/2023 General Unsecured               $88,432.00              $88,432.00
  714    Portland Bottling Company                                  c/o Davis Wright Tremaine LLP                  Attn: Joseph M. VanLeuven                1300 SW Fifth Ave, Suite 2400 24th Floor                     Portland          OR    97201                    03/07/2023 General Unsecured            $1,269,750.00           $1,269,750.00
  715    EastGroup Properties, L.P.                                 c/o Thomas L. Abrams, Esq.                     633 S Andrews Ave                        Suite 500                                                    Fort Lauderdale   FL    33301                    03/08/2023 General Unsecured            $2,200,494.70           $2,200,494.70
  716    EastGroup Properties, L.P.                                 c/o Gamberg & Abrams                           Attn: Thomas L. Abrams, Esq.             633 S. Andrews Ave #500                                      Fort Lauderdale   FL    33301                    03/08/2023 General Unsecured             $209,233.60             $209,233.60
                                                                                                                                                                                                                                                                                     General Unsecured
  717    Department of Taxation                                     Attn: Bankruptcy Unit                          PO Box 259                                                                                            Honolulu          HI    96809-0259               03/08/2023 Priority                            $0.00                 Unknown                                    Unknown
  718    Bryan Shane Dees                                           Attn: Shane Dees                               12148 Bella Palazzo Dr                                                                                Fort Worth        TX    76126                    03/09/2023 General Unsecured              $41,200.00               $41,200.00
  719    U.S. Customs and Border Protection                         Attn: Revenue Division, Bankruptcy Team        6650 Telecom Dr                          Ste 100                                                      Indianapolis      IN    46278                    03/13/2023 Priority                            $0.00                                        0.00 + Unliquidated/contingent
  720    Canon Solutions America Inc                                                                               300 Commerce Sq Blvd                                                                                  Burlington        NJ    08016                    03/13/2023 General Unsecured                $389.57                   $389.57
  721    Thomas Del Duca                                                                                           985 Colonial Dr.                                                                                      Mount Pleasant    SC    29464                    03/15/2023 Priority                       $39,000.00                                                          $39,000.00
  722    Christian Soza                                                                                            1690 Hilton Head Ct.                     #2320                                                        El Cajon          CA    92019                    03/16/2023 Priority                       $30,000.00                                                          $30,000.00                Blank
  723    Ryan H Cobb [Ryan Hawkins Cobb]                                                                           1361 Sky Ridge Ct                                                                                     San Marcos        CA    92078                    03/16/2023 Priority                       $30,400.00                                                          $30,400.00
  724    Vincent Milano                                                                                            2490 Martin Ave                                                                                       Bellmore          NY    11710                    03/16/2023 Priority                       $15,150.00                                                          $15,150.00
  725    Cody Cullen                                                                                               146 Pearl St                                                                                          Clinton           MA    01510                    03/16/2023 General Unsecured              $40,000.00               $40,000.00
  726    Ryan H Cobb [Ryan Hawkins Cobb]                                                                           1361 Sky Ridge Ct                                                                                     San Marcos        CA    92078                    03/16/2023 Priority                       $56,325.00                                                          $56,325.00
  727    Clinton Harshman                                                                                          1223 Dodgeton Drive                                                                                   Frisco            TX    75033                    03/16/2023 Priority                       $10,238.87                                                          $10,238.87
  728    Shane Darrow                                                                                              5984 Kingslake Drive                                                                                  Hilliard          OH    43026                    03/17/2023 General Unsecured              $33,000.00               $33,000.00
                                                                                                                   Attn: David Conaway, Ronald D.P.
  729    Graphic Packaging International, LLC                       c/o Shumaker, Loop & Kendrick, LLP             Bruckmann                                101 S. Tryon St                 Suite 2200                   Charlotte         NC    28280                    03/17/2023 Administrative Priority        $66,573.00                                                                              $66,573.00
  730    John Zappia                                                                                               636 Dorothy Drive                                                                                     Charlotte         NC    28203                    03/17/2023 General Unsecured              $40,045.02               $40,045.02
  731    Krones, Inc.                                               c/o Foley & Lardner LLP                        Attn: Matthew D. Lee                     150 East Gilman Street          Suite 5000                   Madison           WI    53703                    03/17/2023 Administrative Priority         $3,966.47                                                                               $3,966.47
         Jasmin Williams, on her behalf and alls others similarly
  732    situated                                                   Attn: Samy M. Harmoush                         1230 Rosecrans Ave.                      Suite 300                                                    Manhattan Beach   CA    90266                    03/21/2023 Administrative Priority             $0.00              Unliquidated
  733    Robert Half                                                Attn: Recovery Dept                            PO Box 5024                                                                                           San Ramon         CA    94583                    03/14/2023 Administrative Priority        $47,342.86              $47,342.86
  735    Minnesota Department of Revenue                            c/o Collections Division                       Attn: BKY                                PO Box 64447                                                 St Paul           MN    55164-0447               03/22/2023 General Unsecured                   $0.00                                                                               Withdrawn
                                                                                                                                                                                                                                                                                     Priority
  736    Jonathan Lowe                                                                                             4525 Fort McHenry Pkwy                                                                                Glen Allen        VA    23060                    03/22/2023 Administrative Priority        $30,300.00               $22,500.00                                  $7,800.00
                                                                                                                                                                                                                                                                                     Priority
  737    Comptroller of the Treasury                                                                               301 W Preston Street Room #409                                                                        Baltimore         MD                             03/23/2023 Administrative Priority          $5,916.00                $440.00                                   $5,476.00
  738    Rita Varano                                                                                               2320 T St                                                                                             Richmond          VA    23223                    03/24/2023 Administrative Priority         $17,802.00              $17,802.00
  739    Yvette Atondo                                                                                             7702 Roundrock Rd                                                                                     Dallas            TX    75248                    03/28/2023 Administrative Priority         $30,000.00              $30,000.00
  740    Refresco Beverages US Inc.                               c/o Holland & Knight LLP                         Attn: William K. Fendrick, Esq.          100 North Tampa Street          Suite 4100                   Tampa             FL    33602                    03/31/2023 General Unsecured            $9,654,634.00                                                                          $9,654,634.00
  741    Circle K Stores Inc.                                     c/o Chipman Brown Cicero & Cole, LLP             Attn: Robert Weber                       1313 N. Market St               Suite 5400                   Wilmington        DE    19801                    03/31/2023 Administrative Priority       $769,060.74              $769,060.74
         Circle K Procurement and Brands, Ltd. & Circle K Stores,
  742    Inc.                                                     c/o Chipman Brown Cicero & Cole, LLP             Attn: Robert A. Weber, Esq.              1313 N. Market St               Suite 5400                   Wilmington        DE    19801                    03/31/2023 Administrative Priority      $1,395,264.00           $1,395,264.00
                                                                                                                                                                                                                                                                                     General Unsecured
  743    MDV SpartanNash LLC                                        Stephen B. Grow                                Warner Norcross + Judd LLP               150 Ottawa Ave NW               Suite 1500                   Grand Rapids      MI    49503                    03/31/2023 Administrative Priority        $65,305.65               $25,214.02                                                     $40,091.63
                                                                                                                                                                                                                                                                                     Priority
  744    Iowa Department of Revenue                                 Office of the Attorney General of Iowa         Attn: Bankruptcy Unit                    1305 E Walnut                                                Des Moines        IA    50319                    04/06/2023 Administrative Priority           $955.73                   $23.29                                    $932.44
                                                                                                                                                                                                                                                                                     Priority
  745    ARIZONA DEPARTMENT OF REVENUE                              Office of the Arizona Attorney General - BCE   c/o Tax, Bankruptcy and Collection Sct   2005 N Central Ave              Suite 100                    Phoenix           AZ    85004                    04/06/2023 Administrative Priority         $1,270.87                  $101.80                                  $1,169.07
  746    Givaudan Flavors Corporation                               c/o Thompson Hine LLP                          Attn: Jeremy M. Campana                  3900 Key Center                 127 Public Square            Cleveland         OH    44114                    04/08/2023 General Unsecured               $3,906.29                                                                               $3,906.29
                                                                                                                                                                                                                                                                                     Priority
  747    Wisconsin Department of Revenue                            c/o Special Procedures Unit                    Attn: Jill Ritchie                       PO Box 8901                                                  Madison           WI    53708-8901               04/10/2023 Administrative Priority         $28,064.73                $752.05                                  $27,312.68
  748    Yale Carolinas Inc. dba Wheeler Material Handling                                                         9839 S Tryon St                                                                                       Charlotte         NC    28273                    04/12/2023 Administrative Priority          $5,447.74               $5,447.74
  749    Fiesta Warehousing & Distribution Co.                      Attn: Steven J. Solomon                        333 SE 2nd Avenue                        Suite 3200                                                   Miami             FL    33131                    04/14/2023 Administrative Priority       $266,586.75              $266,586.75
  750    Neogen Corporation                                                                                        620 Lesher Place                                                                                      Lansing           MI    48912                    04/18/2023 Administrative Priority          $6,663.40               $6,663.40
  751    NM Taxation & Revenue Department                                                                          PO Box 8575                                                                                           Albuquerque       NM    87198-8575               04/25/2023 Priority                         $2,750.00                                                          $2,750.00
  752    Intrastate Distributing                                    c/o Lorium PLLC                                197 South Federal Highway                Suite 200                                                    Boca Raton        FL    33432                    04/27/2023 General Unsecured            $2,626,900.00           $2,626,900.00
  753    ARIZONA DEPARTMENT OF REVENUE                              Office of the Arizona Attorney General - BCE   c/o Tax, Bankruptcy and Collection Sct   2005 N Central Ave              Suite 100                    Phoenix           AZ    85004                    05/12/2023 Priority                           $105.00                                                            $105.00
  754    Fiesta Warehousing & Distribution Co.                      Attn: Steven J. Solomon                        333 SE 2nd Avenue                        Suite 3200                                                   Miami             FL    33131                    05/17/2023 General Unsecured               $74,967.59              $74,967.59
                                                                                                                                                                                                                                                                                     General Unsecured
  755    Krier Foods, LLC                                           c/o Frost Brown Todd LLP                       Attn: Kim Martin Lewis                   3300 Great American Tower                                    Cincinnati        OH    45202                    05/25/2023 Administrative Priority             $0.00    See attached Addendum                                                  See Addendum
  756    Dallas County                                              Linebarger Goggan Blair & Sampson, LLP         c/o John K. Turner                       2777 N. Stemmons Frwy           Ste 1000                     Dallas            TX    75207                    06/06/2023 Priority                       $12,705.67                                                          $12,705.67
  757    Varni Brothers Corporation                                 Attn: Ray Morales                              215 Hosmer Ave                                                                                        Modesto           CA    95351                    06/07/2023 Administrative Priority    $19,073,730.00                                                                          $19,073,730.00
  758    ARIZONA DEPARTMENT OF REVENUE                              Office of the Arizona Attorney General - BCE   c/o Tax, Bankruptcy and Collection Sct   2005 N Central Ave, Suite 100                                Phoenix           AZ    85004                    06/15/2023 Priority                         $119.05                                                              $119.05
                                                                                                                                                                                                                                                                                     General Unsecured
  759    Tennessee Department of Revenue                            Attn: Attorney General                         PO Box 20207                                                                                          Nashville         TN    37202-0207               06/15/2023 Priority                      $913,731.04               $74,280.15                               $839,450.89




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                      Page 7 of 8
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                                                                                                                                                                                                    Sorted Numerically




 Claim                                                                                                                                                                                                                                                                                                                         General                                                 Administrative
  No.                          Name                                                     Attention                                 Address 1                     Address 2                         Address 3                City        State     Zip      Country    Date Filed    Amount Class(es)        Total Amount       Unsecured             Secured         Priority             Priority
  760 Dallas County                                              c/o Linebarger Goggan Blair & Sampson, LLP      Attn: John K. Turner                2777 N Stemmons Frwy            Ste 1000                       Dallas            TX     75207                    06/16/2023 Administrative Priority         $12,705.67                                                                $12,705.67
  761 Yellowstone Landscape Southeast, LLC                       c/o Blaxberg, Grayson, Kukoff & Forteza, P.A.   Attn: Isabel V. Colleran, Esq.      25 SE Second Ave, Ste 730                                      Miami             FL     33131                    04/28/2023 Administrative Priority         $11,732.60                                                                $11,732.60
  762 American Arbitration Association                                                                           120 Broadway                        21st Floor                                                     New York          NY     10271-2700               06/20/2023 General Unsecured              $100,702.54       $100,702.54
                                                                                                                                                                                                                                                                                 General Unsecured
  763    WA Department of Revenue                                                                                2101 4th Ave Suite 1400                                                                            Seattle           WA    98121                     06/23/2023 Priority                       $31,177.77          $3,041.12                           $28,136.65
                                                                                                                                                                                                                                                                                 Priority
  764    Solar Green Biotechnologies, Inc                        Attn: Peter Zhang                               111 McCoy Street                                                                                   Milford           DE    19963                     06/26/2023 Administrative Priority        $19,100.00                                               $3,350.00         $15,750.00
                                                                                                                                                                                                                                                                                 General Unsecured
  765    Rita Varano                                                                                             2320 T St                                                                                          Richmond          VA    23223                     06/28/2023 Priority                       $24,000.00          $8,850.00                           $15,150.00
  766    Evan Thomas Popham                                      Attn: Evan Popham                               68 Orchard Street                                                                                  Thornwood         New Yo10594                     06/29/2023 General Unsecured              $22,000.00         $22,000.00
                                                                                                                                                                                                                                                                                 Priority
  767    John H Owoc                                             Attn: Jonathan S. Feldman, Esq.                 2 S Biscayne Blvd                   Suite 1600                                                     Miami             FL    33131                     07/12/2023 Administrative Priority   $168,397,757.26                        $163,424,411.61                        $4,973,345.65
  773    Robert Martin Maher                                                                                     5599 Bermuda Dune Circle                                                                           Lake Worth        FL    33463                     07/14/2023 Administrative Priority        $98,201.46                                                                  $98,201.46
  774    Robert Martin Maher                                                                                     5599 Bermuda Dune Circle                                                                           Lake Worth        FL    33463                     07/14/2023 Administrative Priority        $98,201.46                                                                  $98,201.46
  775    BitSight Technologies, Inc.                             Legal Department                                111 Huntington Avenue               4th Floor                                                      Boston            MA    01945                     07/14/2023 General Unsecured              $49,500.00         $49,500.00
                                                                                                                                                                                                                                                                                 General Unsecured
  776    PPF Lincoln Medley, LLC                                 c/o Morgan Stanley Real Estate Advisor, Inc     Attention: Nicholas J. Karali       1585 Broadway                   33rd Fl                        New York          NY    10036                     07/17/2023 Secured                       $404,645.74        $372,612.41         $32,033.33
  777    California Department of Tax And Fee Administration     Attn: Collections Support, MIC: 55              PO Box 942879                                                                                      Sacramento        CA    94279-0055                07/17/2023 Administrative Priority         $1,000.00                                                                  $1,000.00
         State of New Jersey Division of Taxation Bankruptcy
  778    Section                                                                                                 PO Box 245                                                                                         Trenton           NJ    08695-0245                07/20/2023 Priority                            $0.00                                                     $0.00
                                                                                                                                                                                                                                                                                 General Unsecured
  779    Ranger H-TX LP                                          c/o Winstead PC                                 Attn: Jason A. Enright              2728 N Harwood St                Suite 500                     Dallas            TX    75201                     07/24/2023 Secured                       $151,940.61        $142,607.95           $9,332.66
  780    Updike Distribution Logistics, LLC                      c/o Clark Hill PLC                              Attn: James L. Ugalde               3200 N. Central Ave., Suite 1600                               Phoenix           AZ    85012                     07/27/2023 General Unsecured             $765,702.60        $765,702.60
  781    Kearny Mesa West (San Diego), LLC                       Attn: Lisa M. Peters                            c/o Kutak Rock LLP                  1650 Farnam Street                                             Omaha             NE    68102                     07/28/2023 Priority                       $50,983.13                                              $50,983.13
  782    THOMAS L. ABRAMS                                                                                        1213 S.E. Third Avenue, 2nd Floor                                                                  Fort Lauderdale   FL    33316                     07/31/2023 General Unsecured             $227,704.60        $227,704.60
                                                                                                                                                                                                                                                                                 General Unsecured
  783    BRI N. US HWY 301, LLC                                  Hunton Andrews Kurth c/o Jason Harbour          Riverfront Plaza East Tower         951 East Byrd Street                                           Richmond          VA    23219                     08/04/2023 Secured                        $10,508.77        See Exhibit A       $10,508.77
                                                                                                                                                                                                                                                                                 General Unsecured
  784    CI Dal III-V, LLC                                       c/o Singer & Levick, P.C.                       Attn: Michelle E. Shriro            16200 Addison Rd                Suite 140                      Addison           TX    75001                     08/04/2023 Secured                       $107,925.53         $97,108.13         $10,817.40
  785    CI Dal III-V, LLC                                       c/o Singer & Levick, P.C.                       Attn: Michelle E. Shriro            16200 Addison Rd                Suite 140                      Addison           TX    75001                     08/04/2023 Administrative Priority         $2,140.23                                                                  $2,140.23
  786    DUKE SECURED FINANCING 2009-1PAC, LLC                   c/o Faegre Drinker Biddle & Reath LLP           Attn: Brian P. Morgan               1177 Avenue of the Americas     41st Floor                     New York          NY    10036                     08/04/2023 General Unsecured             $253,204.35        $253,204.35
                                                                                                                                                                                                                                                                                 General Unsecured
  787    Ohio Department of Taxation                             Attn: Bankruptcy Division                       PO Box 530                                                                                         Columbus          OH    43216                     08/08/2023 Priority                        $34,622.23         $14,865.07                          $19,757.16
  788    EVOX FL Pembroke 20351 LLC                              c/o Davis Graham & Stubbs                       Attn: Kyler K. Burgi                1550 17th Street                Suite 500                      Denver            CO    80202                     08/11/2023 General Unsecured            $1,047,167.90      $1,047,167.90
  789    VWR INTERNATIONAL LLC                                   Building One, Suite 200                         100 Matsonford Road                                                                                Radnor            PA    19087-8660                08/16/2023 General Unsecured               $28,052.90         $28,052.90
  790    Pure Beverage Company                                                                                   2301 Airwest Blvd                                                                                  Plainfield        IN    46168                     08/17/2023 General Unsecured            $2,335,856.50      $2,335,856.50
  791    Terborg Distributing, Inc                                                                               8946 N 700 W                        PO Box 307                                                     DeMotte           IN    46310                     08/17/2023 General Unsecured              $934,710.00        $934,710.00
         Gimmel Tammuz Realty (I-70 Industrial Center Denver)
         ADA Compliant Limited Partnership, a Delaware Limited
  792    Partnership                                             c/o Dalfen Industrial LLC                       1970 Broadway                       Ste 700                                                        Oakland           CA    94612                     08/18/2023 General Unsecured             $224,942.99        $224,942.99
  793    The Odom Corporation                                    David P. Papiez                                 Fox Rothschild LLP                  1001 4th Ave. Suite 4400                                       Seattle           WA    98154                     08/21/2023 General Unsecured            $2,913,868.00      $2,913,868.00
  794    Nevada Beverage Company                                 Nikki Wagner                                    3940 West Tropicana Avenue                                                                         Las Vegas         NV    89103                     08/24/2023 General Unsecured             $530,014.16        $530,014.16
         Rexford Industrial Realty. LP, a Maryland Limited
  795    Partnership                                             Michael Murav                                   11620 Wilshire Blvd Suite 100                                                                      Los Angeles       CA    90025                     08/25/2023 General Unsecured             $179,575.54        $179,575.54




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                      Page 8 of 8
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 Claim                                                                                                                                                                                                                                                                                                                                               General                                           Administrative
  No.                         Name                                                         Attention                                          Address 1                              Address 2                          Address 3                 City      State     Zip       Country    Date Filed   Amount Class(es)         Total Amount       Unsecured          Secured        Priority           Priority
  276 "Jake" John Fossey Morrow                                                                                               6141 Sherman Cir                                                                                             Minneapolis      MN    55436                     12/13/2022 General Unsecured               $48,960.05         $48,960.05
  288 12M Commercial Properties, LLC                               c/o Friday, Eldredge & Clark, LLP                          Attn: L. Raines                              3350 S Pinnacle Hills Parkway   Suite 301                       Rogers           AR    72758                     12/13/2022 General Unsecured              $136,725.53        $136,725.53
                                                                   Attn: Amanda B. Childs, Chief Litigation & Investigation
  538    7-Eleven, Inc.                                            Counsel                                                    3200 Hackberry Road                                                                                          Irving           TX    75063                     12/16/2022 General Unsecured            $2,244,199.58      $2,244,199.58
                                                                                                                                                                                                                                                                                                       General Unsecured
  299    84.51 LLC                                                 c/o Frost Brown Todd LLP                                   Attn: A.J. Webb                              3300 Great American Tower       301 E. 4th St.                  Cincinnati       OH    45202                     12/14/2022 Administrative Priority        $34,444.06          $32,788.89                                         $1,655.17
   42    A to Z Scales and Calibration LLC                         Attn: Tom Stelzer                                          3515 North 34th Place                                                                                        Phoenix          AZ    85018                     10/30/2022 Priority                        $6,206.49                                           $6,206.49
  678    Aaronda Edna Walton                                                                                                  5584 Plunkett St                                                                                             Hollywood        FL    33021                     01/03/2023 General Unsecured              $75,000.00          $75,000.00
                                                                                                                              Attn: Christopher R. Thompson, Esq. & Eric
  451    ACAR Leasing Ltd., Inc. d/b/a GM Financial Leasing        c/o Burr & Forman LLP                                      S. Golden, Esq.                              200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 General Unsecured              $62,214.88          $62,214.88
  301    Action Electric Co, Inc                                   Attn: Denyse Beery                                         2600 Collins Springs Drive SE                                                                                Atlanta          GA    30339                     12/14/2022 General Unsecured              $26,296.04          $26,296.04
  197    Advanced Laboratories Inc.                                Attn: Rich Chludzinski                                     8969 Cleveland Road                                                                                          Clayton          NC    27520                     12/06/2022 General Unsecured                $729.00             $729.00
   47    Aesus Packaging Systems Inc.                              Attn: Nicola Virgilio and Samantha Lewis                   188 Oneida                                                                                                   Pointe-Claire    QC    H9R 1A8      Canada       11/01/2022 General Unsecured              $31,514.75          $31,514.75
  327    AIG Property Casualty, Inc.                               Attn: Kevin J. Larner, Esq.                                28 Liberty Street, Floor 22                                                                                  New York         NY    10005                     12/15/2022 Administrative Priority             $0.00                                                           Unliquidated
  304    All Brands Distribution, LLC                              c/o LSS Law                                                Attn: Zach B. Shelomith, Esq.                2699 Stirling Rd                Suite C401                      Ft. Lauderdale   FL    33312                     12/14/2022 General Unsecured             $762,330.91         $762,330.91
  425    All Brands Distribution, LLC                              c/o LSS Law                                                Attn: Zach B. Shelomith, Esq.                2699 Stirling Rd                Suite C401                      Ft. Lauderdale   FL    33312                     12/15/2022 General Unsecured             $762,330.91         $762,330.91
  111    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                         $8,038.97                          $8,038.97
  112    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                         $8,657.05                          $8,657.05
  113    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                        $24,741.38                         $24,741.38
  114    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                        $24,785.27                         $24,785.27
  115    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                        $30,044.66                         $30,044.66
  116    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                        $30,044.06                         $30,044.06
  117    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                         $8,657.05                          $8,657.05
  118    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                         $8,638.19                          $8,638.19
  119    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/16/2022 Secured                         $8,015.24                          $8,015.24
  160    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     11/30/2022 Secured                        $39,427.01                         $39,427.01
  172    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $24,785.27                         $24,785.27
  173    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,044.66                         $30,044.66
  174    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,048.67                         $30,048.67
  175    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,044.66                         $30,044.66
  177    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,049.21                         $30,049.21
  178    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $24,741.38                         $24,741.38
  179    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $24,790.14                         $24,790.14
  180    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,049.21                         $30,049.21
  181    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,049.21                         $30,049.21
  182    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $30,049.21                         $30,049.21
  183    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/02/2022 Secured                        $24,785.27                         $24,785.27
  204    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  205    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,499.91                          $9,499.91
  207    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  208    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,786.73                         $24,786.73
  209    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,499.91                          $9,499.91
  211    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  212    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $8,643.83                          $8,643.83
  213    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  215    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $7,877.19                          $7,877.19
  216    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  217    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  218    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $56,370.79                         $56,370.79
  219    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,741.38                         $24,741.38
  220    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  221    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  222    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  223    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,741.38                         $24,741.38
  224    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,785.27                         $24,785.27
  225    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  226    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  227    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  228    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  229    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,193.81                          $9,193.81
  230    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,049.21                         $30,049.21
  231    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,515.79                          $9,515.79
  232    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,741.38                         $24,741.38
  233    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,741.38                         $24,741.38
  234    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  235    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,499.91                          $9,499.91
  236    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $8,783.35                          $8,783.35
  237    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,499.91                          $9,499.91
  238    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,497.12                          $9,497.12
  239    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $8,643.83                          $8,643.83
  240    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,566.40                          $9,566.40
  241    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,785.27                         $24,785.27
  242    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,049.21                         $30,049.21
  243    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  244    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                         $9,499.91                          $9,499.91
  245    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  246    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,342.59                         $30,342.59
  247    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $30,044.66                         $30,044.66
  248    Ally Bank                                                 c/o AIS Portfolio Services, LLC                            Attn: Dept APS                               4515 N Santa Fe Ave                                             Oklahoma City    OK    73118                     12/06/2022 Secured                        $24,743.73                         $24,743.73
         Alto Systems, Inc [Alto Xpress, Inc; Alto Freight
  267    Management, Inc]                                          Attn: David White                                          2867 Surveyor St.                                                                                            Pomona           CA    91768                     12/09/2022 General Unsecured             $218,526.75         $218,526.75
  713    Alvarez & Marsal Valuation Services LLC                   Attn: Drew Voth                                            1111 3rd Ave                                 Suite 2450                                                      Seattle          WA    98101                     03/07/2023 General Unsecured              $88,432.00          $88,432.00
  642    AMA Inc [Alabama Merchants Association]                                                                              3 Riverchase Office Plaza                    Ste 208                                                         Birmingham       AL    35244                     12/19/2022 General Unsecured               $7,268.25           $7,268.25
  676    AMA Inc [Alabama Merchants Association]                                                                              3 Riverchase Office Plaza                    Ste 208                                                         Birmingham       AL    35244                     12/19/2022 General Unsecured               $7,268.25           $7,268.25
  199    Amanda Morgan (DBA- A mom with a mop)                                                                                12531 Stonebriar Ridge Dr                                                                                    Davidson         NC    28036                     12/06/2022 Priority                        $2,625.00                                           $2,625.00
  604    Amazon Web Services, Inc.                                 c/o K&L Gates LLP                                          Attn: Brian Peterson                         925 4th Avenue, Suite 2900                                      Seattle          WA    98104                     12/19/2022 General Unsecured               $3,250.53           $3,250.53
  675    American Arbitration Association                                                                                     120 Broadway                                 21st Floor                                                      New York         NY    10271-2700                12/29/2022 Priority                      $100,649.28                                        $100,649.28
  762    American Arbitration Association                                                                                     120 Broadway                                 21st Floor                                                      New York         NY    10271-2700                06/20/2023 General Unsecured             $100,702.54         $100,702.54
   40    American Express National Bank                            c/o Becket and Lee LLP                                     PO Box 3001                                                                                                  Malvern          PA    19355-0701                10/28/2022 General Unsecured                  $84.99              $84.99
   64    American Express National Bank                            c/o Becket and Lee LLP                                     PO Box 3001                                                                                                  Malvern          PA    19355-0701                11/04/2022 General Unsecured              $68,387.80          $68,387.80
  100    American International Chemical, LLC                      Attn: Todd P Morris                                        2000 W Park Dr. Suite 300                                                                                    Westborough      MA    01581                     11/14/2022 General Unsecured              $19,887.50          $19,887.50
   26    American International Foods, Inc.                        Attn: Scott Goldberg                                       8066 Fulton St E                                                                                             Ada              MI    49301                     10/26/2022 General Unsecured             $134,989.69         $134,989.69
  362    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $10,454.04                         $10,454.04
  363    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $16,328.74                         $16,328.74
  364    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $16,328.74                         $16,328.74
  365    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                         $6,653.83                          $6,653.83
  368    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                         $6,683.81                          $6,683.81
  369    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $40,038.94                         $40,038.94
  370    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $39,704.35                         $39,704.35
  371    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                         $6,921.63                          $6,921.63
  372    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                         $7,052.56                          $7,052.56
  373    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                         $6,835.13                          $6,835.13
  374    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $40,057.85                         $40,057.85
  375    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                         $6,816.28                          $6,816.28
  376    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $39,922.36                         $39,922.36
  377    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $38,366.15                         $38,366.15
  378    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $39,724.78                         $39,724.78
  379    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $41,217.81                         $41,217.81
  380    AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                                      Attn: Christopher R Thompson                 200 S Orange Ave                Suite 800                       Orlando          FL    32801                     12/15/2022 Secured                        $41,237.28                         $41,237.28




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                      Page 1 of 8
                                                                                                    Case 22-17842-PDR                                    Doc 1859                       Filed 08/29/23                          Page 10 of 16
                                                                                                                                                           Claims Register as of 8/29/2023
                                                                                                                                                                       Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                    General                              Administrative
  No.                          Name                                                     Attention                     Address 1              Address 2                Address 3                    City    State     Zip   Country   Date Filed    Amount Class(es)   Total Amount       Unsecured   Secured        Priority     Priority
  381 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $40,057.85                 $40,057.85
  382 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $38,780.53                 $38,780.53
  383 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,146.42                 $11,146.42
  384 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $7,052.56                  $7,052.56
  385 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $40,089.92                 $40,089.92
  386 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $45,184.99                 $45,184.99
  387 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  388 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  389 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  390 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,139.39                 $11,139.39
  391 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,874.50                  $6,874.50
  392 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,874.50                  $6,874.50
  393 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  394 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $40,089.92                 $40,089.92
  395 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $39,974.31                 $39,974.31
  396 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  397 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,835.13                  $6,835.13
  398 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,835.60                  $6,835.60
  399 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  400 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  401 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  402 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  403 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  404 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  405 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  406 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  407 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  408 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,337.51                 $16,337.51
  409 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  410 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  411 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,376.15                 $11,376.15
  412 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,507.65                 $13,507.65
  413 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,502.54                 $13,502.54
  414 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,508.61                 $13,508.61
  415 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  416 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,507.65                 $13,507.65
  417 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $14,469.69                 $14,469.69
  418 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  419 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,520.50                 $11,520.50
  420 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,502.54                 $13,502.54
  421 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,385.08                 $34,385.08
  422 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  424 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,380.49                 $34,380.49
  426 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  428 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,389.88                 $34,389.88
  429 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  430 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $24,909.44                 $24,909.44
  431 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,712.89                 $10,712.89
  432 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  433 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  434 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,390.31                 $34,390.31
  435 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,684.19                 $10,684.19
  436 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,390.31                 $34,390.31
  437 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  438 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,392.89                 $34,392.89
  439 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  440 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  441 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  442 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  443 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,617.07                 $10,617.07
  444 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  445 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,517.86                 $10,517.86
  446 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,242.64                 $10,242.64
  447 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,615.21                 $10,615.21
  448 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $10,550.89                 $10,550.89
  449 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  450 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  452 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $9,436.48                  $9,436.48
  453 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $33,312.53                 $33,312.53
  454 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,328.74                 $16,328.74
  455 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $16,337.51                 $16,337.51
  456 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $15,108.18                 $15,108.18
  458 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  461 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  464 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $39,723.09                 $39,723.09
  466 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $39,724.78                 $39,724.78
  467 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,835.13                  $6,835.13
  468 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $41,217.81                 $41,217.81
  469 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,376.15                 $11,376.15
  470 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $40,059.55                 $40,059.55
  471 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,502.54                 $13,502.54
  472 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,391.50                 $34,391.50
  473 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,138.82                 $11,138.82
  474 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,683.81                  $6,683.81
  475 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $5,256.36                  $5,256.36
  476 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $7,441.68                  $7,441.68
  477 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,882.74                  $6,882.74
  480 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $13,507.65                 $13,507.65
  481 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                     $6,835.13                  $6,835.13
  482 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $51,413.09                 $51,413.09
  484 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $14,469.69                 $14,469.69
  485 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $43,739.61                 $43,739.61
  486 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $43,692.30                 $43,692.30
  487 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $41,940.29                 $41,940.29
  489 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  491 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $34,393.05                 $34,393.05
  492 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  493 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $17,715.67                 $17,715.67
  494 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,917.08                 $11,917.08
  495 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,917.08                 $11,917.08
  497 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,911.50                 $11,911.50
  498 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,917.08                 $11,917.08
  499 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $51,413.09                 $51,413.09
  507 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $51,413.09                 $51,413.09
  508 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $51,143.09                 $51,143.09
  509 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $11,376.15                 $11,376.15
  510 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $43,734.69                 $43,734.69
  511 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $43,734.71                 $43,734.71
  512 AmeriCredit Financial Services, Inc. d/b/a GM Financial   c/o Burr & Forman LLP                Attn: Christopher R Thompson   200 S Orange Ave      Suite 800                      Orlando          FL     32801                12/15/2022 Secured                    $43,726.35                 $43,726.35




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                              Page 2 of 8
                                                                                                                        Case 22-17842-PDR                                                          Doc 1859                            Filed 08/29/23                              Page 11 of 16
                                                                                                                                                                                                         Claims Register as of 8/29/2023
                                                                                                                                                                                                                      Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                            General                                                Administrative
  No.                           Name                                                      Attention                                        Address 1                               Address 2                         Address 3                  City       State     Zip      Country   Date Filed    Amount Class(es)        Total Amount       Unsecured               Secured        Priority           Priority
  513 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $43,729.39                             $43,729.39
  515 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $43,729.39                             $43,729.39
  516 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  518 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  520 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $43,734.54                             $43,734.54
  523 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  524 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $43,729.39                             $43,729.39
  526 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  528 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  531 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  533 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  537 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $51,413.09                             $51,413.09
  543 AmeriCredit Financial Services, Inc. d/b/a GM Financial      c/o Burr & Forman LLP                                 Attn: Christopher R Thompson                   200 S Orange Ave                Suite 800                       Orlando           FL     32801                   12/15/2022 Secured                         $17,715.67                             $17,715.67
  289 Ameris Bank d/b/a Balboa Capital                             c/o McGlinchey Stafford, PLLC                         Attn: Ralph Confreda, Jr.                      101 NE 3rd Ave                  Ste 1810                        Ft Lauderdale     FL     33301-1279              12/13/2022 General Unsecured              $443,949.40         $443,949.40
   68 AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                                PO Box 3001                                                                                                    Malvern           PA     19355-0701              11/08/2022 General Unsecured              $122,439.17         $122,439.17
   69 AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                                PO Box 3001                                                                                                    Malvern           PA     19355-0701              11/08/2022 General Unsecured               $17,246.14          $17,246.14
   81 AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                                PO Box 3001                                                                                                    Malvern           PA     19355-0701              11/09/2022 General Unsecured               $45,876.78          $45,876.78
  104 AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                                PO Box 3001                                                                                                    Malvern           PA     19355-0701              11/14/2022 General Unsecured               $92,831.74          $92,831.74
  107 AMEX TRS Co., Inc.                                           c/o Becket and Lee LLP                                PO Box 3001                                                                                                    Malvern           PA     19355-0701              11/15/2022 General Unsecured               $53,040.80          $53,040.80
   24 AMMS, Inc.                                                   Attn: Amy McLaughlin                                  16043 Agincourt Dr                                                                                             Huntersville      NC     28078                   10/26/2022 General Unsecured               $22,440.00          $22,440.00
  682 Amy McAllister                                                                                                     20570 Vine Dr                                                                                                  Macomb            MI     48044                   01/13/2023 Priority                        $27,000.00                                              $27,000.00
  149 Anayansi Ramirez                                                                                                   1421 W. Ocotillo Rd.                                                                                           Phoenix           AZ     85013                   11/28/2022 Priority                        $20,017.00                                              $20,017.00
  171 Andersen Material Handling                                   Attn: Kevin J. Godin                                  30575 Anderson Ct                                                                                              Wixom             MI     48393                   12/02/2022 General Unsecured               $60,156.00           $60,156.00
  703 Andersen Material Handling                                   Attn: Kevin J. Godin                                  30575 Anderson Ct                                                                                              Wixom             MI     48393                   02/14/2023 Administrative Priority         $32,325.60                                                                $32,325.60
  166 Ankus Consulting, Inc.                                       Attn: Joseph E. Ankus, Esq.                           12555 Orange Drive Suite 4207                                                                                  Davie             FL     33330                   12/02/2022 General Unsecured               $21,334.00          $21,334.00
  708 Anton Paar USA, Inc.                                                                                               10215 Timber Ridge Dr                                                                                          Ashland           VA     23005                   02/23/2023 General Unsecured                $1,116.65           $1,116.65
  214 Apex Refrigeration & Boiler Co.                              Attn: Erik Rasmussen                                  2801 W. Willetta St.                                                                                           Phoenix           AZ     85009                   12/07/2022 General Unsecured               $38,973.52          $38,973.52
  680 Aptus Court Reporting LLC                                    Attn: Jocelyn Bundang                                 401 West A St, Ste 1682                                                                                        San Diego         CA     92101                   01/05/2023 General Unsecured                $8,038.15           $8,038.15
  135 Aqua House Inc. [Aqua House Beverage]                                                                              4999 South Lulu Ave                                                                                            Wichita           KS     67216                   11/21/2022 General Unsecured               $19,874.14          $19,874.14
  423 Aquionics, Inc                                               c/o Bankruptcy Claims Administrative Services, LLC    84 Herbert Ave                                 Building B                      Suite 202                       Closter           NJ     07624                   12/15/2022 General Unsecured               $34,764.97          $34,764.97
  319 Archer Daniels Midland Company [Wild Flavors, Inc.]          Attn: Mark H Speiser                                  4666 Fairies Parkway                                                                                           Decatur           IL     62526                   12/14/2022 General Unsecured            $1,117,812.02       $1,117,812.02
  358 Ardagh Metal Packaging USA Corp.                             c/o Shumaker, Loop & Kendrick, LLP                    Attn: David Conaway                            101 S Tryon Street              Suite 2200                      Charlotte         NC     28280                   12/16/2022 General Unsecured          $11,394,078.77       $11,394,078.77
  555 Arista Music                                                 Attn: Wade Leak, Esq.                                 25 Madison Avenue                              22nd Floor                                                      New York          NY     10010                   12/18/2022 General Unsecured              $750,000.00        $750,000.00
  562 Arista Records LLC                                           Attn: Wade Leak                                       25 Madison Avenue                              22nd Floor                                                      New York          NY     10010                   12/18/2022 General Unsecured            $1,100,000.00       $1,100,000.00
                                                                                                                         Attn: Office of the Arizona Attorney General -                                                                                                                             General Unsecured
  279    ARIZONA DEPARTMENT OF REVENUE                             c/o Tax, Bankruptcy and Collection Sct                BCE                                            2005 N Central Ave              Ste 100                         Phoenix           AZ    85004                    12/13/2022 Priority                      $324,615.22             $7,600.53                       $317,014.69
                                                                                                                                                                                                                                                                                                    Priority
  745    ARIZONA DEPARTMENT OF REVENUE                             Office of the Arizona Attorney General - BCE          c/o Tax, Bankruptcy and Collection Sct         2005 N Central Ave              Suite 100                       Phoenix           AZ    85004                    04/06/2023 Administrative Priority         $1,270.87               $101.80                          $1,169.07
  753    ARIZONA DEPARTMENT OF REVENUE                             Office of the Arizona Attorney General - BCE          c/o Tax, Bankruptcy and Collection Sct         2005 N Central Ave              Suite 100                       Phoenix           AZ    85004                    05/12/2023 Priority                          $105.00                                                 $105.00
  758    ARIZONA DEPARTMENT OF REVENUE                             Office of the Arizona Attorney General - BCE          c/o Tax, Bankruptcy and Collection Sct         2005 N Central Ave, Suite 100                                   Phoenix           AZ    85004                    06/15/2023 Priority                          $119.05                                                 $119.05
   46    Assemblers Inc.                                           Attn: Scott Clary                                     2850 W. Columbus Ave                                                                                           Chiago            IL    60652                    11/01/2022 General Unsecured            $228,035.84          $228,035.84
  600    Atlanta Retailers Association, LLC                        c/o Jaffer Law, P.C.                                  Attn: Mary E. Meyer, Esq.                      3538 Habersham at Northlake     Building D                      Tucker            GA    30084                    12/19/2022 General Unsecured              $69,698.87           $69,698.87
   14    Atlas Copco Compressors LLC                                                                                     48430 Milmont Drive                                                                                            Fremont           CA    94538                    10/24/2022 General Unsecured               $7,081.53            $7,081.53
  140    Atlas Sales Inc.                                                                                                2955 Columbia Ave W                                                                                            Battle Creek      MI    49015-8640               11/22/2022 General Unsecured               $1,957.38            $1,957.38
  151    Atmos Energy Corporation                                  Attn: Bnkrpt Group                                    PO Box 650205                                                                                                  Dallas            TX    75265-0205               11/28/2022 General Unsecured                 $371.48             $371.48
   21    Averell Luedecker                                                                                               22 Allison Park                                                                                                Brewer            ME    04412                    10/25/2022 General Unsecured           $2,314,688.21        $2,314,688.21
  621    AXS Law Group, PLLC.                                      Attn: Courtney Caprio                                 2121 NW 2nd Avenue                             Suite 201                                                       Miami             FL    33127                    12/19/2022 General Unsecured              $17,880.00           $17,880.00
  651    Baker Tilly, US, LLP                                      Attn: Daniel Lee Powell, Jr.                          Box 78975                                                                                                      Milwakee          WI    53278-8975               12/19/2022 General Unsecured              $60,911.00           $60,911.00
  541    Ball Metal Beverage Container Corp.                       Attn: David Westmoreland, Esq.                        9200 W. 108th Circle                                                                                           Westminster       CO    80021                    12/18/2022 General Unsecured          $15,723,767.45       $15,723,767.45
  670    Ball Metal Beverage Container Corp.                       Attn: David Westmoreland, Esq.                        9200 W. 108th Circle                                                                                           Westminster       CO    80021                    12/28/2022 General Unsecured          $15,618,036.45       $15,618,036.45
  644    Barbara Ramirez Barbara Eddiesday Rodriguez                                                                     2303 SE 149th Ave                                                                                              Vancouver         WA    98683-8518               12/19/2022 Priority                        $3,500.00                                                $3,500.00
   27    Barrington Nutritionals                                   Attn: Cathy Annattone                                 500 Mamaroneck Ave                                                                                             Harrison          NY    10528                    10/26/2022 General Unsecured                 $974.55              $974.55
  282    Berkeley Research Group LLC [BRG]                         c/o Accounts Receivable                               2200 Powell Street                             Suite 1200                                                      Emeryville        CA    94608                    12/13/2022 General Unsecured               $7,562.98            $7,562.98
  625    Berlin Packaging L.L.C.                                   c/o Winston & Strawn LLP                              Attn: Carrie V Hardman                         200 Park Avenue                                                 New York          NY    10166                    12/19/2022 General Unsecured             $218,689.15           unliquidated
  775    BitSight Technologies, Inc.                               Legal Department                                      111 Huntington Avenue                          4th Floor                                                       Boston            MA    01945                    07/14/2023 General Unsecured              $49,500.00           $49,500.00
  597    Bottling Group, LLC                                       c/o FrankGecker LLP                                   Attn: Joseph D Frank                           1327 West Washington Blvd       Ste 5 G-H                       Chicago           IL    60607                    12/19/2022 General Unsecured            $159,686.32           $159,686.32
         Brendan Abbott, individually and on behalf of a
   87    nationwide class of similarly-situated consumers          c/o Harvath Law Group, LLC                            Attn: Daniel Harvath                           75 W. Lockwood                  Suite #1                        Webster Groves    MO    63119                    11/09/2022 General Unsecured         $173,000,000.00      $173,000,000.00
         Brendan Abbott, Peter Fischer, and Carlton Harris, Each
         Individually and on Behalf of a Nationwide Class of
  617    Similarly-Situated Consumers                              c/o Pack Law, P.A.                                    Attn: Jessey James Krehl                       51 NE 24th St                   #108                            Miami             FL    33137                    12/19/2022 General Unsecured                   $0.00    500 million; unliquid
                                                                                                                                                                                                                                                                                                    General Unsecured
  783    BRI N. US HWY 301, LLC                                    Hunton Andrews Kurth c/o Jason Harbour                Riverfront Plaza East Tower                    951 East Byrd Street                                            Richmond          VA    23219                    08/04/2023 Secured                        $10,508.77          See Exhibit A       $10,508.77
  710    Brian Michael Trevino                                                                                                                                                                                                                                                           03/01/2023 General Unsecured              $15,000.00           $15,000.00
  525    Briggs Equipment Inc                                      c/o Hicks Law Group PLLC                              Attn: Kevin S. Wiley Jr                        325 N St Paul Street            Suite 4400                      Dallas            TX    75201                    12/16/2022 General Unsecured             $679,072.01          $679,072.01
  529    Brookshire Brothers, Inc.                                                                                       1201 Ellen Trout Dr                                                                                            Lufkin            TX    75904                    12/16/2022 General Unsecured              $66,720.00           $66,720.00
   88    Broward County [Broward County Tax Collector]             c/o Records, Taxes & Treasury                         Attn: Bankruptcy Section                       115 S. Andrews Ave. A-100                                       Ft. Lauderdale    FL    33301                    11/10/2022 Secured                             $0.00                               Withdrawn
   89    Broward County [Broward County Tax Collector]             c/o Records, Taxes & Treasury                         Attn: Bankruptcy Section                       115 S. Andrews Ave. A-100                                       Ft. Lauderdale    FL    33301                    11/10/2022 Secured                             $0.00                               Withdrawn
   90    Broward County [Broward County Tax Collector]             c/o Records, Taxes & Treasury                         Attn: Bankruptcy Section                       115 S. Andrews Ave. A-100                                       Ft. Lauderdale    FL    33301                    11/10/2022 Secured                             $0.00                               Withdrawn
  718    Bryan Shane Dees                                          Attn: Shane Dees                                      12148 Bella Palazzo Dr                                                                                         Fort Worth        TX    76126                    03/09/2023 General Unsecured              $41,200.00            $41,200.00
  105    BW Flexible Systems, LLC                                                                                        225 Spartangreen Blvd.                                                                                         Duncan            SC    29334                    11/11/2022 General Unsecured               $6,308.54             $6,308.54
                                                                                                                                                                                                                                                                                                    General Unsecured
  192    Byline Financial Group [BFG Corporation]                  Attn: Robert Condon                                   2801 Lakeside Drive                            Suite 212                                                       Bannockburn       IL    60015                    12/06/2022 Secured                        $77,462.25            $7,462.25         $70,000.00
  643    C.H. Robinson Worldwide, Inc.                                                                                   14701 Charlson Rd                                                                                              Eden Prairie      MN    55347                    12/19/2022 General Unsecured             $723,375.81          $723,375.81
  150    C.K.S. Packaging, Inc.                                    c/o Jackson Walker LLP                                Attn: Bruce J. Ruzinsky                        1401 McKinney St                Suite 1900                      Houston           TX    77010                    11/28/2022 Secured                        $27,533.78                              $27,533.78
  702    California Department of Tax And Fee Administration       Attn: Collections Support, MIC: 55                    PO Box 942879                                                                                                  Sacramento        CA    94279-0055               02/13/2023 Priority                       $52,363.35                                               $52,363.35
  777    California Department of Tax And Fee Administration       Attn: Collections Support, MIC: 55                    PO Box 942879                                                                                                  Sacramento        CA    94279-0055               07/17/2023 Administrative Priority         $1,000.00                                                                  $1,000.00
   3     Canon Financial Services, Inc.                                                                                  158 Gaither Dr                                                                                                 Mount Laurel      NJ    08054                    10/18/2022 General Unsecured             $177,737.75          $177,737.75
  720    Canon Solutions America Inc                                                                                     300 Commerce Sq Blvd                                                                                           Burlington        NJ    08016                    03/13/2023 General Unsecured                $389.57              $389.57
  360    Capitol Records, LLC                                      Attn: JoAn Cho                                        222 Colorado Avenue                                                                                            Santa Monica      CA    90404                    12/16/2022 General Unsecured             $300,000.00          $300,000.00
         Carolina Canners, Inc. [Southeast Cold Fill, LLC, NoSo                                                          Attn: Craig I. Kelley, Esq., C. Craig Eller,
  176    Holdings, LLC]                                            c/o Kelley Fulton Kaplan & Eller PL                   Esq.                                           1665 Palm Beach Lakes Blvd      The Forum, Suite 1000           West Palm Beach   FL    33401                    12/02/2022 General Unsecured         $309,652,418.47      $309,652,418.47
         CARROLLTON-FARMERS BRANCH INDEPENDENT
   97    SCHOOL DISTRICT                                           C/O PERDUE BRANDON FIELDER ET AL                      ATTN: LINDA D REECE                            1919 S. SHILOH ROAD             SUITE 640, LB 40                GARLAND           TX    75042                    11/11/2022 Secured                         $14,507.60                             $14,507.60
   48    Cascade Columbia Distribution Company                     Attn: Kyle Code                                       6900 Fox Ave South                                                                                             Seattle           WA    98108                    11/01/2022 General Unsecured               $14,394.19           $14,394.19
   53    Casey's General Stores                                    Attn: Legal Department                                1 SE Convenience Blvd.                                                                                         Ankeny            IA    50021                    11/02/2022 General Unsecured               $77,107.46           $77,107.46
  293    Centimark Corporation [Questmark]                                                                               12 Grandview Circle                                                                                            Canonsburg        PA    15317                    12/14/2022 General Unsecured                $4,000.00            $4,000.00
  349    Centimark Corporation [Questmark]                                                                               12 Grandview Circle                                                                                            Canonsburg        PA    15317                    12/15/2022 General Unsecured               $35,923.30           $35,923.30
  709    Chad Anderson                                                                                                   15 Consella Way                                                                                                Franklinton       NC    27525                    02/23/2023 General Unsecured               $36,660.00           $36,660.00
  527    Cherokee Chemical Co, Inc [CCI Chemical]                  Schell Nuelle LLP                                     269 West Bonita                                                                                                Claremont         CA    91711                    12/19/2022 General Unsecured             $147,936.80          $147,936.80
  361    Cheryl Ohel                                               c/o Kleppin Law Firm                                  Attn: Chris Kleppin, Allyson Kisiel            8751 W Broward Blvd             Suite 105                       Plantation        FL    33324                    12/16/2022 General Unsecured            $5,000,000.00        $5,000,000.00
  624    Chestnut Hill Technologies, Inc.                          Attn: Megan W. Murray                                 100 N Tampa St                                 Suite 2325                                                      Tampa             FL    33602                    12/19/2022 General Unsecured              $195,770.00         $195,770.00
  722    Christian Soza                                                                                                  1690 Hilton Head Ct.                           #2320                                                           El Cajon          CA    92019                    03/16/2023 Priority                        $30,000.00                                              $30,000.00              Blank
  270    Christopher Lee Weatherford                               Attn: Chris Weatherford                               1213 Warbler Dr                                                                                                Forney            TX    75126-7755               12/12/2022 Priority                        $55,200.00                                              $55,200.00
         Chrysler Capital [Santander Consumer USA Inc., an
  253    Illinois corporation d/b/a Chrysler Capital]              Attn: Abel Marin                                      PO Box 961275                                                                                                  Fort Worth        TX    76161                    12/08/2022 Secured                        $12,158.95                              $12,158.95
  331    Chubb Custom Insurance Company                            c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak                        30 S. 17th Street                                               Philadelphia      PA    19103-4196               12/15/2022 Administrative Priority       $565,300.00                                                                $565,300.00
                                                                                                                                                                                                                                                                                                    General Unsecured
  633    CI Dal III-V, LLC                                         c/o Singer & Levick, P.C.                             Attn: Michelle E. Shriro                       16200 Addison Road              Suite 140                       Addison           TX    75001                    12/19/2022 Secured                        $16,321.65             $5,504.25        $10,817.40
                                                                                                                                                                                                                                                                                                    General Unsecured
  784    CI Dal III-V, LLC                                         c/o Singer & Levick, P.C.                             Attn: Michelle E. Shriro                       16200 Addison Rd                Suite 140                       Addison           TX    75001                    08/04/2023 Secured                       $107,925.53            $97,108.13        $10,817.40
  785    CI Dal III-V, LLC                                         c/o Singer & Levick, P.C.                             Attn: Michelle E. Shriro                       16200 Addison Rd                Suite 140                       Addison           TX    75001                    08/04/2023 Administrative Priority         $2,140.23                                                                  $2,140.23
         CI421 4747 W. Buckeye LLC, ALDA 4747 W. Buckeye
  311    LLC and MFP 4747 W. Buckeye LLC                           c/o Raines Feldman LLP                                Attn: Hamid R. Rafatjoo                        1800 Avenue of the Stars        12th Floor                      Los Angeles       CA    90067                    12/14/2022 General Unsecured          $23,455,389.00       $23,455,389.00
                                                                                                                                                                                                                                                                                                    General Unsecured
  195    Cintas Corporation [VPX/Redline]                         Attn: Ann Dean, Litigation Paralegal                   6800 Cintas Boulevard                                                                                          Mason             OH    45040                    12/06/2022 Administrative Priority         $6,847.98             $2,575.22                                            $4,272.76
         Circle K Procurement and Brands, Ltd. & Circle K Stores,
  742    Inc.                                                     c/o Chipman Brown Cicero & Cole, LLP                   Attn: Robert A. Weber, Esq.                    1313 N. Market St               Suite 5400                      Wilmington        DE    19801                    03/31/2023 Administrative Priority      $1,395,264.00        $1,395,264.00
  741    Circle K Stores Inc.                                     c/o Chipman Brown Cicero & Cole, LLP                   Attn: Robert Weber                             1313 N. Market St               Suite 5400                      Wilmington        DE    19801                    03/31/2023 Administrative Priority        $769,060.74         $769,060.74




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                        Page 3 of 8
                                                                                                                   Case 22-17842-PDR                                                     Doc 1859                         Filed 08/29/23                                 Page 12 of 16
                                                                                                                                                                                            Claims Register as of 8/29/2023
                                                                                                                                                                                                         Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                  General                                               Administrative
  No.                           Name                                                  Attention                                         Address 1                      Address 2                        Address 3                  City          State     Zip      Country   Date Filed    Amount Class(es)        Total Amount       Unsecured            Secured         Priority            Priority
  302 CK Waitt Industrial, LLC                                  c/o Parker, Poe, Adams & Bernstein LLP                Attn: Chip Ford                        620 S. Tryon Street           Suite 800                       Charlotte            NC     28202                   12/15/2022 General Unsecured               $38,901.05        $38,901.05
  727 Clinton Harshman                                                                                                1223 Dodgeton Drive                                                                                  Frisco               TX     75033                   03/16/2023 Priority                        $10,238.87                                            $10,238.87
  196 Closure Systems International [CSI, CSI Closures]         c/o Ice Miller LLP                                    Attn: Jeffrey A. Hokanson              One American Square           Suite 2900                      Indianapolis         IN     46282-0200              12/06/2022 General Unsecured               $53,602.40         $53,602.40
  674 CM Builders, Inc. dba Integrated Masonry                  c/o Radix Law                                         Attn: Carolyn R. Tatkin                15205 N. Kierland Blvd        Suite 200                       Scottsdale           AZ     85254                   12/28/2022 Secured                        $145,637.00                         $145,637.00
  725 Cody Cullen                                                                                                     146 Pearl St                                                                                         Clinton              MA     01510                   03/16/2023 General Unsecured               $40,000.00        $40,000.00
  606 Colgems-EMI Music Inc.                                    Attn: David Przygoda                                  25 Madison Avenue                      26th Floor                                                    New York             NY     10010                   12/19/2022 General Unsecured              $150,000.00       $150,000.00
  705 Combi Packaging Systems LLC.                                                                                    PO Box 35878                                                                                         Canton               OH     44735-5878              02/16/2023 Administrative Priority         $28,242.61                                                               $28,242.61
  688 Communikay Graphics                                       Accounting                                            PO Box 2347                                                                                          Alvin                TX     77512                   01/19/2023 General Unsecured                $2,970.12          $2,970.12
                                                                                                                                                                                                                                                                                          Priority
  737    Comptroller of the Treasury                                                                                  301 W Preston Street Room #409                                                                       Baltimore            MD                             03/23/2023 Administrative Priority         $5,916.00             $440.00                          $5,476.00
         Corporate Financial Group Ltd. dba Smith Economics
  628    Group Ltd.                                             Attn: Kay Herr                                        1165 N Clark Street                    Ste 600                                                       Chicago              IL    60610                    12/19/2022 General Unsecured               $7,053.75           $7,053.75
         CRG Financial LLC [as Assignee of 365 Mechanical,
   62    LLC]                                                                                                         84 Herbert Ave. Building B             Suite 202                                                     Closter              NJ    07624                    11/03/2022 General Unsecured              $17,471.72          $17,471.72
                                                                                                                                                                                                                                                                                          General Unsecured
  271    Crown Cork & Seal USA, Inc.                            c/o Dilworth Paxson LLP                               Attn: Anne Aaronson, Esq.              1500 Market St                Suite 3500E                     Philadelphia         PA    19102                    12/12/2022 Secured                    $13,762,585.26      $12,903,596.00      $858,989.26
  162    Crown Equipment Corporation [Crown Lift Trucks]        c/o Sebaly Shillito + Dyer                            Attn: James A. Dyer                    40 N. Main St., Ste. 1900                                     Dayton               OH    45423                    12/01/2022 General Unsecured               $1,249.32           $1,249.32
         Crown Equipment Corporation dba Crown Credit                                                                                                                                                                                                                                     General Unsecured
  163    Company                                                c/o Sebaly Shillito + Dyer                            Attn: James A. Dyer                    40 N. Main St., Ste. 1900                                     Dayton               OH    45423                    12/01/2022 Secured                      $130,150.65            $3,005.65      $127,145.00
  646    CSK Cole, Scott & Kissane, PA                                                                                9150 S Dadeland Blvd                   Suite 1400                                                    Miami                FL    33156-7855               12/19/2022 General Unsecured              $51,422.13          $51,422.13
  671    CSPC Innovation Pharmaceutical Co., Ltd.                                                                                                                                                                                                                              12/28/2022 General Unsecured            $281,600.00         $281,600.00
   91    CSPC Innovation USA Inc                                Attn: Vicki Chen                                      1500 S Archibald Ave                                                                                 Ontario              CA    91761                    11/10/2022 General Unsecured            $281,600.00         $281,600.00
  190    Cumberland Farms, Inc. [EG Retail America LLC]         Pamela Sinnett, Paralegal                             165 Flanders Road                                                                                    Westborough          MA    01581                    12/06/2022 General Unsecured            $212,627.15         $212,627.15
  102    CW Carriers Dedicated Inc.                                                                                   3632 Queen Palm Dr                     Suite 175                                                     Tampa                FL    33619                    11/14/2022 General Unsecured            $552,388.01         $552,388.01
  130    Cyber Marketing Network, Inc [Steel-Toe-Shoes.com]                                                           800 Wisconsin St                       Unit 15                                                       Eau Claire           WI    54703-3560               11/21/2022 General Unsecured               $2,625.48           $2,625.48
  357    Dairy Farmers of America, Inc.                         Attn: William J. Easley                               1200 Main Street                       Suite 3800                                                    Kansas City          MO    64105                    12/16/2022 General Unsecured          $20,683,801.49      $20,683,801.49
  598    Daisy Duke Promotions LLC                              Roger Heinrich                                        7132 Washington St                                                                                   Kansas City          MO    64114-1343               12/19/2022 General Unsecured            $318,663.00         $318,663.00
  679    Dallas County                                          c/o Linebarger Goggan Blair & Sampson, LLP            Attn: John K. Turner                   2777 N Stemmons Frwy          Ste 1000                        Dallas               TX    75207                    01/04/2023 Secured                             $0.00                            Withdrawn
  756    Dallas County                                          Linebarger Goggan Blair & Sampson, LLP                c/o John K. Turner                     2777 N. Stemmons Frwy         Ste 1000                        Dallas               TX    75207                    06/06/2023 Priority                       $12,705.67                                             $12,705.67
  760    Dallas County                                          c/o Linebarger Goggan Blair & Sampson, LLP            Attn: John K. Turner                   2777 N Stemmons Frwy          Ste 1000                        Dallas               TX    75207                    06/16/2023 Administrative Priority        $12,705.67                                                                $12,705.67
  355    Daniel Yepes                                           c/o The Frazer Firm, PA                               Attn: Kent Frazer                      601 Heritage Drive            Suite 220                       Jupiter              FL    33458                    12/16/2022 General Unsecured                   $0.00            unknown
   60    Datasite LLC [Merrill Communications LLC]              Attn: Leif Simpson                                    The Baker Center                       733 Marquette Ave             Suite 600                       Minneapolis          MN    55402                    11/03/2022 General Unsecured                $686.87             $686.87
  354    Dennemeyer & Associates LLC                                                                                  2 North Riverside Plaza                Suite 1500                                                    Chicago              IL    60606                    12/16/2022 General Unsecured               $6,437.60           $6,437.60
                                                                                                                                                                                                                                                                                          General Unsecured
  717    Department of Taxation                                 Attn: Bankruptcy Unit                                 PO Box 259                                                                                           Honolulu             HI    96809-0259               03/08/2023 Priority                            $0.00            Unknown                            Unknown
  556    Direct Connect Logistix, Inc                           Attn: Marc Vreeland                                   130 S Meridian St                                                                                    Indianapolis         IN    46225-1046               12/19/2022 General Unsecured            $722,497.36         $722,497.36
   61    Diversified Label Images, Inc. [DLI]                   Attn: Gregory Boggis                                  PO Box 101269                                                                                        Irondale             AL    35210                    11/03/2022 General Unsecured              $14,491.93          $14,491.93
  82     Doehler USA Inc.                                       c/o Coface North America Insurance Company            Attn: Amy Schmidt                      650 College Road E            Suite 2005                      Princeton            NJ    08540                    11/09/2022 General Unsecured          $13,357,532.27      $13,357,532.27
  547    Doehler USA Inc.                                       c/o Bryan Cave Leighton Paisner LLP                   Attn: Jarret P. Hitchings, Esq.)       One Wells Fargo Center        301 S College St, Suite 2150    Charlotte            NC    28202                    12/16/2022 General Unsecured          $26,895,664.85      $26,895,664.85
                                                                                                                                                                                                                                                                                          General Unsecured
  540    Dogwood Propco FL, L.P.                                Attn: Felton Parrish                                  1420 E 7th St                                                                                        Charlotte            NC    28207                    12/16/2022 Secured                         $44,504.90         $33,996.13       $10,508.77
  693    Donald A. McClain                                                                                            810 W End Blvd                                                                                       Winston Salem        NC    27101                    01/30/2023 General Unsecured               $11,600.00         $11,600.00
  284    Donald Conte                                                                                                 39915 E River Ct                                                                                     Clinton Township     MI    48038                    12/14/2022 General Unsecured               $22,400.00         $22,400.00
  353    Donna Williams [The Kleppin Law Firm]                                                                        4846 NW 95th Avenue                                                                                  Sunrise              FL    33351                    12/15/2022 General Unsecured            $3,000,000.00      $3,000,000.00
  545    Donna Williams vs. VPX & Owoc (2020)                   Attn: Donna Lorie Williams                            4846 NW 95th Ave                                                                                     Sunrise              FL    33351                    12/17/2022 General Unsecured            $3,000,000.00      $3,000,000.00
  155    Driscoll, LLLP                                         c/o Seese, P.A.                                       Attn: Michael D. Seese, Esq.           101 N.E. 3rd Avenue           Suite 1270                      Fort Lauderdale      FL    33301                    11/29/2022 General Unsecured             $249,313.24        $249,313.24
  106    DSD Partners, LLC                                      Attn: Brigid Prescott-Frank                           10800 Midlothian Tnpk                  Suite 300                                                     North Chesterfield   VA    23235                    11/15/2022 General Unsecured                 $721.87            $721.87
  786    DUKE SECURED FINANCING 2009-1PAC, LLC                  c/o Faegre Drinker Biddle & Reath LLP                 Attn: Brian P. Morgan                  1177 Avenue of the Americas   41st Floor                      New York             NY    10036                    08/04/2023 General Unsecured             $253,204.35        $253,204.35
  542    Eagle Distributing Co Inc                              Attn: Michael Craig                                   310 Radford Place                                                                                    Knoxville            TN    37917                    12/16/2022 General Unsecured               $64,000.00         $64,000.00
  649    Eagle Distributing Co Inc                              Attn: Michael Craig                                   310 Radford Place                                                                                    Knoxville            TN    37917                    12/19/2022 General Unsecured               $28,717.47         $28,717.47
  648    Eagle Distributing of Memphis, LLC                     Attn: Michael Craig                                   310 Radford Place                                                                                    Knoxville            TN    37917                    12/19/2022 General Unsecured                $4,648.67          $4,648.67
  108    EastGroup Properties, L.P.                             c/o Thomas L. Abrams, Esq.                            633 S Andrews Ave                      Suite 500                                                     Fort Lauderdale      FL    33301                    11/15/2022 General Unsecured            $1,982,451.70      $1,982,451.70
  715    EastGroup Properties, L.P.                             c/o Thomas L. Abrams, Esq.                            633 S Andrews Ave                      Suite 500                                                     Fort Lauderdale      FL    33301                    03/08/2023 General Unsecured            $2,200,494.70      $2,200,494.70
  716    EastGroup Properties, L.P.                             c/o Gamberg & Abrams                                  Attn: Thomas L. Abrams, Esq.           633 S. Andrews Ave #500                                       Fort Lauderdale      FL    33301                    03/08/2023 General Unsecured             $209,233.60        $209,233.60
  699    Ecolab Inc                                             Attn: John McDonald                                   655 Lone Oak Dr                                                                                      Eagan                MN    55121                    02/07/2023 General Unsecured               $28,857.28         $28,857.28
  142    Econ One Research                                      Attn: Trent Revic                                     550 South Hope St                      Suite 800                                                     Los Angeles          CA    90017                    11/22/2022 General Unsecured             $192,939.37        $192,939.37
  321    EFL Container Lines LLC                                c/o Gibbons P.C.                                      Attn: Brett S. Theisen                 One Penn Plaza                37th Fl                         New York             NY    10119-3701               12/15/2022 General Unsecured             $372,677.15        $372,677.15
  530    EFL Container Lines LLC                                c/o Gibbons P.C.                                      Attn: Brett S. Theisen                 One Penn Plaza                37th Fl                         New York             NY    10119-3701               12/16/2022 General Unsecured             $392,598.15        $392,598.15
  320    EFL Global LLC                                         c/o Gibbons PC                                        Attn: Brett S. Theisen                 One Penn Plaza                37th Fl                         New York             NY    10119-3701               12/15/2022 General Unsecured            $2,164,149.33      $2,164,149.33
  532    EFL Global LLC                                         c/o Gibbons PC                                        Attn: Brett S. Theisen                 One Penn Plaza                37th Fl                         New York             NY    10119-3701               12/16/2022 General Unsecured            $2,181,995.15      $2,181,995.15
  347    EFL Global Logistics Canada Ltd                        c/o Gibbons PC                                        Attn: Brett S. Theisen, Esq            One Gateway Ctr                                               Newark               NJ    07102-5310               12/15/2022 General Unsecured                 $328.83            $328.83
  615    EMI April Music Inc.                                   Attn: David Przygoda                                  25 Madison Avenue                      26th Floor                                                    New York             NY    10010                    12/19/2022 General Unsecured            $2,225,000.00      $2,225,000.00
  616    EMI Blackwood Music Inc.                               Attn: David Przygoda                                  25 Madison Avenue                      26th Floor                                                    New York             NY    10010-8601               12/19/2022 General Unsecured             $875,000.00        $875,000.00
  310    Emory & Co., LLC                                       John Emory Jr                                         250 E Wisconsin Ave                    Ste 910                                                       Milwaukee            WI    53202                    12/14/2022 General Unsecured               $29,360.00         $29,360.00
  258    EmpHire Staffing, Inc.                                 c/o Fox Rothschild LLP                                Attn: Heather L. Ries                  777 South Flagler Drive       Suite 1700 West Tower           West Palm Beach      FL    33401                    12/09/2022 General Unsecured               $23,169.18         $23,169.18
  548    England Logistics, Inc.                                Attn: Justin Olsen                                    1325 S 4700 W                                                                                        Salt Lake City       UT    84104                    12/17/2022 General Unsecured            $1,518,736.63      $1,518,736.63
   44    Environmental Marketing Services                       Attn: Coral Shively                                   107 Wall Street, Suite 1                                                                             Clemson              SC    29631                    11/01/2022 General Unsecured                 $414.00            $414.00
  685    Envirosure Solutions, LLC                                                                                    1018 E Guadalupe Rd                                                                                  Tempe                AZ    85283                    01/17/2023 General Unsecured                $1,760.00          $1,760.00
  681    Erica Hayes                                            c/o JB Hunt Transport, Inc                            306 JB Hunt Corporate Drive            Commerce Center II                                            Lowell               AR    72745                    01/11/2023 General Unsecured             $498,200.90        $498,200.90
  296    Erik McKee                                                                                                   2824 E Fox Chase Circle                                                                              Doylestown           PA    18902                    12/14/2022 Priority                        $36,000.00                                            $36,000.00
         Euler Hermes agent for TRINITY LOGISTICS, INC.
  128    (CLUS006128)                                           Attn: Halima Qayoom                                   800 Red Brook Blvd.                    400 C                                                         Owings Mills         MD    21117                    11/21/2022 General Unsecured            $5,744,571.33      $5,744,571.33
         Euler Hermes N. A. Insurance Co. as Agent for THE
         HAMILTON GROUP DELAWARE INC Factor for Virun
  122    Inc.                                                                                                         800 Red Brook Blvd, #400C                                                                            Owings Mills         MD    21117                    11/17/2022 General Unsecured             $189,784.35        $189,784.35
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                  General Unsecured
  264    Connect Logistix Inc. (clus006214)                     c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd.                                                                                  Owings Mills         MD    21117                    12/09/2022 Administrative Priority       $724,497.00        $590,470.36                                            $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Direct                                                                                                                                                                                                                                  General Unsecured
  637    Connect Logistix Inc. (clus006214)                     c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd.                                                                                  Owings Mills         MD    21117                    12/07/2022 Administrative Priority       $724,497.00        $590,470.36                                            $134,026.64
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                             General Unsecured
  265    Logistics, Inc (clus006447)                            c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd                                                                                   Owing Mills          MD    21117                    12/09/2022 Administrative Priority       $195,828.41          $28,914.02                                           $166,914.39
         Euler Hermes N.A. Insurance Co. Agent of Echo Global                                                                                                                                                                                                                             General Unsecured
  638    Logistics, Inc (clus006447)                            c/o Euler Hermes North America Insurance Company      800 Red Brook Blvd                                                                                   Owing Mills          MD    21117                    12/07/2022 Administrative Priority       $195,828.41          $28,914.02                                           $166,914.39
  698    Evan Thomas Popham                                     Regional Account Executive                            68 Orchard St                                                                                        Thornwood            NY    10594                    02/07/2023 General Unsecured               $22,000.00         $22,000.00
  766    Evan Thomas Popham                                     Attn: Evan Popham                                     68 Orchard Street                                                                                    Thornwood            New Yo10594                    06/29/2023 General Unsecured               $22,000.00         $22,000.00
  202    Evoqua Water Technologies LLC                          Attn: Matthew Morin                                   558 Clark Rd                                                                                         Tewksbury            MA    01876                    12/07/2022 General Unsecured               $13,536.35         $13,536.35
  788    EVOX FL Pembroke 20351 LLC                             c/o Davis Graham & Stubbs                             Attn: Kyler K. Burgi                   1550 17th Street              Suite 500                       Denver               CO    80202                    08/11/2023 General Unsecured            $1,047,167.90      $1,047,167.90
   85    Extreme Process Solutions, LLC                         Attn: Chris Mills                                     5030 SW 29th Ave                                                                                     Fort Lauderdale      FL    33312                    11/09/2022 General Unsecured                $2,278.00          $2,278.00
  273    Fabco Metal Products, LLC                              Attn: Shane King                                      1490 Frances Drive                                                                                   Daytona Beach        FL    32124                    12/12/2022 Secured                      $2,160,783.76                        $2,160,783.76
  286    Fabco Metal Products, LLC                              Attn: Shane King                                      1490 Frances Drive                                                                                   Daytona Beach        FL    32124                    12/14/2022 Secured                      $2,160,783.76                        $2,160,783.76
  620    Faith Technologies Incorporated                        Attn: Ken Baumgart                                    201 Main Street                        PO Box 260                                                    Menasha              WI    54952                    12/19/2022 Secured                      $3,584,788.15                        $3,584,788.15
  322    Federal Insurance Company                              c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak                30 S. 17th St                                                 Philadelphia         PA    19103-4196               12/14/2022 Administrative Priority       $565,300.00                                              565300 plus additional amounts
  534    FedEx                                                  c/o Bankruptcy Department                             3965 Airways Blvd                      Module G 3rd Floor                                            Memphis              TN    38116-5017               12/16/2022 General Unsecured             $633,873.21        $633,873.21
                                                                                                                                                                                                                                                                                          General Unsecured
  514    Fiesta Warehousing & Distribution Co.                  Attn: Steven J. Solomon                               333 SE 2nd Avenue                      Suite 3200                                                    Miami                FL    33131                    12/16/2022 Secured                       $390,773.07             Unknown      $390,773.07
  517    Fiesta Warehousing & Distribution Co.                  Attn: Steven J. Solomon                               333 SE 2nd Avenue                      Suite 3200                                                    Miami                FL    33131                    12/16/2022 General Unsecured                   $0.00        Unliquidated *
  749    Fiesta Warehousing & Distribution Co.                  Attn: Steven J. Solomon                               333 SE 2nd Avenue                      Suite 3200                                                    Miami                FL    33131                    04/14/2023 Administrative Priority       $266,586.75        $266,586.75
  754    Fiesta Warehousing & Distribution Co.                  Attn: Steven J. Solomon                               333 SE 2nd Avenue                      Suite 3200                                                    Miami                FL    33131                    05/17/2023 General Unsecured              $74,967.59         $74,967.59
   45    Fintech [STX Business Solutions]                       Attn: David Sewell                                    3109 W Dr Martin Luther King Jr Blvd   Suite 200                                                     Tampa                FL    33607-6260               11/01/2022 General Unsecured             $114,000.00        $114,000.00
         FIRST Insurance Funding, a Division of Lake Forest
  588    Bank & Trust Company, N.A.                             Attn: Janice West                                     450 Skokie Blvd                        Suite 1000                                                    Northbrook           IL    60062                    12/19/2022 Secured                      $1,675,119.78                        $1,675,119.78
                                                                                                                                                                                                                                                                                          General Unsecured
  186    Florida Department of Revenue, Bankruptcy Unit         Attn: Frederick F Rudzik, Esq                         PO Box 6668                                                                                          Tallahassee          FL    32314-6668               12/05/2022 Priority                       $81,672.65             $837.80                         $80,834.85
                                                                                                                                                                                                                                                                                          General Unsecured
  711    Florida Department of Revenue, Bankruptcy Unit         Attn: Frederick F Rudzik, Esq                         PO Box 6668                                                                                          Tallahassee          FL    32314-6668               03/02/2023 Priority                        $6,867.18             $837.80                          $6,029.38
                                                                                                                                                                                                                                                                                          General Unsecured
                                                                                                                                                                                                                                                                                          Secured
  605    FONA International, Inc.                               c/o Baker Donelson, Bearman, Caldwell & Berkowitz, PC Attn: Daniel Carrigan                  901 K Street NW               Suite 900                       Washington           DC    20001                    12/19/2022 Administrative Priority       $899,203.95        $602,203.95       $297,000.00                                  TBD
  169    FORVIS LLP [BKD LLP]                                                                                         910 E St Louis Street                  Suite 400                                                     Springfield          MO    65806-2570               12/05/2022 General Unsecured             $122,039.00        $122,039.00




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                              Page 4 of 8
                                                                                                                         Case 22-17842-PDR                                             Doc 1859                         Filed 08/29/23                                Page 13 of 16
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 Claim                                                                                                                                                                                                                                                                                                                                   General                                                   Administrative
  No.                           Name                                                       Attention                                     Address 1                         Address 2                  Address 3                 City         State     Zip      Country    Date Filed    Amount Class(es)        Total Amount           Unsecured               Secured         Priority             Priority
  275 Franchise Tax Board                                           c/o Bankruptcy Section MS A340                        PO Box 2952                                                                                    Sacramento         CA     95812-2952               12/12/2022 General Unsecured                    $0.00        To be determined
  127 Francis Massabki                                                                                                    7330 Ocean Ter 1101                                                                            Miami Beach        FL     33141                    11/19/2022 Priority                         $1,831.85                                                    $1,831.85
  312 Fusion Logistics Services, LLC                                Attn: E Luis Campano                                  PO Box 33080                                                                                   Lakeland           FL     33807                    12/15/2022 General Unsecured              $431,602.00             $431,602.00
       Gerson Lehrman Group, Inc. [GLG, Gerson Lehrman
  626 Group]                                                        c/o Legal Department                                  60 East 42nd Street                3rd Floor                                                   New York           NY    10165                     12/19/2022 General Unsecured             $137,720.00              $137,720.00
  277 Giant Eagle, Inc.                                             Attn: Jeremy Darling                                  101 Kappa Drive                    RIDC Park                                                   Pittsburgh         PA    15238                     12/13/2022 General Unsecured                  $58.92                   $58.92
       Gimmel Tammuz Realty (I-70 Industrial Center Denver)
       ADA Compliant Limited Partnership, a Delaware Limited
  427 Partnership                                                   c/o Dalfen Industrial LLC                             1970 Broadway                      Suite 700                                                   Oakland            CA    94612                     12/15/2022 General Unsecured             $212,588.78              $212,588.78
       Gimmel Tammuz Realty (I-70 Industrial Center Denver)
       ADA Compliant Limited Partnership, a Delaware Limited
  792 Partnership                                                   c/o Dalfen Industrial LLC                             1970 Broadway                      Ste 700                                                     Oakland            CA    94612                     08/18/2023 General Unsecured             $224,942.99              $224,942.99
  746 Givaudan Flavors Corporation                                  c/o Thompson Hine LLP                                 Attn: Jeremy M. Campana            3900 Key Center             127 Public Square               Cleveland          OH    44114                     04/08/2023 General Unsecured                $3,906.29                                                                        $3,906.29
  350 Glen Raven Logistics, Inc.                                    Attn: David M. Schilli                                101 N Tryon St                     Suite 1900                                                  Charlotte          NC    28246                     12/15/2022 General Unsecured             $663,912.54             $663,912.54
  697 GLOBAL INDUSTRIAL [GLOBAL EQUIPMENT]                          LAURA FREEMAN                                         2505 MILL CENTER PARKWAY           SUITE 100                                                   BUFORD             GA    30518                     02/03/2023 General Unsecured               $16,199.63              $16,199.63
  539 Gordon & Rees                                                 Attn: Megan M. Adeyemo                                2200 Ross Ave                      Ste 3700                                                    Dallas             TX    75201                     12/16/2022 General Unsecured            $3,927,445.68           $3,927,445.68
  356 Gorilla Marketing LLC                                         c/o The Frazer Firm, PA                               Attn: Kent Frazer                  601 Heritage Drive          Suite 220                       Jupiter            FL    33458                     12/16/2022 General Unsecured                    $0.00                unknown
                                                                                                                                                                                                                                                                                       General Unsecured
  561    Graphic Packaging International, LLC                       c/o Shumaker, Loop & Kendrick, LLP                    Attn: David Conaway                101 S Tryon Street          Suite 2200                      Charlotte          NC    28280                     12/19/2022 Administrative Priority      $5,001,968.00           $4,935,395.00                                               $66,573.00
                                                                                                                          Attn: David Conaway, Ronald D.P.
  729    Graphic Packaging International, LLC                       c/o Shumaker, Loop & Kendrick, LLP                    Bruckmann                          101 S. Tryon St             Suite 2200                      Charlotte          NC    28280                     03/17/2023 Administrative Priority         $66,573.00                                                                       $66,573.00
  342    Great Northern Insurance Company                           c/o Duane Morris LLP                                  Attn: Wendy M. Simkulak            30 S. 17th Street                                           Philadelphia       PA    19103-4196                12/14/2022 Administrative Priority       $565,300.00                                                     565300 plus additional amounts
  146    GreatAmerica Financial Services Corporation                Attn: Peggy Upton                                     PO Box 609                                                                                     Cedar Rapids       IA    52406                     11/23/2022 General Unsecured               $70,475.30              $70,475.30
  666    Green Mountain Energy Company                              Bankruptcy Department                                 PO Box 1046                                                                                    Houston            TX    77251                     12/21/2022 General Unsecured                $1,661.84               $1,661.84
   52    Green Wave Ingredients, Inc.                                                                                     13875 Cerritos Corporate Drive     Suite A                                                     Cerritos           CA    90703                     11/01/2022 General Unsecured            $1,358,520.12           $1,358,520.12
   75    Green Wave Ingredients, Inc.                                                                                     13875 Cerritos Corporate Drive     Suite A                                                     Cerritos           CA    90703                     10/18/2022 General Unsecured            $1,358,520.12           $1,358,520.12
                                                                                                                                                                                                                                                                                       General Unsecured
  550    Gregg Ginalick                                             Gregg Ginalick                                        330 Willow Run                                                                                 Prosper            TX    75078                     12/16/2022 Priority                       $56,278.04               $25,750.04                           $30,528.00
  658    Gregg Ginalick                                                                                                   330 Willow Run                                                                                 Prosper            TX    75078                     12/20/2022 Priority                       $56,278.04                                                    $56,278.04
  148    Grosel Specialty Products                                  Attn: Robert Zajec                                    330 Glasgow Drive                                                                              Highland Heights   OH    44143                     11/26/2022 General Unsecured               $6,781.40                $6,781.40
  459    Hardrock Concrete Placement Co., Inc.                                                                            4839 W Brill St                                                                                Phoenix            AZ    85043                     12/16/2022 Secured                       $669,195.67                                 $669,195.67
  307    Herc Rentals Inc                                           Attn: Bankruptcy                                      27500 Riverview Center Blvd                                                                    Bonita Springs     FL    34134                     12/14/2022 General Unsecured               $7,033.90                $7,033.90
   84    IBT West, LLC dba Magnum Industrial Distributors           Attn: John Kelly                                      4203 W Adams Street                                                                            Phoenix            AZ    85009                     11/09/2022 General Unsecured              $28,143.53               $28,143.53
  706    IBT West, LLC dba Magnum Industrial Distributors           Attn: John Kelly                                      4203 W Adams Street                                                                            Phoenix            AZ    85009                     02/21/2023 Administrative Priority         $2,712.78                                                                         $2,712.78
  630    Icon Owner Pool 1 LA Non-Business Parks, LLC               c/o Singer & Levick, P.C.                             Attn: Michelle E. Shriro           16200 Addison Road          Suite 140                       Addison            TX    75001                     12/19/2022 Secured                        $31,087.05                                  $31,087.05
  156    Idaho State Tax Commission                                 Attn: Kellie Mingo                                    PO Box 36                                                                                      Boise              ID    83722                     11/30/2022 Priority                          $221.21                                                       $221.21
         Industrial Physics Beverage & Canning, Inc. [CMC
  103    Kuhnke, Inc.]                                              Attn: Heather Crawford, Accounts Receivable           40 McCullough Dr                                                                               New Castle         DE    19720                     11/14/2022 General Unsecured              $20,944.50               $20,944.50
  662    Inmar - YouTech LLC                                        c/o Davis & Jones, LLC                                Attn: Patrick R. Thesing           2521 Brown Blvd                                             Arlington          TX    76006                     12/21/2022 General Unsecured              $28,137.68               $28,137.68
  126    Inovar Packaging Florida                                   Attn: Jarvis Garcia                                   4061 SW 47th Ave                                                                               Davie              FL    33314-4023                11/18/2022 General Unsecured             $789,402.00              $789,402.00
   49    Instrumentation and Controls                                                                                     6829 W Frye Rd                                                                                 Chandler           AZ    85226-3307                10/31/2022 General Unsecured               $2,988.79                $2,988.79
                                                                                                                                                                                                                                                                                       General Unsecured
  161    Internal Revenue Service                                                                                         P.O. BOX 7346                                                                                  Philadelphia       PA    19101-7346                12/01/2022 Priority                      $112,352.50               $15,087.93                           $97,264.57
                                                                                                                                                                                                                                                                                       General Unsecured
  250    Internal Revenue Service                                   Attn: Daisy Montanez                                  City View Plaza II                 48 CARR 165 SUITE 2000                                      Guaynabo           PR    00968-8000                12/08/2022 Priority                      $112,352.50               $15,087.93                           $97,264.57
  752    Intrastate Distributing                                    c/o Lorium PLLC                                       197 South Federal Highway          Suite 200                                                   Boca Raton         FL    33432                     04/27/2023 General Unsecured            $2,626,900.00           $2,626,900.00
  583    Inventus, LLC [Legility, LLC]                              c/o Consilio LLC                                      1828 L Street NW                   Ste 1070                                                    Washington         DC    20036                     12/19/2022 General Unsecured            $1,274,116.47           $1,274,116.47
                                                                                                                                                                                                                                                                                       General Unsecured
    4    Iowa Department of Revenue                                 Office of the Attorney General of Iowa                Attn: Bankruptcy Unit              1305 E Walnut                                               Des Moines         IA    50319                     10/18/2022 Priority                          $832.69                   $17.58                              $815.11
                                                                                                                                                                                                                                                                                       Priority
  744    Iowa Department of Revenue                                 Office of the Attorney General of Iowa                Attn: Bankruptcy Unit              1305 E Walnut                                               Des Moines         IA    50319                     04/06/2023 Administrative Priority          $955.73                    $23.29                              $932.44
  280    J Robbin Law PLLC                                          Attn: Jonathan Robbin                                 200 Business Park Drive            Suite 103                                                   Armonk             NY    10504                     12/13/2022 General Unsecured              $10,440.00               $10,440.00
                                                                                                                                                                                                                                                                                       General Unsecured
  263    James D. Fuzi                                                                                                    7177 West Bajada Road                                                                          Peoria             AZ    85383                     12/09/2022 Priority                       $39,120.00               $23,620.00                           $15,500.00
         Jasmin Williams, on her behalf and alls others similarly
  732    situated                                                   Attn: Samy M. Harmoush                                1230 Rosecrans Ave.                Suite 300                                                   Manhattan Beach    CA    90266                     03/21/2023 Administrative Priority             $0.00               Unliquidated
  641    Jason Briggs Osborne                                                                                             3236 West Huntington Dr                                                                        Phoenix            AZ    85041                     12/19/2022 General Unsecured             $220,000.00              $220,000.00
  259    Jason Schnaible                                                                                                  3529 Meadowbrook Drive                                                                         Napa               CA    94558                     12/09/2022 Priority                       $48,500.00                                                    $48,500.00
  618    Jobete Music Co. Inc.                                      Attn: David Przygoda                                  25 Madison Avenue                  26th Floor                                                  New York           New Yo10010-8601                12/19/2022 General Unsecured             $300,000.00              $300,000.00
                                                                                                                                                                                                                                                                                       Priority
  767    John H Owoc                                                Attn: Jonathan S. Feldman, Esq.                       2 S Biscayne Blvd                  Suite 1600                                                  Miami              FL    33131                     07/12/2023 Administrative Priority   $168,397,757.26                              $163,424,411.61                        $4,973,345.65
  639    John H. Owoc                                                                                                     1600 N Park Drive                                                                              Weston             FL    33326                     12/19/2022 General Unsecured                   $0.00              See Attached
  730    John Zappia                                                                                                      636 Dorothy Drive                                                                              Charlotte          NC    28203                     03/17/2023 General Unsecured              $40,045.02               $40,045.02
  260    Johnson Controls Fire Protection LP [Simplex Grinnell]                                                           10405 Crosspoint Blvd                                                                          Indianapolis       IN    46256                     12/09/2022 General Unsecured                 $964.30                  $964.30
                                                                                                                                                                                                                                                                                       Priority
  736    Jonathan Lowe                                                                                                    4525 Fort McHenry Pkwy                                                                         Glen Allen         VA    23060                     03/22/2023 Administrative Priority        $30,300.00               $22,500.00                            $7,800.00
  261    Jonathan Mckey Milling                                     c/o Milling Law Firm, LLC                             2910 Devine Street                                                                             Columbia           SC    29205                     12/09/2022 General Unsecured               $6,015.00                $6,015.00
  139    Joshua Griffin                                                                                                   189 Cr 428                                                                                     Lorena             TX    76655                     11/22/2022 General Unsecured              $42,250.00               $42,250.00
  591    Jump Foods, LLC                                            c/o Cline Williams Wright Johnson & Oldfather, LLP    Attn: John F. Zimmer, V            233 S 13 St                 Suite 1900                      Lincoln            NE    68508                     12/19/2022 General Unsecured              $25,000.00               $25,000.00
  659    Jump Foods, LLC                                            c/o Cline Williams Wright Johnson & Oldfather, LLP    Attn: John F. Zimmer, V            233 S 13 St                 Suite 1900                      Lincoln            NE    68508                     12/20/2022 General Unsecured              $25,000.00               $25,000.00
  132    Karly V. Grillo                                                                                                  170 Amsterdam Ave                  Apt 7E                                                      New York           NY    10023                     11/21/2022 Priority                        $5,000.00                                                     $5,000.00
  781    Kearny Mesa West (San Diego), LLC                          Attn: Lisa M. Peters                                  c/o Kutak Rock LLP                 1650 Farnam Street                                          Omaha              NE    68102                     07/28/2023 Priority                       $50,983.13                                                    $50,983.13
  123    Kerry, Inc.                                                                                                      3400 Millington Road                                                                           Beloit             WI    53511                     11/18/2022 General Unsecured              $21,562.36               $21,562.36
  206    Ketone Labs, LLC                                           Attn: Michael Perry                                   901 Sam Rayburn Hwy                                                                            Melissa            TX    75454                     12/07/2022 General Unsecured              $34,400.00               $34,400.00
                                                                                                                                                                                                                                                                                       General Unsecured
  152    Khalsa Transportation Inc                                                                                        13371 South Fowler Ave                                                                         Selma              CA    93662                     11/28/2022 Priority                      $521,714.98             $506,564.98                            $15,150.00
  125    Kim & Chang                                                                                                      Jeongdong Building                 17F 21-15 Jeongdong-gil     Jung-Gu                         Seoul                    04518      South Korea    11/21/2022 General Unsecured               $34,017.34              $34,017.34
   59    KJ Can (Singapore) Pte. Ltd.                               c/o Squire Patton Boggs (US) LLP                      Attn: Kelly Singer                 2325 E. Camelback Rd        Suite 700                       Phoenix            AZ    85016                     11/03/2022 General Unsecured            $2,598,161.51           $2,598,161.51
   55    Knight Transportation Services, Inc.                       Attn: Trisha Lucci                                    20002 N 19th Ave                                                                               Phoenix            AZ    85027-4250                11/03/2022 General Unsecured               $99,972.00              $99,972.00
  544    Knoxville Beverage Co., Inc                                Attn: Michael Craig                                   310 Radford Place                                                                              Knoxville          TN    37917                     12/16/2022 General Unsecured               $64,000.00              $64,000.00
                                                                                                                                                                                                                                                                                       General Unsecured
  254    KP Properties of Ohio, LLC                                 Attn: Susan Knust                                     11300 Longwater Chase Ct.                                                                      Fort Myers         FL    33908                     12/08/2022 Priority                        $5,987.95                $2,637.95                            $3,350.00
                                                                                                                                                                                                                                                                                       General Unsecured
  285    Krier Foods, LLC                                           c/o Frost Brown Todd LLP                              Attn: Kim Martin Lewis             3300 Great American Tower                                   Cincinnati         OH    45202                     12/13/2022 Administrative Priority       $588,197.28              $577,005.78                                               $11,191.50
                                                                                                                                                                                                                                                                                       General Unsecured
  755    Krier Foods, LLC                                           c/o Frost Brown Todd LLP                              Attn: Kim Martin Lewis             3300 Great American Tower                                   Cincinnati         OH    45202                     05/25/2023 Administrative Priority             $0.00    See attached Addendum                                            See Addendum
  552    Krones, Inc.                                               c/o Foley & Lardner LLP                               Attn: Matthew D. Lee               150 East Gilman St          Suite 5000                      Madison            WI    53703                     12/19/2022 General Unsecured           $2,411,958.31             $2,411,958.31
  731    Krones, Inc.                                               c/o Foley & Lardner LLP                               Attn: Matthew D. Lee               150 East Gilman Street      Suite 5000                      Madison            WI    53703                     03/17/2023 Administrative Priority         $3,966.47                                                                         $3,966.47
   70    Kuckelman Torline Kirkland, Inc. [KTK]                     Attn: Michael T Crabb                                 10740 Nall Ave.                    Suite 250                                                   Overland Park      KS    66211                     11/08/2022 General Unsecured            $129,188.45               $129,188.45
  557    LaFace Records LLC                                         Attn: Wade Leak, Esq                                  25 Madison Avenue                  22nd Floor                                                  New York           New Yo10010                     12/18/2022 General Unsecured            $300,000.00               $300,000.00
  129    LAURITS R CHRISTENSEN ASSOCIATES INC                       ATTN: EDEE ZUKOWSKI                                   800 UNIVERSITY BAY DRIVE STE 400                                                               MADISON            WI    53705-2299                11/21/2022 General Unsecured               $3,171.00                $3,171.00
  634    Litigation Services and Technologies of California LLC     Attn: Ted Kent                                        3960 Howard Hughes Pkwy            Ste 700                                                     Las Vegas          NV    89169                     12/19/2022 General Unsecured              $18,565.03               $18,565.03
  133    LMR Auto Transport Brokerage Inc.                                                                                4395 Amsterdam St                                                                              N Charleston       SC    29418-5921                11/21/2022 General Unsecured              $54,400.00               $54,400.00
  558    Lone Star Business Association Coop                        Attn: Emily Wall                                      900 Jackson St                     Ste 570                                                     Dallas             TX    75202                     12/19/2022 Administrative Priority        $16,161.25                                                                        $16,161.25
  691    Louisiana Workforce Commission                             Attn: Stacey Wright Johnson                           1001 N 23rd St                     First Floor                                                 Baton Rouge        LA    70802                     01/27/2023 Priority                            $0.68                                                           $0.68
  661    Maldonado Leal Servicios De Apoio Empresaria L Lida        Attn: Gisela Maldonado                                Av. Paulista, 1765                                                                             Ed. Scarpa         SP    CJ 121     Brazil         12/20/2022 General Unsecured               $8,700.00                $8,700.00
  303    Maldonado Leal Serviços de Apoio Empresarial Ltda.         Attn: Gisela Cesar Maldonado                          Avenida Paulista, 1765 CJ 121                                                                  Sao Paulo          SP    01311-930 Brazil          12/14/2022 General Unsecured               $8,700.00                $8,700.00
  167    Marc J. Kesten                                                                                                   9220 NW 72nd Street                                                                            Parkland           FL    33067                     12/02/2022 General Unsecured          $25,000,000.00           $25,000,000.00
  200    Marc J. Kesten v. VPX & Owoc                                Attn Marc J. Kesten, Esq.                            9220 NW 72nd Street                                                                            Parkland           FL    33067                     12/06/2022 General Unsecured          $25,000,000.00           $25,000,000.00
   80    Marriott Riverside at the Convention Center                Attn: Alvaro Fraile                                   Azul Hospitality Group             800 W Ivy St                                                San Diego          CA    92101                     11/08/2022 General Unsecured            $190,355.33              $190,355.33
  154    Massimo Zanetti Beverage USA                               c/o Greenspoon Marder, LLP                            Attn: Michael R. Bakst, Esq.       525 Okeechobee Blvd         Ste 900                         West Palm Beach    FL    33401                     11/29/2022 General Unsecured            $100,000.00              $100,000.00
  168    Matt Tomlinson                                                                                                   3003 Eastern Ave                                                                               Baltimore          MD    21224                     12/02/2022 General Unsecured              $15,000.00               $15,000.00
                                                                                                                                                                                                                                                                                       General Unsecured
  274    Matthew B. Wolov                                                                                                 4710 Pin Oaks Cir                                                                              Rockwall           TX    75032                     12/12/2022 Priority                       $55,200.00               $40,050.00                           $15,150.00
  256    Matthew Lotterman                                                                                                18 6th Ave                         Apt 4315                                                    Brooklyn           NY    11217-5079                12/08/2022 Priority                       $15,000.00                                                    $15,000.00
  255    Matthiesen, Wickert & Lehrer S. C.                         Attn: Meghan Henthorne and Matthew T. Fricker         1111 East Sumner St.                                                                           Hartford           WI    53027                     12/08/2022 Administrative Priority        $30,714.30                                                                        $30,714.30
                                                                                                                                                                                                                                                                                       General Unsecured
  479    MDV SpartanNash LLC                                        c/o Warner Norcross + Judd LLP                        Attn: Stephen B. Grow              150 Ottawa Ave NW           Suite 1500                      Grand Rapids       MI    49503                     12/16/2022 Administrative Priority        $41,854.46               $25,214.02                                               $16,640.44




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                  Page 5 of 8
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 Claim                                                                                                                                                                                                                                                                                                                                      General                                              Administrative
  No.                                Name                                                      Attention                              Address 1                          Address 2                      Address 3                     City    State       Zip      Country   Date Filed    Amount Class(es)        Total Amount            Unsecured            Secured         Priority           Priority
                                                                                                                                                                                                                                                                                         General Unsecured
  743    MDV SpartanNash LLC                                          Stephen B. Grow                                Warner Norcross + Judd LLP              150 Ottawa Ave NW             Suite 1500                      Grand Rapids       MI      49503                   03/31/2023 Administrative Priority        $65,305.65               $25,214.02                                           $40,091.63
  348    MEI Rigging & Crating, LLC dba Dunkel Bros                   Christina Uitz                                 PO Box 1630                                                                                           Albany             OR      97321                   12/15/2022 Secured                        $69,443.65                                $69,443.65
  669    MEI Rigging & Crating, LLC dba Dunkel Bros                   Christina Uitz                                 PO Box 1630                                                                                           Albany             OR      97321                   12/27/2022 Secured                        $69,443.65                                $69,443.65
   23    Mike Meserve                                                                                                116 Wallace Ave                                                                                       South Portland     ME      04106                   10/26/2022 General Unsecured              $15,795.00               $15,795.00
   58    Milk Specialties                                             c/o Coface North America Insurance Company     Attn: Amy Schmidt                       650 College Road E            Suite 2005                      Princeton          NJ      08540                   11/03/2022 General Unsecured             $102,765.00              $102,765.00
  210    Miner, LTD                                                   c/o Miner Corporation                          Attn: Ricardo Garcia                    11827 Tech Com Rd # 115                                       San Antonio        TX      78233                   12/07/2022 General Unsecured              $18,575.25               $18,575.25
  735    Minnesota Department of Revenue                              c/o Collections Division                       Attn: BKY                               PO Box 64447                                                  St Paul            MN      55164-0447              03/22/2023 General Unsecured                   $0.00                                                                     Withdrawn
                                                                                                                                                                                                                                                                                         General Unsecured
  194    Mississippi Department of Revenue                            Attn: Bankruptcy Section                       PO Box 22808                                                                                          Jackson            MS      39225-2808              12/06/2022 Priority                          $656.00                  $131.00                            $525.00
         Mitsubishi HC Capital America, Inc. [Hitachi Capital
   17    America Corp.]                                               c/o Kye Law Group, P.C.                        201 Old Country Road                    Suite 120                                                     Melville           NY      11747                   10/25/2022 Secured                     $2,410,772.40                              $2,410,772.40
  101    Mix3 Sound Inc.                                              Attn: Maria Ferlito                            16405 NW 8th Ave                                                                                      Miami Gardens      FL      33169                   11/11/2022 General Unsecured               $1,000.00                $1,000.00
   7     MMR Strategy Group                                           Attn: Cheryl Jaffe                             16501 Ventura Blvd                      Suite 601                                                     Encino             CA      91367                   10/20/2022 General Unsecured              $17,500.00               $17,500.00
  187    Molly Maid of Colorado Springs                                                                              1925 Dominion Way Suite 104                                                                           Colorado Springs   CO      80918                   11/22/2022 General Unsecured               $2,504.00                $2,504.00
                                                                                                                                                                                                                                                                                         General Unsecured
   29    Monster Energy Company                                       Attn: Aaron Sonnhalter                         1 Monster Way                                                                                         Corona             CA      92879                   10/26/2022 Administrative Priority   $389,739,257.35          $389,739,257.35                                         Undetermined
                                                                                                                                                                                                                                                                                         General Unsecured
  610    Monster Energy Company                               Attn: Aaron Sonnhalter                                 1 Monster Way                                                                                         Corona             CA      92879                   12/19/2022 Administrative Priority   $389,797,257.35 Not less than 389797257.35                                       Undetermined
  71     Moore Rabinowitz Law, P.A.                           Attn: Adam Rabinowitz, Esquire                         1776 N. Pine Island Rd                  Suite 102                                                     Plantation         FL      33322                   11/08/2022 General Unsecured              $19,815.50                 $19,815.50
  701    Motion Industries                                                                                           1605 Alton Road                                                                                       Irondale           AL      35210                   02/08/2023 General Unsecured               $3,500.31                  $3,500.31
  283    MSC Industrial Supply Company                                                                               515 Broadhollow Rd                      Ste 1000                                                      Melville           NY      11747                   12/12/2022 General Unsecured                $881.87                    $881.87
  700    Nalco Company                                        Attn: John McDonald                                    655 Lone Oak Dr                                                                                       Eagan              MN      55121                   02/07/2023 General Unsecured              $43,996.01                 $43,996.01
   94    NAUMANN HOBBS MATERIAL HANDLING CORP II INC ATTN: DAVE MICHLICH                                             4335 E WOOD ST                                                                                        PHOENIX            AZ      85040                   11/10/2022 General Unsecured              $19,579.84                 $19,579.84
         Naumann Hobbs Material Handling Corp II Inc
  92     [Southwest Battery]                                  Attn: David M. Michlich                                4335 E Wood St                                                                                        Phoenix            AZ      85040                   11/10/2022 General Unsecured                   $0.00                      Blank
  665    Navigators Insurance Company                         c/o Hartford Fire Insurance Company                    Attn: Bankruptcy Unit                   HO2-R                         Home Office                     Hartford           CT      06155                   12/21/2022 General Unsecured                   $0.00    Contingent/Unliquidated
         Nelson Mullins Riley & Scarborough, LLP (including
  632    through its predecessor in Florida Broad and Cassel) Attn: Scott D. Knapp and Frank P. Terzo                100 SE 3rd Ave                          Suite 2700                                                    Fort Lauderdale    FL      33394                   12/19/2022 General Unsecured           $1,668,106.30             $1,668,106.30
  750    Neogen Corporation                                                                                          620 Lesher Place                                                                                      Lansing            MI      48912                   04/18/2023 Administrative Priority         $6,663.40                 $6,663.40
  794    Nevada Beverage Company                              Nikki Wagner                                           3940 West Tropicana Avenue                                                                            Las Vegas          NV      89103                   08/24/2023 General Unsecured            $530,014.16               $530,014.16
  257    Nevada Power d/b/a NV Energy                         Attn: Candace R. Harriman                              PO Box 10100                                                                                          Reno               NV      89520                   12/08/2022 General Unsecured                $592.14                   $592.14
                                                                                                                                                                                                                                                                                         General Unsecured
  707    New York State Department of Taxation and Finance            Attn: Bankruptcy Section                       PO Box 5300                                                                                           Albany             NY      12205-0300              02/22/2023 Priority                        $9,367.09                 $1,000.00                         $8,367.09
  751    NM Taxation & Revenue Department                                                                            PO Box 8575                                                                                           Albuquerque        NM      87198-8575              04/25/2023 Priority                        $2,750.00                                                   $2,750.00
  164    Nordson Corporation                                                                                         300 Nordson Dr                                                                                        Amherst            OH      44001                   12/01/2022 General Unsecured              $15,359.13               $15,359.13
  695    Nordson Corporation                                                                                         300 Nordson Dr                                                                                        Amherst            OH      44001                   01/30/2023 General Unsecured              $39,012.44               $39,012.44
  686    North Carolina Department of Revenue                                                                        PO Box 1168                                                                                           Raleigh            NC      27602                   01/18/2023 Administrative Priority         $4,048.85                                                                     $4,048.85
                                                                                                                                                                                                                                                                                         General Unsecured
  687    North Carolina Department of Revenue                                                                        PO Box 1168                                                                                           Raleigh            NC      27602                   01/18/2023 Priority                      $125,151.12               $30,186.26                         $94,964.86
   83    North Star Marketing, Inc                                    Attn: Sam Zerilli                              PO Box 516                                                                                            Eagle River        WI      54521-0516              11/09/2022 General Unsecured              $18,508.54               $18,508.54
                                                                                                                                                                                                                                                                                         General Unsecured
  153    Ohio Department of Taxation                                  Attn: Bankruptcy Division                      PO Box 530                                                                                            Columbus           OH      43216                   11/29/2022 Priority                       $69,562.12               $21,617.67                         $47,944.45
                                                                                                                                                                                                                                                                                         General Unsecured
  696    Ohio Department of Taxation                                  Attn: Bankruptcy Division                      PO Box 530                                                                                            Columbus           OH      43216                   01/31/2023 Priority                       $71,241.48               $22,550.00                         $48,691.48
                                                                                                                                                                                                                                                                                         General Unsecured
  787    Ohio Department of Taxation                                  Attn: Bankruptcy Division                      PO Box 530                                                                                            Columbus           OH      43216                   08/08/2023 Priority                       $34,622.23               $14,865.07                         $19,757.16
                                                                                                                                                                                                                                                                                         General Unsecured
   10    Orange Bang, Inc.                                            Attn: Richard Stein                            13115 Telfair Ave                                                                                     Sylmar             CA      91342                   10/25/2022 Administrative Priority    $87,500,000.00           $87,500,000.00                                         Undetermined
  689    Oregon Department Of Revenue                                                                                955 Center St NE                                                                                      Salem              OR      97301-2555              01/20/2023 General Unsecured              $38,597.63               $12,259.35                         $26,338.28

   67    Organic Bottle Decorating Company DBA Zion Packaging Attn: Gary Martin                                      1695 California Ave                                                                                   Corona             CA      92881-3375              11/07/2022 General Unsecured              $30,198.96               $30,198.96
  589    Packaging Equipment Inc.                             c/o Thompson Hine LLP                                  Attn: Sean A. Gordon                    Two Alliance Center           3560 Lenox Rd. NE, Suite 1600   Atlanta            GA      30326                   12/19/2022 General Unsecured              $14,520.00               $14,520.00
  592    Packaging Equipment, Inc.                            c/o Thompson Hine LLP                                  Attn: Sean A. Gordon                    Two Alliance Center           3560 Lenox Rd NE, Suite 1600    Atlanta            GA      30326                   12/19/2022 General Unsecured              $14,520.00               $14,520.00
                                                                                                                                                                                                                                                                                         General Unsecured
  351    Patrick McMahon                                                                                             4367 55th Ave                                                                                         Bettendorf         IA      52722                   12/15/2022 Priority                       $49,940.00               $34,790.00                         $15,150.00
  147    Peak Activity, LLC                                           Attn: Justin Bennett and Andy Boyland          1880 N. Congress Ave.                   Suite 210                                                     Boynton Beach      FL      33426                   11/25/2022 General Unsecured            $670,177.00              $670,177.00
  595    PepsiCo, Inc.                                                c/o FrankGecker LLP                            Attn: Joseph D. Frank                   1327 West Washington Blvd     Suite 5 G-H                     Chicago            IL      60607                   12/19/2022 General Unsecured         $115,000,000.00          $115,000,000.00
   38    Pepsi-Cola Bottling Co. of Luverne, Inc.                     Attn: Andrew Smith                             PO Box 226                                                                                            Luverne            AL      36049                   10/27/2022 General Unsecured               $5,952.00                $5,952.00
         Peter Fischer, individually, and on behalf of a nationwide
   86    class of similarly-situated consumers                        c/o Harvath Law Group, LLC                     Attn: Daniel Harvath, Esq.              75 W. Lockwood                Suite # 1                       Webster Groves     MO      63119                   11/09/2022 General Unsecured         $401,000,000.00          $401,000,000.00
   20    Peter Kent Consulting, LLC                                   Attn: Peter Kent                               404 Locust St                                                                                         Denver             CO      80220                   10/25/2022 General Unsecured              $48,939.00               $48,939.00
  602    Pettit Kohn Ingrassia Lutz & Dolin, PC                       c/o Rossway Swan Tierney Barry & Oliver, PL    Attn: Thomas W. Tierney, Esq.           2101 Indian River Blvd        Suite 200                       Vero Beach         FL      32960                   12/19/2022 General Unsecured            $273,641.54              $273,641.54
  667    Pettit Kohn Ingrassia Lutz & Dolin, PC                       c/o Rossway Swan Tierney Barry & Oliver, PL    Attn: Thomas W. Tierney, Esq.           2101 Indian River Blvd.       Suite 200                       Vero Beach         FL      32960                   12/27/2022 General Unsecured            $280,563.64              $280,563.64
  366    PolyGram Publishing, Inc.                                    Attn: JoAn Cho                                 222 Colorado Avenue                                                                                   Santa Monica       CA      90404                   12/16/2022 General Unsecured           $2,450,000.00            $2,450,000.00
  110    Portland Bottling Company                                                                                   16800 SE Evelyn St                      Ste 120                                                       Clackamas          OR      97015                   11/16/2022 General Unsecured               $2,052.00                $2,052.00
  714    Portland Bottling Company                                    c/o Davis Wright Tremaine LLP                  Attn: Joseph M. VanLeuven               1300 SW Fifth Ave, Suite 2400 24th Floor                      Portland           OR      97201                   03/07/2023 General Unsecured           $1,269,750.00            $1,269,750.00
                                                                                                                                                                                                                                                                                         General Unsecured
  776    PPF Lincoln Medley, LLC                                      c/o Morgan Stanley Real Estate Advisor, Inc    Attention: Nicholas J. Karali           1585 Broadway                 33rd Fl                         New York           NY      10036                   07/17/2023 Secured                      $404,645.74               $372,612.41       $32,033.33
  599    Premier Distributing Company                                 Attn: Alan Markey                              4321 Yale Blvd NE                                                                                     Albuquerque        NM      87107                   12/19/2022 General Unsecured            $832,000.00               $832,000.00
  590    Premium Beverage Company                                     c/o ArentFox Schiff LLP                        Attn: Annie Y. Stoops                   555 West Fifth Street         48th Floor                      Los Angeles        CA      90013                   12/19/2022 General Unsecured                   $0.00               Unliquidated
  22     Presence From Innovation, LLC                                Attn: Jennifer McArtor                         4847 Park 370 Blvd                                                                                    Hazelwood          MO      63042                   10/26/2022 General Unsecured              $79,127.22                $79,127.22
  546    Priority-1, Inc.                                             Attn: Chris Michaels, General Counsel          1800 E Roosevelt Rd                                                                                   Little Rock        AR      72206-2516              12/16/2022 General Unsecured           $1,402,737.96             $1,402,737.96
  170    Professional Store Services                                  Attn: Philip Harrington                        PO Box 96                                                                                             New Waverly        TX      77358                   12/02/2022 General Unsecured               $2,113.00                 $2,113.00
  157    Public Service Company d/b/a Xcel Energy                     c/o Bankruptcy Department                      Attn: Katie A. Miller                   PO Box 9477                                                   Minneapolis        MN      55484                   11/30/2022 General Unsecured                $630.80                   $630.80
  790    Pure Beverage Company                                                                                       2301 Airwest Blvd                                                                                     Plainfield         IN      46168                   08/17/2023 General Unsecured           $2,335,856.50             $2,335,856.50
  563    Quarles & Brady LLP                                          Attn: Christopher Combest                      300 N LaSalle St                        Ste 4000                                                      Chicago            IL      60654                   12/19/2022 General Unsecured           $1,417,934.25             $1,417,934.25
  645    R&L Carriers, Inc.                                                                                          600 Gilliam Rd                                                                                        Willmington        OH      45177                   12/19/2022 General Unsecured              $43,102.20                $43,102.20
  136    R+L Truckload Services, LLC                                  Attn: T Moncada                                315 NE 14th St                                                                                        Ocala              FL      34470                   11/04/2022 General Unsecured              $22,201.33                $22,201.33
                                                                                                                                                                                                                                                                                         General Unsecured
  779    Ranger H-TX LP                                               c/o Winstead PC                                Attn: Jason A. Enright                  2728 N Harwood St             Suite 500                       Dallas             TX    75201                     07/24/2023 Secured                      $151,940.61               $142,607.95        $9,332.66
  565    Records Label, LLC                                           Attn: Wade Leak                                25 Madison Avenue                       22nd Floor                                                    New York           New Yo10010                     12/18/2022 General Unsecured            $700,000.00               $700,000.00
  553    Refresco Benelux b.v.                                        c/o Holland & Knight LLP                       Attn: W. Keith Fendrick                 100 N Tampa St                Ste 4100                        Tampa              FL    33602                     12/18/2022 General Unsecured              $10,891.14               $10,891.14
  569    Refresco Beverages US Inc [Cott Beverages Inc]               c/o Holland & Knight LLP                       Attn: W Keith Fendrick, Esq             100 N Tampa St                Ste 4100                        Tampa              FL    33602                     12/19/2022 General Unsecured              $34,464.52               $34,464.52
  740    Refresco Beverages US Inc.                                   c/o Holland & Knight LLP                       Attn: William K. Fendrick, Esq.         100 North Tampa Street        Suite 4100                      Tampa              FL    33602                     03/31/2023 General Unsecured           $9,654,634.00                                                                 $9,654,634.00
  571    Refresco Beverages US Inc. [Cott Beverages Inc.]             c/o Holland & Knight LLP                       Attn: William Keith Fendrick            100 N Tampa St                Suite 4100                      Tampa              FL    33602                     12/19/2022 General Unsecured           $9,654,634.00             $9,654,634.00
  570    Refresco Canada Inc.                                         c/o Holland & Knight LLP                       Attn: W. Keith Fendrick                 100 N Tampa St                Ste 4100                        Tampa              FL    33602                     12/19/2022 General Unsecured              $58,941.47                $58,941.47

  165    Refreshment Services, Inc [Refreshment Services Pepsi] Attn: Joey Szerletich                                3400 Solar Avenue                                                                                     Springfield        IL      62707                   12/01/2022 General Unsecured               $1,689.02                $1,689.02
   51    Resource Label Group, LLC                              Accounting                                           13260 Moore Street                                                                                    Cerritos           CA      90703                   10/31/2022 General Unsecured             $145,337.23              $145,337.23
         Rexford Industrial Realty. LP, a Maryland Limited
  795    Partnership                                            Michael Murav                                        11620 Wilshire Blvd Suite 100                                                                         Los Angeles        CA      90025                   08/25/2023 General Unsecured             $179,575.54              $179,575.54
  522    Ring Container Technologies, LLC                       c/o Glankler Brown                                   Attn: Bill Bradley, Ricky L. Hutchens   6000 Poplar Avenue            Suite 400                       Memphis            TN      38002                   12/16/2022 General Unsecured             $476,470.00              $476,470.00
  738    Rita Varano                                                                                                 2320 T St                                                                                             Richmond           VA      23223                   03/24/2023 Administrative Priority        $17,802.00               $17,802.00
                                                                                                                                                                                                                                                                                         General Unsecured
  765    Rita Varano                                                                                                 2320 T St                                                                                             Richmond           VA      23223                   06/28/2023 Priority                       $24,000.00                 $8,850.00                        $15,150.00
  551    RM Mechanical, Inc                                           Attn: Scott Magnuson                           5998 W Gowen Rd                                                                                       Boise              Idaho   83709                   12/16/2022 Secured                      $918,548.57                                $918,548.57
  733    Robert Half                                                  Attn: Recovery Dept                            PO Box 5024                                                                                           San Ramon          CA      94583                   03/14/2023 Administrative Priority        $47,342.86               $47,342.86
  773    Robert Martin Maher                                                                                         5599 Bermuda Dune Circle                                                                              Lake Worth         FL      33463                   07/14/2023 Administrative Priority        $98,201.46                                                                    $98,201.46
  774    Robert Martin Maher                                                                                         5599 Bermuda Dune Circle                                                                              Lake Worth         FL      33463                   07/14/2023 Administrative Priority        $98,201.46                                                                    $98,201.46
   63    Rosenberg Consulting Services, Inc. [RCS]                    c/o Kohner, Mann & Kailas, S.C.                Attn: Samuel C. Wisotzkey               4650 N Port Washington Rd                                     Milwaukee          WI      53212                   11/04/2022 General Unsecured            $622,017.74               $622,017.74
  318    RXO Capacity Solutions, LLC [f/k/a XPO Logistics, LLC]       c/o Holland & Knight LLP                       Attn: Edward Fitzgerald Esq             200 S Orange Ave              Ste 2600                        Orlando            FL      32801                   12/14/2022 General Unsecured           $1,940,016.10             $1,940,016.10
  723    Ryan H Cobb [Ryan Hawkins Cobb]                                                                             1361 Sky Ridge Ct                                                                                     San Marcos         CA      92078                   03/16/2023 Priority                       $30,400.00                                                  $30,400.00
  726    Ryan H Cobb [Ryan Hawkins Cobb]                                                                             1361 Sky Ridge Ct                                                                                     San Marcos         CA      92078                   03/16/2023 Priority                       $56,325.00                                                  $56,325.00
  189    Santander Consumer USA                                                                                      P.O. Box 961275                                                                                       Fort Worth         TX      76161-1245              12/06/2022 Secured                        $12,158.95                                $12,158.95
         Santander Consumer USA [Santander Consumer USA
  251    Inc., an Illinois corporation d/b/a Chrysler Capital]                                                       PO Box 961275                                                                                         Fort Worth         TX      76161-1245              12/08/2022 Secured                        $12,158.95                                $12,158.95
         Santander Consumer USA [Santander Consumer USA
  252    Inc., an Illinois corporation d/b/a Chrysler Capital]                                                       PO Box 961275                                                                                         Fort Worth         TX      76161-1245              12/08/2022 Secured                        $11,897.24                                $11,897.24




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                Page 6 of 8
                                                                                                                           Case 22-17842-PDR                                                         Doc 1859                                Filed 08/29/23                                 Page 15 of 16
                                                                                                                                                                                                             Claims Register as of 8/29/2023
                                                                                                                                                                                                                            Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                                    General                                                      Administrative
  No.                               Name                                                       Attention                                      Address 1                              Address 2                           Address 3                      City      State       Zip      Country   Date Filed     Amount Class(es)       Total Amount      Unsecured            Secured               Priority             Priority
         Santander Consumer USA Inc [Santander Consumer
  191    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                                         PO Box 961275                                                                                                     Fort Worth          TX      76161                   12/06/2022 Secured                        $11,694.91                          $11,694.91
         Santander Consumer USA Inc. [Santander Consumer
  193    USA Inc., an Illinois corporation d/b/a Chrysler Capital.]                                                         PO Box 961275                                                                                                     Fort Worth          TX      76161                   12/06/2022 Secured                        $10,546.54                          $10,546.54
         Santander Consumer USA Inc., an Illinois corporation
  268    d/b/a Chrysler Capital.                                                                                            PO Box 961275                                                                                                     Fort Worth          TX      76161-1245              12/12/2022 Secured                        $11,694.91                          $11,694.91
         Santander Consumer USA Inc., an Illinois corporation
  269    d/b/a Chrysler Capital.                                                                                            PO Box 961275                                                                                                     Fort Worth          TX      76161-1245              12/12/2022 Secured                        $10,546.54                          $10,546.54
                                                                                                                                                                                                                                                                                                             General Unsecured
   13    Scotlynn USA Division Inc.                                   Attn: Nicole Tracey                                   9597 Gulf Research Ln                                                                                             Fort Myers          FL      33912-4552              10/24/2022 Administrative Priority      $185,206.00           $92,603.00                                                  $92,603.00
  684    Scotlynn USA Division Inc.                                   Attn: Nicole Tracey                                   9597 Gulf Research Ln                                                                                             Fort Myers          FL      33912-4552              01/17/2023 General Unsecured              $92,603.00          $92,603.00
  262    Scott Laboratories, Inc.                                     Attn: Christy Bongardt                                1480 Cader Lane                                                                                                   Petaluma            CA      94954-5644              12/09/2022 General Unsecured              $57,087.57          $57,087.57
  580    Securitas Security Services USA, Inc.                        c/o WOC Business Services Dept                        4330 Park Terrace Drive                                                                                           Westlake Village    CA      91361                   12/19/2022 General Unsecured               $1,732.56           $1,732.56
  650    Seko Worldwide LLC                                           c/o Bankruptcy Claims Administrative Services, LLC    84 Herbert Ave                               Building B, Suite 202                                                Closter             NJ      07624                   12/19/2022 General Unsecured            $214,416.00         $214,416.00
  728    Shane Darrow                                                                                                       5984 Kingslake Drive                                                                                              Hilliard            OH      43026                   03/17/2023 General Unsecured              $33,000.00          $33,000.00
  672    Shanghai Freeman Lifescience Co., Ltd.                                                                                                                                                                                                                                                   12/28/2022 General Unsecured            $609,924.00         $609,924.00
   39    Shanghai Freemen Americas LLC                                                                                      200 Metroplex Dr                             Ste 402                                                              Edison              NJ      08817-2600              10/28/2022 General Unsecured            $609,924.00         $609,924.00
  635    Shelburne Sherr Court Reporters                              Attn: Sharon Sherr-Remy                               PO Box 25                                                                                                         Del Mar             CA      92014                   12/19/2022 General Unsecured               $7,614.32           $7,614.32
  521    Sidel Blowing & Services SAS                                                                                       1201 W. Peachtree St. NW Suite 3150                                                                               Atlanta             GA      30309                   12/16/2022 General Unsecured            $704,629.90         $704,629.90
  138    Sigma,Aldrich, Inc [MilliporeSigma]                          Attn: Toni Turner                                     3050 Spruce St                                                                                                    St Louis            MO      63103                   11/08/2022 General Unsecured               $5,530.18           $5,530.18
  629    Silver Eagle Beverages, LLC                                  c/o Langley & Banack, Inc.                            Attn: Natalie F. Wilson                      745 E Mulberry                     Suite 700                         San Antonio         TX      78212                   12/19/2022 General Unsecured            $642,237.00         $642,237.00
  631    Silver Eagle Beverages, LLC                                  c/o Langley & Banack, Inc.                            Attn: Natalie F. Wilson                      745 E Mulberry                     Suite 700                         San Antonio         TX      78212                   12/19/2022 General Unsecured              $41,516.80          $41,516.80
   18    Skip Shapiro Enterprises, LLC                                Attn: Skip Shapiro                                    318 Hawthorn Street                                                                                               New Bedford         MA      02740                   10/25/2022 General Unsecured            $193,450.40         $193,450.40
  496    SLBS Limited Partnership d/b/a Summit Distributing           c/o Carlton Fields                                    Attn: David L. Gay                           700 NW 1st Avenue                  Suite 1200                        Miami               FL      33136                   12/16/2022 General Unsecured          $10,020,910.84      $10,020,910.84
                                                                                                                                                                                                                                                                                                             Priority
  764    Solar Green Biotechnologies, Inc                      Attn: Peter Zhang                                            111 McCoy Street                                                                                                  Milford             DE      19963                   06/26/2023 Administrative Priority        $19,100.00                                                   $3,350.00          $15,750.00
  367    Songs of Universal, Inc.                              Attn: JoAn Cho                                               222 Colorado Avenue                                                                                               Santa Monica        CA      90404                   12/16/2022 General Unsecured           $3,825,000.00       $3,825,000.00
  568    Sony Music Entertainment                              Attn: Wade Leak                                              25 Madison Avenue                            22nd Floor                                                           New York            NY      10010                   12/18/2022 General Unsecured          $31,000,000.00      $31,000,000.00
  564    Sony Music Entertainment US Latin LLC                 Attn: Wade Leak, Esq.                                        25 Madison Avenue                            22nd Floor                                                           New York            NY      10010                   12/18/2022 General Unsecured           $1,550,000.00       $1,550,000.00
  619    Sony Music Publishing (US) LLC                        Attn: David Przygoda                                         25 Madison Avenue                            26th Floor                                                           New York            NY      10010-8601              12/19/2022 General Unsecured           $7,400,000.00       $7,400,000.00
         Southeast Cold Fill, LLC [Carolina Canners, Inc, NoSo
  134    Holdings, LLC]                                        c/o Kelley Fulton Kaplan & Eller PL                          Attn: Craig I. Kelley, Esq.                  1665 Palm Beach Lakes Blvd         The Forum, Suite 1000             West Palm Beach     FL      33401                   11/21/2022 General Unsecured         $309,652,418.47     $309,652,418.47
   93    SOUTHWEST BATTERY COMPANY                             ATTN: DAVE MICHLICH                                          4335 E WOOD ST                                                                                                    PHOENIX             AZ      85040                   11/10/2022 General Unsecured              $37,045.57          $37,045.57
         Spectrum [Charter Communications, Time Warner Cable,
   96    Brighthouse Networks]                                 Attn: Siobhan K McEneany                                     1600 Dublin Road                                                                                                  Columbus            OH      43215                   11/10/2022 General Unsecured                $317.74              $317.74
                                                                                                                            Attn: Amanda B Chiilds, Chief Litigation &
  535    Speedway LLC                                                 c/o 7-Eleven, Inc.                                    Investigation Counsel                        3200 Hackberry Road                                                  Irving              TX      75063                   12/16/2022 General Unsecured             $899,030.29         $899,030.29
                                                                                                                                                                                                                                                                                                             General Unsecured
  76     Staples, Inc                                                 Attn: Tom Riggleman                                   7 Technology Cir                                                                                                  Columbia            SC      29203                   10/18/2022 Administrative Priority        $13,395.28          $13,080.75                                                     $314.53
  158    Statco Engineering & Fabricators, Inc                                                                              7595 Reynolds Circle                                                                                              Huntington Beach    CA      92647                   11/30/2022 General Unsecured              $51,505.28          $51,505.28
                                                                                                                                                                                                                                                                                                             General Unsecured
   95    State of Alabama, Department of Revenue                      Attn: Legal Division                                  PO Box 320001                                                                                                     Montgomery          AL      36132-0001              11/10/2022 Priority                       $45,634.90           $4,078.52                              $41,556.38
   66    State of Minnesota, Department of Revenue                                                                          PO Box 64447 - BKY                                                                                                St Paul             MN      55164-0447              11/07/2022 Priority                        $1,746.00                                                   $1,746.00
  137    State of Minnesota, Department of Revenue                                                                          PO Box 64447 - BKY                                                                                                St Paul             MN      55164-0447              11/08/2022 Priority                        $1,746.00                                                   $1,746.00
                                                                                                                                                                                                                                                                                                             General Unsecured
  278    State of Nevada Department of Taxation                                                                             700 E Warm Springs Rd                        Ste 200                                                              Las Vegas           NV      89119                   12/13/2022 Priority                       $19,136.82           $1,495.24                              $17,641.58
         State of New Jersey Division of Taxation Bankruptcy
  313    Section                                                                                                            PO Box 245                                                                                                        Trenton             NJ      08695-0245              12/14/2022 Priority                       $33,355.86                                                  $33,355.86
         State of New Jersey Division of Taxation Bankruptcy
  778    Section                                                                                                            PO Box 245                                                                                                        Trenton             NJ      08695-0245              07/20/2023 Priority                            $0.00                                                         $0.00
  483    Stellar Group Incorporated                                   c/o Agentis PLLC                                      Attn: Robert P. Charbonneau                  55 Alhambra Plaza                  Suite 800                         Coral Gables        FL      33134                   12/16/2022 General Unsecured          $20,215,753.63      $20,215,753.63
                                                                                                                                                                                                                                                                                                             General Unsecured
  292    Stephanie Suddarth                                                                                                 2026 Artemis Ct.                                                                                                  Allen               TX      75013                   12/14/2022 Priority                       $24,000.00           $8,850.00                              $15,150.00
   25    Stephen Miller                                               Attn: David Moritz                                    15431 SW 14th St                                                                                                  Davie               FL      33326                   10/26/2022 General Unsecured              $50,927.39          $50,927.39
   8     Steven Douglas Associates LLC                                Attn: Shari Gottlieb                                  13450 W Sunrise Blvd                         Ste 200                                                              Sunrise             FL      33323-2915              10/20/2022 General Unsecured             $472,907.68         $472,907.68
                                                                                                                                                                                                                                                                                                             General Unsecured
  141    Steven Kunz                                                                                                        1466 East Glacier Place                                                                                           Chandler            AZ    85249                     11/22/2022 Priority                       $22,182.07           $1,182.07                              $21,000.00
  622    Stone Diamond Music Corp.                                    Attn: David Przygoda                                  25 Madison Avenue                            26th Floor                                                           New York            New Yo10010-8601                12/19/2022 General Unsecured            $150,000.00         $150,000.00
  607    Suddath Global Logistics, LLC                                c/o Smith, Gambrell & Russell, LLP                    Attn: Aleksas A. Barauskas, Esq.             50 North Laura St, Ste 2600                                          Jacksonville        FL    32202                     12/19/2022 General Unsecured            $608,476.53         $608,476.53
  660    Sunbelt Rentals Inc                                                                                                2015 Directors Row                                                                                                Orlando             FL    32809                     12/20/2022 General Unsecured            $115,896.60         $115,896.60
  677    Tadasha Lenorah Hodges                                       Attn: Scott J Liotta                                  7335 W Sand Lake Road                        Suite 300                                                            Orlando             FL    32819                     01/03/2023 General Unsecured           $1,000,000.00       $1,000,000.00
  184    Takasago International Corp (USA)                            Attn: Joseph Mortara                                  4 Volvo Dr                                                                                                        Rockleigh           NJ    07647                     12/05/2022 General Unsecured            $116,592.04         $116,592.04
  298    Target Corporation                                                                                                 7000 Target Parkway                          NCF-0403                                                             Brooklyn Park       MN    55445                     12/14/2022 General Unsecured            $433,662.68         $433,662.68
  203    Taro Patch Holdings LLC                                      c/o Aronoff Law Group                                 Attn: Robert C. Aronoff                      9100 Wilshire Blvd                 710 East Tower                    Beverly Hills       CA    90212                     12/07/2022 General Unsecured               $8,303.47           $8,303.47
                                                                                                                                                                                                                                                                                                             General Unsecured
  759    Tennessee Department of Revenue                              Attn: Attorney General                                PO Box 20207                                                                                                      Nashville           TN      37202-0207              06/15/2023 Priority                     $913,731.04           $74,280.15                             $839,450.89
  791    Terborg Distributing, Inc                                                                                          8946 N 700 W                                 PO Box 307                                                           DeMotte             IN      46310                   08/17/2023 General Unsecured            $934,710.00          $934,710.00
   30    The American Bottling Company                                Attn: Russ Falconer                                   2001 Ross Ave                                Suite 2100                                                           Dallas              TX      75201                   10/26/2022 General Unsecured         $225,100,000.00   225100000 plus ICF
  297    The Cansultants, LLC                                         Attn: John E Adams                                    6895 Counselors Way                                                                                               Alpharetta          GA      30005                   12/14/2022 General Unsecured              $92,064.00          $92,064.00
   50    The Hamilton Group (Delaware) Inc.                           c/o Ullman & Ullman PA                                Attn: Michael W. Ullman                      2500 N. Military Trail             Suite 100                         Boca Raton          FL      33431                   10/31/2022 General Unsecured            $189,784.35          $189,784.35
   15    The Hamilton Group (Delaware), Inc.                          c/o Ullman & Ullman PA                                Attn: Michael W. Ullman & Jared A. Ullman    2500 N Military Trail              Suite 100                         Boca Raton          FL      33431                   10/24/2022 General Unsecured            $189,784.35          $189,784.35
   41    The Hamilton Group (Delaware), Inc.                          c/o Ullman & Ullman, P.A                              Attn: Michael Ullman                         2500 North Military Trail          Suite 100                         Boca Raton          FL      33431                   10/28/2022 General Unsecured            $189,784.35          $189,784.35
         The Kleppin Firm P.A. [The Kleppin Law Firm, Glasser
  488    and Kleppin, P.A.]                                           Attn: Chris Kleppin                                   8751 W Broward Blvd                          Suite 105                                                            Plantation          FL      33324                   12/16/2022 General Unsecured           $2,000,000.00       $2,000,000.00
  490    The Kleppin Law Firm P.A.                                    Attn: Chris Kleppin                                   8751 W Broward Blvd                          Suite 105                                                            Plantation          FL      33324                   12/16/2022 General Unsecured           $1,200,000.00       $1,200,000.00
                                                                                                                                                                                                                                                                                                             General Unsecured
  300    The Kroger Co.                                               c/o Frost Brown Todd LLP                              Attn: A.J. Webb                              3300 Great American Tower          301 E. 4th St                     Cincinnati          OH      45202                   12/14/2022 Administrative Priority      $686,223.45         $631,962.99                                                   $54,260.46
  793    The Odom Corporation                                         David P. Papiez                                       Fox Rothschild LLP                           1001 4th Ave. Suite 4400                                             Seattle             WA      98154                   08/21/2023 General Unsecured           $2,913,868.00       $2,913,868.00
  188    think4D [Friesens Corporation]                                                                                     Box 556                                                                                                           Pembina             ND      58271                   12/05/2022 General Unsecured               $5,000.00           $5,000.00
  721    Thomas Del Duca                                                                                                    985 Colonial Dr.                                                                                                  Mount Pleasant      SC      29464                   03/15/2023 Priority                       $39,000.00                                                  $39,000.00
  782    THOMAS L. ABRAMS                                                                                                   1213 S.E. Third Avenue, 2nd Floor                                                                                 Fort Lauderdale     FL      33316                   07/31/2023 General Unsecured            $227,704.60          $227,704.60
  647    Todd King                                                                                                          23009 SE 14th St                                                                                                  Sammamish           WA      98075-9339              12/19/2022 General Unsecured              $18,290.25          $18,290.25
  287    Todd W Herrett                                                                                                     21514 CARIBBEAN LN                                                                                                Panama City Beach   FL      32413                   12/13/2022 General Unsecured              $24,960.00          $24,960.00
  145    TOMCO2 Systems Company                                       Attn: Deborah L Nelson                                1609 W County Road 42                        Suite 393                                                            Burnsville          MN      55306                   11/23/2022 General Unsecured            $451,514.42          $451,514.42

  673    TOMRA of North America, Inc [Returnable Services LLC] Attn: Eric J. Jepeal                                         One Corporate Dr                             Ste 710                                                              Shelton             CT      06484                   12/28/2022 General Unsecured              $17,468.12          $17,468.12
   79    Total Compliance Network, Inc. TCN                    Attn: Morgan T Silver                                        5646 West Atlantic Blvd                                                                                           Margate             FL      33063                   11/08/2022 General Unsecured                $300.00             $300.00
                                                                                                                                                                                                                                                                                                             General Unsecured
  308    Total Quality Logistics, LLC [TQL]                           Attn: Joseph B. Wells, Corporate Counsel              4289 Ivy Pointe Blvd                                                                                              Cincinnati          OH      45245                   12/14/2022 Secured                       $898,861.80         $883,873.93      $14,987.87
  159    Transportation Management Solutions, Inc [TMS]               Attn: Phil Magill                                     18450 Pines Blvd                             Suite 203                                                            Pembroke Pines      FL      33029                   11/30/2022 General Unsecured              $54,907.00          $54,907.00
         TRC Master Fund LLC [as Assignee of Twin City
   43    Security]                                                    Attn: Terrel Ross                                     PO Box 633                                                                                                        Woodmere            NY      11598                   10/31/2022 General Unsecured              $44,866.23          $44,866.23
  143    TricorBraun Inc                                                                                                    6 Cityplace Drive                            Suite 1000                                                           St. Louis           MO      63141                   11/22/2022 General Unsecured              $73,450.33          $73,450.33
  98     U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance                                                                  Attn: Jeffrey J Lothert                      1310 Madrid Street                                                   Marshall            MN      56258                   11/11/2022 General Unsecured              $41,688.94          $41,688.94
                                                                                                                                                                                                                                                                                                             General Unsecured
  668    U.S. Bank, N.A. d/b/a U.S. Bank Equipment Finance                                                                  Attn: Jeffrey J Lothert                      1310 Madrid Street                                                   Marshall            MN      56258                   12/23/2022 Secured                        $41,688.94           $1,788.94      $39,900.00
  719    U.S. Customs and Border Protection                           Attn: Revenue Division, Bankruptcy Team               6650 Telecom Dr                              Ste 100                                                              Indianapolis        IN      46278                   03/13/2023 Priority                            $0.00                                0.00 + Unliquidated/contingent
                                                                                                                                                                                                                                                                                                             General Unsecured
  77     Uline                                                                                                              12575 Uline Dr                                                                                                    Pleasant Prairie    WI      53158                   10/25/2022 Administrative Priority        $31,164.24          $26,700.91                                                   $4,463.33
  636    Ultra Air Cargo Inc                                          Attn: Darren Pao                                      17256 S Main St                                                                                                   Gardena             CA      90248                   12/19/2022 General Unsecured                $250.00             $250.00
  457    UMG Recordings, Inc.                                         Attn: JoAn Cho                                        222 Colorado Avenue                                                                                               Santa Monica        CA      90404                   12/16/2022 General Unsecured           $6,950,000.00       $6,950,000.00
  462    Universal Music - MGB NA LLC                                 Attn: JoAn Cho                                        222 Colorado Avenue                                                                                               Santa Monica        CA      90404                   12/16/2022 General Unsecured            $150,000.00         $150,000.00
  463    Universal Music - Z Tunes LLC                                Attn: JoAn Cho                                        222 Colorado Avenue                                                                                               Santa Monica        CA      90404                   12/16/2022 General Unsecured           $1,800,000.00       $1,800,000.00
  465    Universal Music Corp.                                        Attn: JoAn Cho                                        222 Colorado Avenue                                                                                               Santa Monica        CA      90404                   12/16/2022 General Unsecured           $5,975,000.00       $5,975,000.00
  478    Universal Musica, Inc.                                       Attn: JoAn Cho, Esq.                                  222 Colorado Avenue                                                                                               Santa Monica        CA      90404                   12/16/2022 General Unsecured            $700,000.00         $700,000.00
  294    Updike Distribution Logistics                                c/o Finance Department                                Attn: Steven C. Updike & Megan Pocock        435 S 59th Ave, Suite 100                                            Phoenix             AZ      85043                   12/14/2022 General Unsecured              $83,492.16          $83,492.16
  780    Updike Distribution Logistics, LLC                           c/o Clark Hill PLC                                    Attn: James L. Ugalde                        3200 N. Central Ave., Suite 1600                                     Phoenix             AZ      85012                   07/27/2023 General Unsecured            $765,702.60         $765,702.60
  757    Varni Brothers Corporation                                   Attn: Ray Morales                                     215 Hosmer Ave                                                                                                    Modesto             CA      95351                   06/07/2023 Administrative Priority    $19,073,730.00                                                                  $19,073,730.00




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                                                      Page 7 of 8
                                                                                                                        Case 22-17842-PDR                                               Doc 1859                          Filed 08/29/23                                    Page 16 of 16
                                                                                                                                                                                            Claims Register as of 8/29/2023
                                                                                                                                                                                                         Sorted Alphabetically




 Claim                                                                                                                                                                                                                                                                                                                                    General                                           Administrative
  No.                               Name                                                      Attention                                         Address 1                   Address 2                   Address 3                    City         State       Zip      Country   Date Filed     Amount Class(es)       Total Amount      Unsecured          Secured        Priority           Priority
         Varni Brothers Corporation [VBC Bottling Dba Seven-Up
    2    Bottling Company]                                          Attn: Ray Morales                                         215 Hosmer Ave                                                                               Modesto                CA      95351                   10/17/2022 General Unsecured             $873,125.12       $873,125.12
   37    Veritext, LLC [Veritext Legal Solutions]                   Attn: Judith Kunreuther                                   290 W Mt. Pleasant Ave           Suite 3200                                                  Livingston             NJ      07039                   10/27/2022 General Unsecured              $23,620.66        $23,620.66
  704    Veritext, LLC [Veritext Legal Solutions]                   Attn: Judith Kunreuther                                   290 W Mt. Pleasant Ave           Suite 3200                                                  Livingston             NJ      07039                   02/16/2023 General Unsecured              $18,454.05        $18,454.05
         Verizon Business Global LLC, on behalf of its affiliates
         and subsidiaries [Cellco Partnership d/b/a Verizon
  249    Wireless]                                                  Attn: William M Vermette                                  22001 Loudoun County PKWY                                                                    Ashburn                VA      20147                   12/08/2022 General Unsecured              $27,625.60        $27,625.60
  124    Vermont Information Processing [VIP]                                                                                 402 Water Tower Cir                                                                          Colchester             VT      05446                   11/18/2022 General Unsecured              $14,949.53        $14,949.53
                                                                                                                                                                                                                                                                                                                                                                                                   565300 plus
  324    Vigilant Insurance Company                                 c/o Duane Morris LLP                                      Attn: Wendy M. Simkulak          30 S. 17th Street                                           Philadelphia           PA      19103-4196              12/15/2022 Administrative Priority       $565,300.00                                                      additional amounts
  724    Vincent Milano                                                                                                       2490 Martin Ave                                                                              Bellmore               NY      11710                   03/16/2023 Priority                       $15,150.00                                         $15,150.00
  99     Vitacoat Corporation                                       Rajendra Desai                                            50 Romanelli Ave                                                                             South Hackensack       NJ      07606                   11/11/2022 General Unsecured              $12,308.40        $12,308.40
  566    Volcano Entertainment III LLC                              Attn: Wade Leak                                           25 Madison Avenue                22nd Floor                                                  New York               NY      10010                   12/18/2022 General Unsecured             $200,000.00       $200,000.00
  120    Vortex Industries                                          Attn: Shannon Kane                                        20 Odyssey                                                                                   Irvine                 CA      92618                   11/17/2022 General Unsecured                $386.00           $386.00
  652    VS Carbonics, Inc.                                         Attn: Scott D. Lehman                                     121 Alhambra Plaza               Suite 1500                                                  Coral Gables           FL      33134                   12/19/2022 General Unsecured             $328,000.00       $328,000.00
  789    VWR INTERNATIONAL LLC                                      Building One, Suite 200                                   100 Matsonford Road                                                                          Radnor                 PA      19087-8660              08/16/2023 General Unsecured              $28,052.90        $28,052.90
                                                                                                                                                                                                                                                                                             General Unsecured
                                                                                                                                                                                                                                                                                             Secured
   78    W.W. Grainger, Inc                                                                                                   401 S Wright Rd                                                                              Janesville             WI      53546                   10/25/2022 Administrative Priority        $54,611.18        $23,929.91      $20,533.30                          $10,147.97
                                                                                                                                                                                                                                                                                             General Unsecured
   19    WA Department of Revenue                                   Attn: Andrew Garrett                                      2101 4th Ave Suite 1400                                                                      Seattle                WA      98121                   10/25/2022 Priority                      $286,995.77       $102,579.05                     $184,416.72
                                                                                                                                                                                                                                                                                             General Unsecured
  763    WA Department of Revenue                                                                                             2101 4th Ave Suite 1400                                                                      Seattle                WA      98121                   06/23/2023 Priority                       $31,177.77          $3,041.12                      $28,136.65
         Warner Music Group "WMG" (as defined in the attached       Brad Cohen, Senior Vice President & Head of Litigation;
  601    rider)                                                     Matt Flott, EVP & CFO Recorded Music                      1633 Broadway                                                                                New York               NY      10019                   12/19/2022 General Unsecured          $24,650,000.00     $24,650,000.00
  291    Waste Management [WM Corporate Services INC]               Attn: Bankruptcy                                          PO Box 42930                                                                                 Phoenix                AZ      85080                   12/14/2022 General Unsecured               $4,793.42          $4,793.42
    9    Werner Enterprises Inc                                                                                               39365 Treasury Crt                                                                           Chicago                IL      60694                   10/20/2022 General Unsecured              $46,002.00         $46,002.00
  712    Wesley Baker                                                                                                         14722 Baytown Ct                                                                             Huntersville           NC      28078                   03/03/2023 General Unsecured              $14,800.00         $14,800.00
   72    White & Amundson, APC                                      Attn: Daniel M. White                                     402 W. Broadway                  Suite 1140                                                  San Diego              CA      92101                   11/08/2022 General Unsecured              $51,430.95         $51,430.95
   73    White & Amundson, APC                                      Attn: Daniel Macy White                                   402 W Broadway, Suite 1140                                                                   San Diego              CA      92101                   11/08/2022 General Unsecured               $5,507.62          $5,507.62
   74    White & Amundson, APC                                      Attn: Daniel Macy White                                   402 W Broadway, Suite 1140                                                                   San Diego              CA      92101                   11/08/2022 General Unsecured               $9,966.28          $9,966.28
  690    Wilson Elser                                               Attn: Richard Donohue                                     1133 Westchester Ave                                                                         White Plains           NY      10604                   01/25/2023 General Unsecured              $37,996.25         $37,996.25
                                                                                                                                                                                                                                                                                             Priority
  747    Wisconsin Department of Revenue                            c/o Special Procedures Unit                               Attn: Jill Ritchie               PO Box 8901                                                 Madison                WI      53708-8901              04/10/2023 Administrative Priority        $28,064.73          $752.05                        $27,312.68
  306    WM Recycle America, LLC                                    Attn: Jacquolyn Hatfield-Mills                            800 Capital Street               Ste 3000                                                    Houston                TX      77002                   12/14/2022 General Unsecured             $182,748.90       $182,748.90
   1     XPO Logistics Freight, Inc.                                Attn: Bankruptcy Dept                                     9151 Boulevard 26                Bldg A                                                      North Richland Hills   TX      76180                   10/13/2022 General Unsecured              $14,879.18        $14,879.18
   6     XPO Logistics Freight, Inc.                                Attn: Bankruptcy Dept                                     9151 Boulevard 26                Bldg A                                                      North Richland Hills   TX      76180                   10/18/2022 General Unsecured              $14,879.18        $14,879.18
  748    Yale Carolinas Inc. dba Wheeler Material Handling                                                                    9839 S Tryon St                                                                              Charlotte              NC      28273                   04/12/2023 Administrative Priority         $5,447.74         $5,447.74
  761    Yellowstone Landscape Southeast, LLC                       c/o Blaxberg, Grayson, Kukoff & Forteza, P.A.             Attn: Isabel V. Colleran, Esq.   25 SE Second Ave, Ste 730                                   Miami                  FL      33131                   04/28/2023 Administrative Priority        $11,732.60                                                            $11,732.60
         Yellowstone Landscape Southeast, LLC [Yellowstone
  144    Landscape]                                                                                                           PO Box 849                                                                                   Bunnell                FL      32110                   11/23/2022 General Unsecured              $37,676.60         $37,676.60
  314    YRC Inc. (dba YRC Freight) [Yellow Corporation]            c/o Frantz Ward LLP                                       Attn: John Kostelnik             200 Public Square           Suite 3000                      Cleveland              OH      44114                   12/14/2022 General Unsecured              $64,803.66         $64,803.66
  316    YRC Inc. (dba YRC Freight) [Yellow Corporation]            c/o Frantz Ward LLP                                       Attn: John Kostelnik             200 Public Square           Suite 3000                      Cleveland              OH      44114                   12/14/2022 General Unsecured            $246,228.40        $246,228.40
  739    Yvette Atondo                                                                                                        7702 Roundrock Rd                                                                            Dallas                 TX      75248                   03/28/2023 Administrative Priority        $30,000.00         $30,000.00
  560    Zomba Recording LLC                                        Attn: Wade Leak, Esq.                                     25 Madison Avenue                22nd Floor                                                  New York               NY      10010                   12/18/2022 General Unsecured           $2,300,000.00      $2,300,000.00
   12    Zurich American Insurance                                                                                            PO Box 68549                                                                                 Schaumburg             IL      60196                   10/24/2022 General Unsecured                   $1.00              $1.00




In re: Vital Pharmaceuticals, Inc.
Case No. 22-17842 (PDR)                                                                                                                                                                                                                                                                                                                                                                            Page 8 of 8
